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           12
                                             UNITED STATES DISTRICT COURT
           13
                                          NORTHERN DISTRICT OF CALIFORNIA
           14
                                                   OAKLAND DIVISION
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           16
                 JENNIFER PETER and KARSON THEISS,               CASE NO. 4:19-cv-06098-JST
           17    individually and on behalf of all others
                 similarly situated,                             DECLARATION OF STANLEY TANG IN
           18                                                    SUPPORT OF DEFENDANT’S MOTION TO
                                     Plaintiffs,                 COMPEL ARBITRATION AND STAY
           19
                       v.
           20                                                    Action Filed: September 25, 2019
                 DOORDASH, INC., a Delaware corporation,
           21                                                    Hearing Date: January 29, 2020
                                     Defendant.
           22                                                    Hearing Time: 2:00 p.m.
                                                                 Hearing Place: Courtroom 6 – 2nd Floor
           23                                                    Honorable Judge Jon S. Tigar

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Gibson, Dunn &
Crutcher LLP
                    DECLARATION OF STANLEY TANG ISO DOORDASH, INC.’S MOTION TO COMPEL ARBITRATION AND STAY
                                                   CASE NO. 3:19-cv-06098-JST
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                     Case 4:19-cv-06098-JST Document 17-1 Filed 11/15/19 Page 2 of 49
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            EXHIBIT A
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            EXHIBIT B
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            EXHIBIT C
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            EXHIBIT D
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             EXHIBIT E
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             EXHIBIT F
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Updated Terms and Conditions Agreement
Effective: April 3, 2018

PLEASE READ THE TERMS AND CONDITIONS CAREFULLY. THE TERMS AND CONDITIONS
(“AGREEMENT”) CONSTITUTE A LEGAL AGREEMENT BETWEEN YOU AND DOORDASH, INC., A
DELAWARE CORPORATION (“COMPANY”).

SECTION 12 OF THIS AGREEMENT CONTAINS PROVISIONS THAT GOVERN HOW CLAIMS THAT
YOU AND WE HAVE AGAINST EACH OTHER ARE RESOLVED, INCLUDING, WITHOUT
LIMITATION, ANY CLAIMS THAT AROSE OR WERE ASSERTED BEFORE THE EFFECTIVE DATE OF
THIS AGREEMENT. IN PARTICULAR, SECTION 12 SETS FORTH OUR ARBITRATION AGREEMENT
WHICH WILL, WITH LIMITED EXCEPTIONS, REQUIRE DISPUTES BETWEEN US TO BE
SUBMITTED TO BINDING AND FINAL ARBITRATION. UNLESS YOU OPT OUT OF THE
ARBITRATION AGREEMENT: (1) YOU WILL ONLY BE PERMITTED TO PURSUE CLAIMS AND
SEEK RELIEF AGAINST US ON AN INDIVIDUAL BASIS, NOT AS A PLAINTIFF OR CLASS MEMBER
IN ANY CLASS OR REPRESENTATIVE ACTION OR PROCEEDING; AND (2) YOU ARE WAIVING
YOUR RIGHT TO SEEK RELIEF IN A COURT OF LAW AND TO HAVE A JURY TRIAL ON YOUR
CLAIMS. THE ARBITRATION AGREEMENT COULD AFFECT YOUR RIGHT TO PARTICIPATE IN
PENDING PROPOSED CLASS ACTION LITIGATION. PLEASE SEE SECTION 12 FOR MORE
INFORMATION REGARDING THIS ARBITRATION AGREEMENT, THE POSSIBLE EFFECTS OF THIS
ARBITRATION AGREEMENT, AND HOW TO OPT OUT OF THE ARBITRATION AGREEMENT.

By accessing or using the website located at https://www.doordash.com/ (“Website”) in any way, downloading,
installing or using the Company’s mobile application (“Application”) or any other software supplied by the
Company (collectively, with the Application, the “Software”), accessing or using any information, services,
features or resources available or enabled via the Website or Software (each, a “Service” and collectively, the
“Services”)), clicking on a button or taking similar action to signify your affirmative acceptance of this
Agreement, or completing the DoorDash account registration process, you hereby represent that: (1) you have
read, understand, and agree to be bound by this Agreement and any future amendments and additions to this
Agreement as published from time to time at https://www.doordash.com/terms/ or through the Services; (2) you
are of legal age in the jurisdiction in which you reside to form a binding contract with Company; and (3) you
have the authority to enter into the Agreement personally and, if applicable, on behalf of any company,
organization or other legal entity you have named as the user during the DoorDash account registration process
and to bind that company, organization or entity to the Agreement. The terms “you,” “user” and “users” refer to
all individuals and other persons who access or use the Website, Software, and/or Services, including, without
limitation, any companies, organizations or other legal entities that register accounts or otherwise access or use
the Services through their respective employees, agents or representatives. Except as otherwise provided herein,
if you do not agree to be bound by the Agreement, you may not access or use the Website, the Services, or the
Software.

Subject to Section 12(h) of this Agreement, the Company reserves the right to modify the terms and conditions
of this Agreement or its policies relating to the Website, Software or Services at any time, effective upon
posting of an updated version of this Agreement on the Website or Software. You should regularly review this
Agreement, as your continued use of the Services after any such changes constitutes your agreement to such
changes.

The Company uses a network of independent third-party contractors (Dashers) who provide delivery services to
our users and food service providers. It is up to each Dasher to provide such delivery services. The Food
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Service Providers available through our Services (“Food Service Providers”) also operate independently of the
Company. The Company will not assess the suitability, legality or ability of any Dasher or Food Service
Provider. The Company is not responsible for the Food Service Providers’ food preparation or safety and does
not verify their compliance with applicable laws or regulations. The Company has no responsibility or liability
for acts by any third-party Food Service Provider or Dasher, other than as stated herein.

1. User Representations, Warranties and Covenants
By using the Services, you expressly represent and warrant that you are legally entitled to enter this Agreement.
Your participation in using the Services is for your sole, personal or internal business use. When using the
Services, you agree to comply with all applicable laws from your home nation, and the country, state and city in
which you are present while using the Services.

You may only access the Services using authorized means. It is your responsibility to check to ensure you
download the correct Software for your device. The Company is not liable if you do not have a compatible
device or if you have downloaded the wrong version of the Software for your device. The Company reserves
the right to terminate your use of the Software and/or Services should you be using the Software or Services
with an incompatible or unauthorized device.

By using the Services, you agree that:

   1. (a) You will only use the Services for lawful purposes; you will not use the Services for sending or storing
      any unlawful material or for deceptive or fraudulent purposes.

   2. (b) You will not use the Services to cause nuisance, annoyance or inconvenience.

   3. (c) You will not use the Services, or any content accessible through the Services, for any commercial
      purpose, including but not limited to contacting, advertising to, soliciting or selling to, any Food Service
      Provider, user or Dasher, unless the Company has given you permission to do so in writing.

   4. (d) You will not copy or distribute the Software or any content displayed through the Services without
      prior written permission from the Company.

   5. (e) You will not create or compile, directly or indirectly, any collection, compilation, or other directory
      from any content displayed through the Services except for your personal, noncommercial use.

   6. (f) The information you provide to us when you register an account or otherwise communicate with us is
      accurate, you will promptly notify us of any changes to such information, and you will provide us with
      whatever proof of identity we may reasonably request.

   7. (g) You are aware that when requesting Services by SMS text messages, standard messaging charges will
      apply.

   8. (h) You will keep secure and confidential your account password or any identification credentials we
      provide you which allows access to the Services.

   9. (i) You will only use the Services for your own use and will not resell either the Software or Services to a
      third party.

  10. (j) You will not use the Website or Software in any way that could damage, disable, overburden or impair
      any Company server, or the networks connected to any Company server.

  11. (k) You will not attempt to gain unauthorized access to any part of the Website and/or to any service,
      account, resource, computer system and/or network connected to any Company server.

  12. (l) You will not deep-link to the Website or access the Website manually or with any robot, spider, web
      crawler, extraction software, automated process and/or device to scrape, copy or monitor any portion of
      the Website or any content on the Website, unless the Company has given you permission to do so in
      writing.
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  13. (m) You will not copy any content displayed through the Services, including but not limited to Food
      Service Providers’ menu content and reviews, for republication in any format or media.

  14. (n) You will not conduct any systematic retrieval of data or other content from the Website, Software or
      Services.

  15. (o) You will not try to harm other Users or the Company, the Website, Software or Services in any way
      whatsoever.

  16. (p) You will report any errors, bugs, unauthorized access methodologies or any breach of our intellectual
      property rights that you uncover in your use of the Website, Software or Services.

  17. (q) You will not abuse our promotional or credit code system by redeeming multiple coupons at once.

2. User Account
You are the sole authorized User of any account you create through the Services. You are solely and fully
responsible for all activities that occur under your password or account. You agree that you shall monitor your
account to prevent use by minors, and you will accept full responsibility for any unauthorized use of your
password or your account by minors. You may not authorize others to use your User status, and you may not
assign or otherwise transfer your User account to any other person or entity. Should you suspect that any
unauthorized party may be using your password or account, you will notify the Company immediately. If you
provide any information that is untrue, inaccurate, not current, or incomplete, or the Company has reasonable
grounds to suspect that such information is untrue, inaccurate, not current, or incomplete, the Company has the
right to suspend or terminate your account and refuse any and all current or future use of the Services (or any
portion thereof). You agree not to create an account or use the Services if you have been previously removed by
the Company, or if you have been previously banned from use of the Services.

3. User Content
   1. (a) User Content. The Company may provide you with interactive opportunities through the Services,
      including, by way of example, the ability to post User ratings and reviews (collectively, “User Content”).
      You represent and warrant that you are the owner of, or otherwise have the right to provide, all User
      Content that you submit, post and/or otherwise transmit (“Make Available”) through the Services. You
      hereby grant the Company a perpetual, irrevocable, transferable, fully paid, royalty-free, non-exclusive,
      worldwide, fully sublicenseable right and license to use, copy, display, publish, modify, remove, publicly
      perform, translate, create derivative works, distribute and/or otherwise use the User Content in connection
      with the Company’s business and in all forms now known or hereafter invented (“Uses”), without
      notification to and/or approval by you. You further grant the Company a license to use your username
      and/or other User profile information, including without limitation your ratings history, to attribute User
      Content to you in connection with such Uses, without notification or approval by you.

   2. (b) Feedback. You agree that any submission of any ideas, suggestions, and/or proposals to the Company
      through its suggestion, feedback, wiki, forum or similar pages (“Feedback”) is at your own risk and that
      the Company has no obligations (including without limitation, obligations of confidentiality) with respect
      to such Feedback. You represent and warrant that you have all rights necessary to submit the Feedback
      and you hereby grant to Company a perpetual, irrevocable, transferable, fully paid, royalty-free, non-
      exclusive, worldwide, fully sublicenseable right and license to use, copy, display, publish, modify,
      remove, publicly perform, translate, create derivative works, distribute and/or otherwise use such
      Feedback.

   3. (c) Ratings and Reviews. To the extent that you are asked to rate and post reviews of Food Service
      Providers or other businesses (“Ratings” and “Reviews”), such Ratings and Reviews are considered User
      Content and are governed by this Agreement. Ratings and Reviews are not endorsed by the Company and
      do not represent the views of the Company or its affiliates. The Company does not assume liability for
      Ratings and Reviews or for any claims for economic loss resulting from such Ratings and Reviews.
      Because we strive to maintain a high level of integrity with respect to Ratings and Reviews posted or
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      otherwise made available through the Services, you agree that: (i) you will base any Rating or Review on
      first-hand experience with the Food Service Provider or business; (ii) you will not provide a Rating or
      Review for any Food Service Provider or business for which you have an ownership interest, employment
      relationship or other affiliation or for any of that company’s competitors; (iii) you will not submit a
      Rating or Review in exchange for payment, free food items, or other benefits from a Food Service
      Provider or business and (iv) your review will comply with the terms of this Agreement. If we determine,
      in our sole discretion, that any Rating or Review could diminish the integrity of the Ratings and Reviews,
      we may exclude such User Content without notice.

4. Intellectual Property Ownership
The Company alone (and its licensors, where applicable) shall own all right, title and interest, including all
related intellectual property rights, in and to the Website, the Software and the Services. This Agreement is not a
sale and does not convey to you any rights of ownership in or related to the Website, the Software or the
Services, or any intellectual property rights owned by the Company. The Company name, the Company logo,
and the product names associated with the Website, the Software and Services are trademarks of the Company
or third parties, and no right or license is granted to use them. You agree that you will not remove, alter or
obscure any copyright, trademark, service mark or other proprietary rights notices incorporated in or
accompanying the Website, the Software or the Services.

5. Payment Terms
   1. (a) Prices. You understand that: (a) the prices for menu items displayed through the Services may differ
      from the prices offered or published by Food Service Providers for the same menu items and/or from
      prices available at other third-party websites and that such prices may not be the lowest prices at which
      the menu items are sold; (b) the Company has no obligation to itemize its costs, profits or margins when
      publishing such prices; and (c) the Company reserves the right to change such prices at any time, at its
      discretion. You are liable for all transaction taxes on the Services provided under this Agreement (other
      than taxes based on the Company’s income). Payment will be processed by the Company, using the
      preferred payment method designated in your account.

   2. (b) No Refunds. Charges paid by you for completed and delivered orders are final and non-refundable.
      The Company has no obligation to provide refunds or credits, but may grant them, in each case in
      Company’s sole discretion.

   3. (c) Promotional Offers. The Company, at its sole discretion, may make promotional offers with different
      features and different rates to any of our Users. These promotional offers, unless made to you, shall have
      no bearing whatsoever on your offer or contract. We encourage you to check back at our Website
      periodically if you are interested in learning more about how we charge for the Software or Services.

   4. (d) Fees for Services and Software. The Company may change the fees for our Services as we deem
      necessary or appropriate for our business.

   5. (e) Referral Program. The Company’s Referral Program Terms and Conditions are available at
      https://www.doordash.com/referral-terms/ (“Program”). Under the Program, the Company offers its
      registered customers in good standing the opportunity to earn DoorDash credits as promotional rewards
      by inviting their eligible friends (each, a “Referred Friend”) to register as new DoorDash customers and
      place their initial order through the Service by using a unique referral ID link (“Personal Link”). For each
      Qualified Referral (as defined in the Program) generated through a User’s Personal Link, the User may
      receive a credit as specified on the Company’s Referral Program page. You agree we may change the
      terms and conditions of the Program or terminate the Program at any time.

   6. (f) DashPass Subscriptions. DashPass is a subscription that provides free deliveries (no delivery fee) on
      orders with a minimum subtotal as stated when you sign up (excluding taxes and tips) (“Free Deliveries”)
      placed through the Services for a monthly or yearly fee. Free Deliveries are subject to delivery driver and
      geographic availability, and taxes may apply to the cost of the food and/or beverages that you order. You
      may provide an optional gratuity. Depending on the conditions as stated when you sign up, service fees
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    may apply. You will be charged your first monthly subscription fee on the date you purchase your
    subscription. BY DEFAULT (AND WITH PRIOR NOTICE TO THE EXTENT REQUIRED BY
    APPLICABLE LAW), YOUR DASHPASS SUBSCRIPTION WILL AUTOMATICALLY RENEW,
    AND THE THEN-CURRENT DASHPASS FEE WILL BE AUTOMATICALLY CHARGED TO YOU
    AT THE TIME OF RENEWAL. If you do not want your subscription to automatically renew, you can
    change this default via the Menu or the in-app DashPass banner, depending on the system you are using.
    You can cancel your DashPass subscription at any time on the Application and doordash.com. You must
    cancel at least 1 day before the next-scheduled subscription renewal date to avoid being charged for the
    next subscription period (e.g., if renewal date is January 10, you must cancel by 11:59:59 pm PT on
    January 9). If you participated in a free or other promotional subscription period for DashPass, you may
    cancel within the first 48 hours of your paid DashPass subscription and receive a full refund of your
    DashPass fee (as applicable). For all other members, if you cancel your DashPass subscription within the
    first 48 hours and have not placed an order during that period, DoorDash will refund your DashPass fee.
    If you cancel at any other time, you will not receive a refund, but you can continue to enjoy the Free
    Deliveries through the end of your then-current billing period. From time to time, DoorDash offers some
    customers trial or other promotional subscriptions to DashPass. Such trial or promotional subscriptions
    are subject to these Terms except as otherwise stated in the promotional offer. Only one trial or
    promotional subscription is available per household. DoorDash will bill you the applicable fee after your
    free trial period has expired. If you cancel DashPass before the trial period has expired, DoorDash will
    not charge you. DoorDash may change the monthly or annual fee charged for DashPass at any time, but
    any such fee change will not apply to current DashPass members until such time as your current
    subscription expires and your subscription is renewed for another term. We may change the terms or
    conditions applicable to DashPass from time to time. Any new or renewed DoorDash Pass subscriptions
    will be subject to the terms and conditions active at that time and displayed when you sign up for
    DashPass. DoorDash may also make such changes with respect to current DashPass subscriptions. In that
    case, DoorDash will provide you with notice via email of the changes and when those changes will take
    effect. If you disagree with the changes to your current DashPass subscription terms and conditions, you
    may cancel your DashPass subscription and receive a refund of your subscription fee on a pro rata basis
    calculated from the end of the month during which you cancel the subscription. Your DashPass
    subscription cannot be transferred or assigned. DoorDash reserves the right to accept, refuse, or cancel
    your DashPass subscription at any time in its sole discretion. If DoorDash cancels your DashPass
    subscription, you will receive a refund of your subscription fee on a pro rata basis calculated from the end
    of the month during which your subscription was cancelled.

6. Third-Party Interactions
  1. (a) Third-Party Websites, Applications and Advertisements. The Services may contain links to third-party
     websites (“Third-Party Websites”) and applications (“Third-Party Applications”) and advertisements
     (“Third-Party Advertisements”) (collectively, “Third-Party Websites & Advertisements”). When you
     click on a link to a Third-Party Website, Third-Party Application or Third-Party Advertisement, the
     Company will not warn you that you have left the Company’s Website or Services and will not warn you
     that you are subject to the terms and conditions (including privacy policies) of another website or
     destination. Such Third-Party Websites & Advertisements are not under the control of the Company. The
     Company is not responsible for any Third-Party Websites, Third-Party Applications or any Third-Party
     Advertisements. The Company provides these Third-Party Websites & Advertisements only as a
     convenience and does not review, approve, monitor, endorse, warrant, or make any representations with
     respect to such Third-Party Websites & Advertisements, or their products or services. You use all links in
     Third-Party Websites & Advertisements at your own risk. You should review applicable terms and
     policies, including privacy and data gathering practices of any Third-Party Websites or Third-Party
     Applications, and make whatever investigation you feel necessary or appropriate before proceeding with
     any transaction with any third party.

  2. (b) App Stores. You acknowledge and agree that the availability of the Application is dependent on the
     third party from which you received the Application license, e.g., the Apple iPhone or Android app stores
     (“App Store”). You acknowledge that this Agreement is between you and the Company and not with the
     App Store. The Company, not the App Store, is solely responsible for the Software and the Services,
     including the Application and the Services, the content thereof, maintenance, support services and
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      warranty therefor, and addressing any claims relating thereto (e.g., product liability, legal compliance or
      intellectual property infringement). In order to use the Application, you must have access to a wireless
      network, and you agree to pay all fees associated with such access. You also agree to pay all fees (if any)
      charged by the App Store in connection with the Application or the Services. You agree to comply with,
      and your license to use the Application is conditioned upon your compliance with, all applicable third-
      party terms of agreement (e.g., the App Store’s terms and policies) when using the Application. You
      acknowledge that the App Store (and its subsidiaries) are intended third-party beneficiaries of the
      Agreement and have the right to enforce them.

7. Transactions Involving Alcohol
You may have the option to request delivery of alcohol products in some locations and from certain Food
Service Providers. If you receive your delivery in the United States, you agree that you will only order alcohol
products if you are 21 years of age or older. If you receive your delivery in another country, you agree that you
will only order alcohol products if you are of legal age to purchase alcohol products in the relevant jurisdiction.
You also agree that, upon delivery of alcohol products, you will provide valid government-issued identification
proving your age to the Dasher delivering the alcohol products and that the recipient will not be intoxicated
when receiving delivery of such products. If you order alcohol products, you understand and acknowledge that
neither the Company nor the Dasher can accept your order of alcohol products, and the order will only be
delivered if the Food Service Provider accepts your order. The Dasher reserves the right to refuse delivery if
you are not 21 years of older, if you cannot provide a valid government issued ID, if the name on your ID does
not match the name on your order, or you are visibly intoxicated. If the Dasher is unable to complete the
delivery of alcohol products for one or more of these reasons, you are subject to a non-refundable $20 re-
stocking fee.

8. Indemnification
You agree to indemnify and hold harmless the Company and its officers, directors, employees, agents and
affiliates (each, an “Indemnified Party”), from and against any losses, claims, actions, costs, damages,
penalties, fines and expenses, including without limitation attorneys’ fees and expenses, that may be incurred by
an Indemnified Party arising out of, relating to or resulting from (a) your User Content; (b) your misuse of the
Website, Software or Services; (c) your violation of this Agreement; or (d) your violation of any applicable
laws, rules or regulations through or related to the use of the Website, Software or Services. In the event of any
claim, allegation, suit or proceeding alleging any matter potentially covered by the agreements in this section,
you agree to pay for the defense of the Indemnified Party, including reasonable costs and attorneys’ fees
incurred by the Indemnified Party. The Company reserves the right, at its own cost, to assume the exclusive
defense and control of any matter otherwise subject to indemnification by you, in which event you will fully
cooperate with the Company in asserting any available defenses. This provision does not require you to
indemnify any Indemnified Party for any unconscionable commercial practice by such party, or for such party’s
negligence, fraud, deception, false promise, misrepresentation or concealment, suppression or omission of any
material fact in connection with the Website, Software or Services. You agree that the provisions in this section
will survive any termination of your account, this Agreement, or your access to the Website, Software and/or
Services.

9. Disclaimer of Warranties
YOU EXPRESSLY UNDERSTAND AND AGREE THAT TO THE FULLEST EXTENT OF LAW, YOUR
USE OF THE WEBSITE, SOFTWARE AND SERVICES IS ENTIRELY AT YOUR OWN RISK. CHANGES
ARE PERIODICALLY MADE TO THE WEBSITE, SOFTWARE AND SERVICES AND MAY BE MADE
AT ANY TIME WITHOUT NOTICE TO YOU. THE WEBSITE, SOFTWARE AND SERVICES ARE
PROVIDED ON AN “AS IS” BASIS WITHOUT WARRANTIES OF ANY KIND, EITHER EXPRESS OR
IMPLIED, INCLUDING, BUT NOT LIMITED TO, WARRANTIES OF MERCHANTABILITY, FITNESS
FOR A PARTICULAR PURPOSE AND NON-INFRINGEMENT. THE COMPANY MAKES NO
WARRANTIES OR REPRESENTATIONS ABOUT THE ACCURACY, RELIABILITY, COMPLETENESS
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OR TIMELINESS OF THE CONTENT MADE AVAILABLE THROUGH THE WEBSITE, SOFTWARE OR
SERVICES, OR THE SERVICES, SOFTWARE, TEXT, GRAPHICS OR LINKS.

THE COMPANY DOES NOT WARRANT THAT THE WEBSITE, SOFTWARE OR SERVICES WILL
OPERATE ERROR-FREE OR THAT THE WEBSITE, SOFTWARE OR SERVICES ARE FREE OF
COMPUTER VIRUSES AND OTHER HARMFUL MALWARE. IF YOUR USE OF THE WEBSITE,
SOFTWARE OR SERVICES RESULTS IN THE NEED FOR SERVICING OR REPLACING EQUIPMENT
OR DATA, THE COMPANY SHALL NOT BE RESPONSIBLE FOR THOSE ECONOMIC COSTS.

10. Internet Delays
The Company’s Website, Software and Services may be subject to limitations, delays, and other problems
inherent in the use of the Internet and electronic communications. Except as set forth in the Company’s privacy
policy or as otherwise required by applicable law, the Company is not responsible for any delays, delivery
failures, or other economic damage resulting from such problems.

11. Limitation of Liability
   1. (a) Cap on Liability. TO THE FULLEST EXTENT OF LAW THE COMPANY’S AGGREGATE
      LIABILITY SHALL NOT EXCEED THE GREATER OF (a) AMOUNTS ACTUALLY PAID BY
      AND/OR DUE FROM YOU TO THE COMPANY IN THE SIX (6) MONTH PERIOD IMMEDIATELY
      PRECEDING THE EVENT GIVING RISE TO SUCH CLAIM, AND (b) THE REMEDY OR
      PENALTY IMPOSED BY THE STATUTE UNDER WHICH SUCH CLAIM ARISES. THE
      FOREGOING CAP ON LIABILITY SHALL NOT APPLY TO LIABILITY OF THE COMPANY FOR
      (a) DEATH OR PERSONAL INJURY CAUSED BY THE COMPANY’S NEGLIGENCE OR WILLFUL
      MISCONDUCT, OR FOR (b) ANY INJURY CAUSED BY THE COMPANY’S FRAUD OR
      FRAUDULENT MISREPRESENTATION.

   2. (b) Disclaimer of Certain Damages. TO THE FULLEST EXTENT OF LAW THE COMPANY SHALL
      NOT BE LIABLE TO ANYONE FOR ANY INDIRECT, PUNITIVE, SPECIAL, EXEMPLARY,
      INCIDENTAL, CONSEQUENTIAL OR OTHER DAMAGES OF ANY TYPE OR KIND (INCLUDING
      PERSONAL INJURY, LOSS OF DATA, REVENUE, PROFITS, USE OR OTHER ECONOMIC
      ADVANTAGE). THE COMPANY SHALL NOT BE LIABLE FOR ANY LOSS, DAMAGE OR
      INJURY WHICH MAY BE INCURRED BY YOU, INCLUDING BUT NOT LIMITED TO LOSS,
      DAMAGE OR INJURY ARISING OUT OF, OR IN ANY WAY CONNECTED WITH THE WEBSITE,
      SOFTWARE, OR SERVICES INCLUDING BUT NOT LIMITED TO THE USE OR INABILITY TO
      USE THE WEBSITE, SOFTWARE, OR SERVICES, ANY RELIANCE PLACED BY YOU ON THE
      COMPLETENESS, ACCURACY OR EXISTENCE OF ANY ADVERTISING, OR AS A RESULT OF
      ANY RELATIONSHIP OR TRANSACTION BETWEEN YOU AND ANY FOOD SERVICE
      PROVIDER, DASHER, ADVERTISER OR SPONSOR WHOSE ADVERTISING APPEARS ON THE
      WEBSITE OR IS REFERRED BY THE SOFTWARE OR SERVICES, EVEN IF THE COMPANY
      AND/OR ITS LICENSORS HAVE BEEN PREVIOUSLY ADVISED OF THE POSSIBILITY OF SUCH
      DAMAGES. THE FOREGOING DISCLAIMER OF PUNITIVE AND EXEMPLARY DAMAGES, AND
      THE ENTIRE DISCLAIMER OF DAMAGES FOR PERSONAL INJURY OR PROPERTY DAMAGE, OR
      FOR ANY INJURY CAUSED BY THE COMPANY’S FRAUD OR FRAUDULENT
      MISREPRESENTATION, SHALL NOT APPLY TO USERS WHO RESIDE IN THE STATE OF NEW
      JERSEY.

12. Dispute Resolution
PLEASE READ THE FOLLOWING SECTION CAREFULLY. IT REQUIRES YOU TO ARBITRATE
DISPUTES WITH THE COMPANY AND LIMITS THE MANNER IN WHICH YOU CAN SEEK RELIEF.
THIS SECTION 12 OF THIS AGREEMENT SHALL BE REFERRED TO AS THE “ARBITRATION
AGREEMENT”.
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1. (a) Scope of Arbitration Agreement. You agree that any dispute or claim relating in any way to your
   access or use of the Services as a consumer of our Services, to any advertising or marketing
   communications regarding the Company or the Services, to any products or services sold or distributed
   through the Services that you received as a consumer of our Services, or to any aspect of your
   relationship or transactions with Company as a consumer of our Services will be resolved by binding
   arbitration, rather than in court, except that (1) you may assert claims in small claims court if your claims
   qualify, so long as the matter remains in such court and advances only on an individual (non-class, non-
   representative) basis; and (2) you or the Company may seek equitable relief in court for infringement or
   other misuse of intellectual property rights (such as trademarks, trade dress, domain names, trade secrets,
   copyrights, and patents). This Arbitration Agreement shall apply, without limitation, to all claims that
   arose or were asserted before the Effective Date of this Agreement.

  CASES HAVE BEEN FILED AGAINST THE COMPANY—AND OTHERS MAY BE FILED IN THE
  FUTURE—THAT ATTEMPT TO ASSERT CLASS ACTION CLAIMS, AND BY ACCEPTING THIS
  ARBITRATION AGREEMENT YOU ELECT NOT TO PARTICIPATE IN SUCH CASES.

  IF YOU AGREE TO ARBITRATION WITH THE COMPANY, YOU ARE AGREEING IN ADVANCE
  THAT YOU WILL NOT PARTICIPATE IN OR SEEK TO RECOVER MONETARY OR OTHER
  RELIEF IN ANY SUCH CLASS, COLLECTIVE, AND/OR REPRESENTATIVE LAWSUIT.
  INSTEAD, BY AGREEING TO ARBITRATION, YOU MAY BRING YOUR CLAIMS AGAINST THE
  COMPANY IN AN INDIVIDUAL ARBITRATION PROCEEDING. IF SUCCESSFUL ON SUCH
  CLAIMS, YOU COULD BE AWARDED MONEY OR OTHER RELIEF BY AN ARBITRATOR.

2. (b) Arbitration Rules and Forum. This Arbitration Agreement is governed by the Federal Arbitration Act
   in all respects. To begin an arbitration proceeding, you must send a letter requesting arbitration and
   describing your claim to our registered agent, General Counsel, at 901 Market Street, 6th Floor, San
   Francisco, CA, 94103. The arbitration will be conducted by JAMS under its rules and pursuant to the
   terms of this Agreement. Disputes involving claims and counterclaims under $250,000, not inclusive of
   attorneys’ fees and interest, shall be subject to JAMS’s most current version of the Streamlined
   Arbitration Rules and procedures available at http://www.jamsadr.com/rules-streamlined-arbitration/; all
   other claims shall be subject to JAMS’s most current version of the Comprehensive Arbitration Rules and
   Procedures, available at http://www.jamsadr.com/rules-comprehensive-arbitration/. JAMS’s rules are also
   available at www.jamsadr.com (under the Rules/Clauses tab) or by calling JAMS at 800-352-5267.
   Payment of all filing, administration, and arbitration fees will be governed by JAMS’s rules. If the
   arbitrator finds that you cannot afford to pay JAMS’s filing, administrative, hearing and/or other fees and
   cannot obtain a waiver of fees from JAMS, the Company will pay them for you. In addition, the
   Company will reimburse all such JAMS’s filing, administrative, hearing and/or other fees for claims with
   an amount in controversy totaling less than $10,000. If JAMS is not available to arbitrate, the parties will
   select an alternative arbitral forum. You may choose to have the arbitration conducted by telephone, video
   conference, based on written submissions, or in person in the country where you live or at another
   mutually agreed location.

3. (c) Arbitrator Powers. The arbitrator, and not any federal, state, or local court or agency, shall have
   exclusive authority to resolve any dispute relating to the interpretation, applicability, enforceability or
   formation of this Arbitration Agreement including, but not limited to any claim that all or any part of this
   Arbitration Agreement is void or voidable. The arbitration will decide the rights and liabilities, if any, of
   you and the Company. The arbitration proceeding will not be consolidated with any other matters or
   joined with any other proceedings or parties. The arbitrator will have the authority to grant motions
   dispositive of all or part of any claim or dispute. The arbitrator will have the authority to award monetary
   damages and to grant any non-monetary remedy or relief available to an individual under applicable law,
   the arbitral forum’s rules, and this Agreement (including this Arbitration Agreement). The arbitrator will
   issue a written statement of decision describing the essential findings and conclusions on which any
   award (or decision not to render an award) is based, including the calculation of any damages awarded.
   The arbitrator shall follow the applicable law. The arbitrator has the same authority to award relief on an
   individual basis that a judge in a court of law would have. The arbitrator’s decision is final and binding on
   you and the Company.
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   4. (d) Waiver of Jury Trial. YOU AND THE COMPANY WAIVE ANY CONSTITUTIONAL AND
      STATUTORY RIGHTS TO SUE IN COURT AND RECEIVE A JUDGE OR JURY TRIAL. You and the
      Company are instead electing to have claims and disputes resolved by arbitration, except as specified in
      section 12(a) above. There is no judge or jury in arbitration, and court review of an arbitration award is
      limited.

   5. (e) Waiver of Class or Consolidated Actions. YOU AND THE COMPANY AGREE TO WAIVE ANY
      RIGHT TO RESOLVE CLAIMS WITHIN THE SCOPE OF THIS ARBITRATION AGREEMENT ON
      A CLASS, COLLECTIVE, OR REPRESENTATIVE BASIS. ALL CLAIMS AND DISPUTES WITHIN
      THE SCOPE OF THIS ARBITRATION AGREEMENT MUST BE ARBITRATED ON AN
      INDIVIDUAL BASIS AND NOT ON A CLASS BASIS. CLAIMS OF MORE THAN ONE
      CUSTOMER OR USER CANNOT BE ARBITRATED OR LITIGATED JOINTLY OR
      CONSOLIDATED WITH THOSE OF ANY OTHER CUSTOMER OR USER. If, however, this waiver
      of class or consolidated actions is deemed invalid or unenforceable with respect to a particular claim or
      dispute, neither you nor the Company is entitled to arbitration of such claim or dispute. Instead, all such
      claims and disputes will then be resolved in a court as set forth in Section 13.

   6. (f) Opt Out. You may opt out of this Arbitration Agreement. If you do so, neither you nor the Company
      can force the other to arbitrate as a result of this Agreement. To opt out, you must notify the Company in
      writing no later than 30 days after first becoming subject to this Arbitration Agreement. Your notice must
      include your name and address, your DoorDash username (if any), the email address you used to set up
      your DoorDash account (if you have one), and a CLEAR statement that you want to opt out of this
      Arbitration Agreement. You must send your opt-out notice to: opt-out@doordash.com. If you opt out of
      this Arbitration Agreement, all other parts of this Agreement will continue to apply to you. Opting out of
      this Arbitration Agreement has no effect on any other arbitration agreements that you may have entered
      into with us or may enter into in the future with us. NOTWITHSTANDING ANYTHING TO THE
      CONTARY HEREIN, NOTHING IN THIS AGREEMENT SHALL SUPERSEDE, AMEND, OR
      MODIFY THE TERMS OF ANY SEPARATE AGREEMENT(S) BETWEEN YOU AND THE
      COMPANY RELATING TO YOUR WORK AS AN EMPLOYEE OR INDEPENDENT
      CONTRACTOR, INCLUDING WITHOUT LIMITATION, ANY INDEPENDENT CONTRACTOR
      AGREEMENT GOVERNING YOUR SERVICES AS A DASHER. FOR THE AVOIDANCE OF
      DOUBT, IF YOU ARE A DASHER, OPTING-OUT OF THE ARBITIRATION AGREEMENT SET
      FORTH IN THIS SECTION 12 HAS NO AFFECT ON YOUR AGREEMENT TO ARBITRATE
      DISPUTES COVERED BY YOUR INDEPEDENT CONTRACTOR AGREEMENT WITH THE
      COMPANY.

   7. (g) Survival. This Arbitration Agreement will survive any termination of your relationship with the
      Company.

   8. (h) Modification. Notwithstanding any provision in the Agreement to the contrary, we agree that if the
      Company makes any future material change to this Arbitration Agreement, it will not apply to any
      individual claim(s) that you had already provided notice of to the Company.

13. Exclusive Venue
To the extent the parties are permitted under this Agreement to initiate litigation in a court, both you and the
Company agree that all claims and disputes arising out of or relating to the Agreement will be litigated
exclusively in the state or federal courts located in Santa Clara County if you are a California citizen or resident,
and in the United States District Court for the District in which you reside if you are not a California citizen or
resident.

14. Termination
At its sole discretion, the Company may modify or discontinue the Software or Service, or may modify, suspend
or terminate your access to the Software or the Services, for any reason, with or without notice to you and
without liability to you or any third party. In addition to suspending or terminating your access to the Software
or the Service, the Company reserves the right to take appropriate legal action, including without limitation
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pursuing civil, criminal or injunctive redress. Even after your right to use the Software or the Services is
terminated, this Agreement will remain enforceable against you. All provisions which by their nature should
survive to give effect to those provisions shall survive the termination of this Agreement.

15. Procedure for Making Claims of Copyright Infringement.
It is the Company’s policy to terminate membership privileges of any User who repeatedly infringes copyright
upon prompt notification to the Company by the copyright owner or the copyright owner’s legal agent. Without
limiting the foregoing, if you believe that your work has been copied and posted on the Website or the Services
in a way that constitutes copyright infringement, please provide our Copyright Agent with the following
information: (a) an electronic or physical signature of the person authorized to act on behalf of the owner of the
copyright interest; (b) a description of the copyrighted work that you claim has been infringed; (c) a description
of the location on the Website or in the Services of the material that you claim is infringing; (d) your address,
telephone number and e-mail address; (e) a written statement by you that you have a good faith belief that the
disputed use is not authorized by the copyright owner, its agent or the law; and (f) a statement by you, made
under penalty of perjury, that the above information in your notice is accurate and that you are the copyright
owner or authorized to act on the copyright owner’s behalf. Contact information for the Company’s Copyright
Agent for notice of claims of copyright infringement is as follows: General Counsel, Door Dash, Inc., 901
Market St, 6th Floor, San Francisco, CA 94103.

16. General
   1. (a) No Joint Venture or Partnership. No joint venture, partnership, employment, or agency relationship
      exists between you, the Company or any third party provider as a result of this Agreement or use of the
      Software or Services.

   2. (b) Choice of Law. This Agreement is governed by the laws of the State of Delaware consistent with the
      Federal Arbitration Act, without giving effect to any principles that provide for the application of the law
      of any other jurisdiction.

   3. (c) Severability. Except as otherwise provided herein, if any provision of this Agreement is found to be
      invalid, the invalidity of such provision shall not affect the validity of the remaining provisions of this
      Agreement, which shall remain in full force and effect.

   4. (d) Consumer Complaints. In accordance with California Civil Code § 1789.3, you may report complaints
      to the Complaint Assistance Unit of the Division of Consumer Services of the California Department of
      Consumer Affairs by contacting them in writing at 400 R Street, Sacramento, CA 95814, or by telephone
      at (800) 952-5210.

   5. (e) Accessing and Downloading the Application from iTunes. The following applies to any Application
      accessed through or downloaded from the Apple App Store (an “App Store Sourced Application”):

          1. (1) You acknowledge and agree that (i) the Agreement is concluded between you and the Company
             only, and not Apple, and (ii) the Company, not Apple, is solely responsible for the App Store
             Sourced Application and content thereof. Your use of the App Store Sourced Application must
             comply with the App Store Terms of Service.

          2. (2) You acknowledge that Apple has no obligation whatsoever to furnish any maintenance and
             support services with respect to the App Store Sourced Application.

          3. (3) In the event of any failure of the App Store Sourced Application to conform to any applicable
             warranty, you may notify Apple, and Apple will refund the purchase price, if any, for the App Store
             Sourced Application to you and to the fullest extent permitted by law, Apple will have no other
             warranty obligation whatsoever with respect to the App Store Sourced Application. As between the
             Company and Apple, any other claims, losses, liabilities, damages, costs or expenses attributable to
             any failure to conform to any warranty will be the sole responsibility of the Company.
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         4. (4) You and the Company acknowledge that, as between the Company and Apple, Apple is not
            responsible for addressing any claims you have or any claims of any third party relating to the App
            Store Sourced Application or your possession and use of the App Store Sourced Application,
            including, but not limited to: (i) product liability claims; (ii) any claim that the App Store Sourced
            Application fails to conform to any applicable legal or regulatory requirement; and (iii) claims
            arising under consumer protection or similar legislation.

         5. (5) You and the Company acknowledge that, in the event of any third-party claim that the App
            Store Sourced Application or your possession and use of that App Store Sourced Application
            infringes that third party’s intellectual property rights, as between the Company and Apple, the
            Company, not Apple, will be solely responsible for the investigation, defense, settlement and
            discharge of any such intellectual property infringement claim to the extent required by the Terms.

         6. (6) You and the Company acknowledge and agree that Apple, and Apple’s subsidiaries, are third-
            party beneficiaries of the Terms as related to your license of the App Store Sourced Application,
            and that, upon your acceptance of the terms and conditions of the Terms, Apple will have the right
            (and will be deemed to have accepted the right) to enforce the Terms as related to your license of
            the App Store Sourced Application against you as a third-party beneficiary thereof.

         7. (7) Without limiting any other terms of the Terms, you must comply with all applicable third-party
            terms of agreement when using the App Store Sourced Application.

   6. (f) Notice. Where the Company requires that you provide an e-mail address, you are responsible for
      providing the Company with your most current e-mail address. In the event that the last e-mail address
      you provided to the Company is not valid, or for any reason is not capable of delivering to you any
      notices required or permitted by this Agreement, the Company’s dispatch of the e-mail containing such
      notice will nonetheless constitute effective notice. You may give notice to the Company through the
      following web form: www.doordash.com/help/. Such notice shall be deemed given on the next business
      day after such e-mail is actually received by the Company.

   7. (g) Electronic Communications. For contractual purposes, you (1) consent to receive communications
      from the Company in an electronic form; and (2) agree that all terms and conditions, agreements, notices,
      disclosures, and other communications that the Company provides to you electronically satisfy any legal
      requirement that such communications would satisfy if they were in writing. This subparagraph does not
      affect your statutory rights.

   8. (h) Entire Agreement. This Agreement is the final, complete and exclusive agreement of the parties with
      respect to the subject matter hereof and supersedes and merges all prior discussions between the parties
      with respect to such subject matter. However, nothing in this Agreement shall supersede, amend, or
      modify the terms of any separate agreement(s) between you and the Company relating to your work as an
      employee or independent contractor, including, without limitation, any Independent Contractor
      Agreement governing your efforts as a Dasher.

17. Contact Information
DoorDash welcomes your questions or comments regarding the Terms:

DoorDash, Inc.
901 Market St, 6th Floor
San Francisco, CA 94103
Help Form: https://www.doordash.com/help/
Telephone Number: +1 (855) 973-1040

Get to
Know Us
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About Us
Careers
Blog
LinkedIn
Glassdoor
Accessibility

Let Us
Help You
Account Details
Order History
Help

Doing
Business
Become a Dasher
Be a Partner
Restaurant
Get Dashers for
Deliveries




Delivery Hours
Every day: 12:00AM - 11:59PM




    Terms of ServicePrivacyDelivery Locations

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            EXHIBIT G
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PLEASE READ THE TERMS AND CONDITIONS CAREFULLY. THE TERMS AND CONDITIONS (“AGREEMENT”) CONSTITUTE A LEGAL AGREEMENT



BETWEEN YOU AND DOORDASH, INC., A DELAWARE CORPORATION (“DOORDASH,” “WE,” “US,” OR “OUR”).




SECTION 12 (h                        ttps www oor s om t rms s t on
                                               ://               .d               da       h.c              / e            /#    ec i              12) OF THIS AGREEMENT CONTAINS PROVISIONS THAT GOVERN HOW CLAIMS THAT YOU



AND WE HAVE AGAINST EACH OTHER ARE RESOLVED, INCLUDING, WITHOUT LIMITATION, ANY CLAIMS THAT AROSE OR WERE ASSERTED



BEFORE THE EFFECTIVE DATE OF THIS AGREEMENT. IN PARTICULAR, SECTION 12 SETS FORTH OUR ARBITRATION AGREEMENT WHICH WILL,



WITH LIMITED EXCEPTIONS, REQUIRE DISPUTES BETWEEN US TO BE SUBMITTED TO BINDING AND FINAL ARBITRATION. UNLESS YOU OPT OUT



OF THE ARBITRATION AGREEMENT: (1) YOU WILL ONLY BE PERMITTED TO PURSUE CLAIMS AND SEEK RELIEF AGAINST US ON AN INDIVIDUAL




BASIS, NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION OR PROCEEDING; AND (2) YOU ARE WAIVING




YOUR RIGHT TO SEEK RELIEF IN A COURT OF LAW AND TO HAVE A JURY TRIAL ON YOUR CLAIMS. THE ARBITRATION AGREEMENT



COULD AFFECT YOUR RIGHT TO PARTICIPATE IN PENDING PROPOSED CLASS ACTION LITIGATION. PLEASE SEE SECTION 12 FOR



MORE INFORMATION REGARDING THIS ARBITRATION AGREEMENT, THE POSSIBLE EFFECTS OF THIS ARBITRATION AGREEMENT, AND



HOW TO OPT OUT OF THE ARBITRATION AGREEMENT.




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i   f               a i                   i         acc           da           ce           i h D                    Da           h’        P i             ac          P           lic    (h                ://                     .d              da          h.c                 /        i   ac            /),         hich i          i       c                         a ed i                hi        Ag ee                   e            b        efe e              ce.



Ce rt n tur s o our rv s m y su t to t on t rms n on t ons w
            ai              fea                 e             fr n orpor t r n y r r n
                                                                           Se              ice                  a    be                   bjec                      addi i                    al        e                a       d c             di i                    ,       hich a e i                     c                 a ed he ei                              b            efe e             ce.




4. R            u s n ro t ons
                        le                a         d P                   hibi i



B   y us n t    i       g           he Se           rv s you r t t
                                                         ice          ,                ag ee                ha :




    ou w on y us t rv s or w u purpos s you w not us t rv s or s n n or stor n ny un w u m t r or or
(a) Y                           ill             l             e    he Se                   ice          f           la        f       l                         e       ;                     ill                     e      he Se                   ice             f               e       di       g                     i     g a                       la           f        l       a e ial               f            dece          pt v or r u u nt
                                                                                                                                                                                                                                                                                                                                                                                                                                                   i    e            f a       d    le



purpos s n you w not n  en on u t t t rms ot r s rs oor s mp oy s or our ommun ty
                                    ; a       d                    ill                 e       gage i                c            d        c            ha          ha                         he           U        e       , D             Da           h e                    l           ee       ,                     c                       i           .




(b) You w on y us t              ill            l             e    he Se               rv s n or n w t
                                                                                            ice         i       acc               da            ce              i h all a                pp   licable la                  ws n u n opyr ts tr
                                                                                                                                                                                                                                 , i       cl     di         g c                         igh          ,         ade      s r ts or ot r r ts o ny t r p rty n u n pr v y
                                                                                                                                                                                                                                                                                                                            ec e            ,                           he            igh               f a             hi d              a        , i      cl       di        g        i   ac



or pu ty r ts   blici                      igh            .




(c) Y       ou w on y           ill             l    acce          ss t        he Se            rv s us n m ns xp t y ut or z
                                                                                                       ice                i   g            ea                   e           lici l            a         h        i   ed b            y oor s
                                                                                                                                                                                                                                         D               Da          h.




    ou w not us not r s r s ount mp rson t ny p rson or nt ty or or or m n pu t
(d) Y                            ill                      e a                  he          U       e    ’       acc                       , i               e                   a e a                   e                            e       i       ,           f           ge                   a        i        la e heade                  rs or nt ﬁ rs to s u s t or n o ny ont nt
                                                                                                                                                                                                                                                                                                                                                                        ide           i    e              di        g       i   e       he             igi            f a           c        e



tr nsm tt t rou t rv s
    a                   i       ed            h           gh          he Se                    ice          .




(e) Y       ou w not us t       ill                       e       he Se            rv s to us nu s n
                                                                                           ice                  ca            e            i        a       ce, a       nnoy n or n onv n n
                                                                                                                                                                                          a       ce             i    c                e     ie          ce.




(f) Y    ou w not us t rv s or ny ont nt ss t rou t rv s or ny omm r purpos n u n ut not m t to ont t n
                                ill                     e         he Se                ice         ,            a         c               e             acce                    ible          h             gh           he Se                  ice       , f                a           c                    e cial                            e, i            cl        di          g b                      li           i ed               c            ac i       g,



ad      v rt s n to so t n or s n to ny r nt us r or ontr tor un ss oor s s v n you pr or p rm ss on to o so n wr t n
            e       i       i       g           ,       lici i            g                elli        g            , a           Me cha                            ,           e             C                  ac              ,         le            D                   Da          h ha             gi       e                    i               e                 i       i                 d               i               i i    g.




    ou w not opy or str ut t
(g) Y                            ill                c                      di              ib          e        he S      o tw r or ny ont nt sp y t rou t
                                                                                                                              f           a e                   a               c         e             di           la      ed          h               gh          he Se               rv s n u n
                                                                                                                                                                                                                                                                                             ice          , i      cl    di       g Me cha      r nts m nu ont nt n r v ws or ’           e         c          e            a       d      e       ie          , f



r pu t on n ny orm t or m
    e         blica i                           i    a            f             a                      edia.




(h) Y       ou w not omp         ill                c                 ile, di ec l r t y or n r t y ny ont nt sp y t rou t
                                                                                                                i    di ec l                   , a              c               e         di            la    ed             h             gh            he Se               rv s x pt or your p rson non omm r us
                                                                                                                                                                                                                                                                                 ice          e       ce            f                           e                       al,               c               e cial                     e.




    n orm t on you prov to us w n you r st r n ount or ot rw s ommun t w t us s ur t you w prompt y not y us o ny
(i) The i                       f             a i                                          ide                            he                                egi             e       a     acc                                        he              i   e c                                 ica e                 i h            i     acc             a e,                                  ill                       l                 if                f a            cha      n s to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ge



su n orm t on n you w prov us w t w t v r proo o nt ty w m y r son y r qu st
        ch i            f                 a i            , a       d                       ill                  ide                       i h               ha e                e                   f       f ide            i               e           a           ea                  abl              e         e        .




(j) Y       ou w            ill kee                 p s ur n onﬁ nt your ount p sswor or ny nt ﬁ t on r nt s w prov you w
                                                        ec            e a          d c                  de              ial                         acc                             a                   d            a               ide         i       ca i                    c ede                    ial           e               ide                               hich all              ows       acce              ss to t        he Se            rv s ice       .




(k) Y ou w us t o tw r n rv s on y or your own us n w not r t y or n r t y r s
                                ill           e      he S             f        a e a               d Se                 ice                     l       f                                               e a          d       ill                 di ec l                             i   di ec l                    e       ell, lice       ns or tr ns r t
                                                                                                                                                                                                                                                                                                                                                    e                         a        fe           he S      o tw r
                                                                                                                                                                                                                                                                                                                                                                                                               f            a e, Se            rv s or ont nt
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ice             c            e



di  sp y y t rv s to t r p rty
            la          ed b                    he Se                 ice                  a       hi d              a            .




(l) Y ou w not us t         ill                         e         he Se        rv s n ny w y t t ou
                                                                                       ice         i        a                 a           ha            c           ld da            m    age, di            s  able,            ov r ur n or mp r ny oor s s rv r or t n twor s onn t to ny
                                                                                                                                                                                                                                         e b             de                      i           ai       a            D             Da      h          e               e ,               he            e           k           c             ec ed                    a



D   oor s s rv rDa              h         e         e .




(   m ou w not tt mpt to n un ut or z
        ) Y                         ill              a        e                        gai                      a         h           i   ed acce                   ss to t              he Se          rv s n or to ny ount r sour
                                                                                                                                                                                                             ice             a       d/                  a               acc                      ,       e             ce, c         omput r syst m n or n twor onn t to ny
                                                                                                                                                                                                                                                                                                                                                        e                         e           , a    d/                 e                 k c               ec ed                   a



D   oor s s rv rDa              h         e         e .




(n ou w not pro s n or t st t vu n r ty o ny syst m or n twor or r or r umv nt ny s ur ty or ut nt t on m sur s oor s m y
        ) Y                      ill                          be,          ca          ,           e                he                l   e abili                           f a                         e                    e                   k           b each                           ci c                      e         a             ec                  i                 a       he          ica i                      ea                e       D           Da        h       a



us to pr v nt or r str t ss to t rv s or us o t rv s or t ont nt t r n
        e                       e      e                      e           ic   acce                                 he Se                 ice                               e        f    he Se                  ice                     he c                    e               he ei                .
(   o ou w not p n toCase
     ) Y                   t oor
                          ill         s w s t or ss t oor s w s t m nu y or w t ny ro ot sp r w r w r xtr t on nso tw
                                             dee              -li      k               he D

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                                                                                                               Da           h
                                                                                                                                s r      eb          i e              acce                     he D                    Da             h       eb       i e                 a            all                      i h a                            b           ,         ide ,             eb c a                    le , e                ac i
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a   utom t ompro ssonsum
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                                                                                                                                                                                                                                                                                                                                                                                                                                                        Da        h          eb              i e.




(   p ou w not on u t ny syst m t r tr v o t or ot r ont nt rom t
     ) Y                  ill                c            d       c        a                   e           a ic         e               ie      al        f da a                           he          c            e         f                   he Se                 rv sice            .




(   q ou w not try to rm ot r s rs oor s or t
     ) Y                  ill                                  ha                      he        U         e        , D                     Da        h,              he Se            rv s n ny w y w tso v r
                                                                                                                                                                                               ice         i       a                  a           ha                   e    e .




    r ou w r port ny rrors u s un ut or z
( ) Y                 ill       e                     a           e                , b       g         ,        a           h           i    ed acce                  ss m t o o o s or ny r
                                                                                                                                                                                   e h         d       l       gie                    a           b each                   o our nt
                                                                                                                                                                                                                                                                               f                i         ellec      tu prop rty r ts t t you un ov r n your us o t
                                                                                                                                                                                                                                                                                                                              al                          e             igh                   ha                              c        e        i                            e           f    he



Se   rv s ice         .




(   s ou w not us our promot on or r t o syst m n u n y r
    ) Y                   ill                ab               e                                    i        al              c edi                    c    de                  e        , i      cl         di       g b               edee          m n mu t p oupons t on or y op n n mu t p
                                                                                                                                                                                                                                                           i       g                   l i      le c                              a                   ce                b                 e       i    g                l i       le acc            ounts to n ﬁt            be              e



f   rom oﬀ rs v   on y to ﬁrst t m us rs
                      e         a       ailable                        l                           i       e            e           .




    t ou w not tt mpt to un rt
( ) Y                 ill                    a        e                              de            ake a           ny o t or o nf        he f                 eg      i       g.




5. C          ontr tors n       ac                            a            d Me cha          r nts r n p n nt                   A e I                         de              e        de



You un rst n n r t t oor s prov s t no o y p t orm onn t n you w t n p n nt oo s rv prov rs n ot rs t t prov
                  de                a        d a          d ag ee                  ha        D                 Da           h                     ide           a     ech                  l   g               la f                   c             ec i                g                        i h i           de          e        de                  f         d       e        ice                        ide               a    d            he               ha                           ide



t pro u ts oﬀ r t rou t rv s r nts n n p n nt t r p rty ontr tors w o prov
    he            d        c                     e ed             h             gh      v ry s rv s ontr tors ou
                                                                                             he Se                  ice             (“Me cha                              ”), a         d i         de             e     de                   hi d-                a               c                ac                       h                            ide deli               e                e        ice          (“C                     ac                ”). Y



acknow         n r t t oor s o s not ts pr p r oo or oﬀ r v ry s rv s n s no r spons ty or ty or t ts or om ss ons o
                   ledge a                       d ag ee                       ha      D                   Da      h d              e                    i      elf           e        a e f               d                      e       deli         e                   e           ice          , a      d ha                             e                     ibili                     liabili                   f          he ac                                     i       i                  f



any r nt or ny ontr tor oor s s not t r t r o ny pro u ts oﬀ r y r nts nor s t n t
          Me cha                                     a            C             ac       v ry us n ss or ommon rr r
                                                                                               . D                 Da           h i                           he       e aile                  f a                       d            c             e ed b                         Me cha                            ,                i       i   i           he deli                e            b         i       e                  a c                               ca          ie .



D oor s prov s t no o y p t orm t t n t tr nsm ss on o or rs y s rs to r nts or p up or v ry y ontr tors oor s w
              Da          h                  ide              a    ech               l     g               la f                     facili a i                    g       he           a               i       i              f           de         b             U       e                    Me cha                            f               ick                           deli          e            b        C                  ac                . D              Da             h          ill



not ss ss or u r nt t su t ty
          a       e               ty or ty o ny ontr tor or r nt ou r t t oor s s not r spons or t
                                    g         a a                 ee       he              i abili          r nts oo
                                                                                                                   , legali                              abili                f a              C                   ac                         Me cha                        . Y                 ag ee              ha             D               Da              h i                     e                     ible f                    he Me cha                                  ’ f            d



pr p r t on or t s ty o t oo n o s not v r y r nts omp n w t pp
     e     a a i                             he               afe        ws or r u t ons oor s s no r spons ty or ty
                                                                               f     he f                  d, a         d d              e                      e if           Me cha                              ’ c                 lia        ce               i h a                   licable la                                     eg              la i              . D                   Da       h ha                           e                      ibili                       liabili



for ts or om ss ons y ny r nt or ontr tor
         ac                             i        i             b       a           Me cha                                   C                    ac             .




Y ou r t t t oo s t t you pur s w pr p r y t
          ag ee                 ha               he g  r nt you v s t t t t t to t oo s p ss s rom t
                                                                      d        ha                             r nt to you t
                                                                                                                   cha              e           ill be                e       a ed b                   he Me cha                                               ha           e          elec ed,                  ha               i le                     he g                  d            a        e        f                  he Me cha                                                      a



t     r nt s o t on n t t t ontr tor w
    he Me cha                            ’  r t y your nstru t ons to tr nsport t pro u ts to your s n t
                                             l        ca i             , a         d      ha             v ry o t on ou r
                                                                                                           he C                         ac                    ill be di ec ed b                                                   i               c i                                   a                          he                     d       c                                   de          ig       a ed deli                      e         l    ca i                    . Y              ag ee



t t n t r t ontr tor nor oor s o s t t to or qu r s ny own rs p nt r st n ny oo s t t you or r t rou t rv s
    ha        ei he                 he C                           ac                        D                 Da           h h              ld          i le                      ac              i e         a                          e       hi           i        e e                i        a        g               d        ha                                de            h                gh           he Se                 ice        .




6. U          sr  e         Acc               ount
Y ou m y r qu r to r st r or n ount to us p rts o t rv s ou must prov
               a          be        e                i ed                  egi  ur t urr nt n omp t n orm t on ur n t
                                                                                         e     f           a       acc                                          e         a             f      he Se                   ice            . Y                                               ide acc                    a e, c                         e           , a       d c                   le e i             f                a i               d        i    g      he



r str t on pro ss n t ot r t m s w n you us t rv s n to up t t n orm t on to p t ur t urr nt n omp t ou r t
    egi           a i                        ce               a       d a       all            he              i        e               he                             e       he Se                   ice         , a       d                      da e                he i            f               a i                       kee                 i       acc           a e, c                     e        , a         d c                     le e. Y                      a e           he



so ut or z us r o ny ount you r t t rou t rv s ou r so y n u y r spons or t v t s t t o ur un r your p sswor or
     le a          h            i   ed                    e       f a              acc                                  c ea e                       h              gh        he Se                    ice         . Y                a e           lel            a       d f             ll       e                        ible f               all ac i                  i ie              ha            cc                        de                          a                          d



acc ount ou r t t you s mon tor your ount to pr v nt us y m nors n you w
                      . Y               ag ee                 ha                  pt u r spons ty or ny un ut or z us o your
                                                                                         hall                       i                                acc                                   e       e                   e b                i            , a             d                        ill acce                      f   ll          e                     ibili             f           a                     a         h         i   ed               e       f



p sswor or your ount ou m y not ut or z ot rs to us your s r st tus n you m y not ss n or ot rw s tr ns r your s r ount to ny ot r
    a                 d                               acc                      . Y                 a                    a               h        i    e           he                           e                   U     e                a         , a            d                            a                a           ig                           he            i   e             a           fe                      U       e         acc                              a                  he



p rson or nt ty ou you susp t t t ny un ut or z p rty m y us n your p sswor or ount you w not y oor s mm t y oor s
    e                      e         i        . Sh                ld                               ec              ha       a                         a         h         i   ed           a                   a         be               i   g                            a                     d           acc                          ,                       ill            if           D            Da           h i               edia el                 . D                 Da           h



w not
    ill         n you m y
                   be liable a  or oss s m s          ty xp ns s n s n urr y oor s or t r p rty r s n rom som on s us n
                                                          d                     a         be liable f                           l               e     , da            age          , liabili               , e           e            e       , a    d fee                     i       c            ed b           D                  Da          h               a     hi d                  a        a i          i       g f                              e           e el            e          i     g



your ount r r ss o w t r you v not ﬁ us o su un ut or z us you prov ny n orm t on t t s untru n ur t not urr nt or
           acc                       ,       ega dle                           f         he he                              ha              e             i     ed                 f           ch               a        h            i   ed               e. If                                        ide a                 i       f               a i                ha           i                     e, i            acc             a e,                     c            e           ,



in omp t or oor s s r son
     c             le e,           roun s to susp t t t su n orm t on s untru n ur t not urr nt or n omp t oor s s t r t to
                                             D                Da           h ha            ea                  able g                                d                         ec              ha                  ch i       f                a i                 i                           e, i       acc                a e,                     c             e        ,            i       c              le e, D                        Da           h ha                he           igh



susp n or t rm n t your ount n r us ny n urr nt or utur us o t rv s or ny port on t r o ou r not to r t n ount or
          e       d                 e            i        a e                   acc                        a       d        ef               e a              a       d all c                  e                   f              e           e        f       he Se                       ice          (        a                            i               he e           f). Y                    ag ee                                 c ea e a                     acc



us t rv s you v n pr v ous y r mov y oor s or you v n pr v ous y nn rom us o t rv s
     e     he Se                    ice              if             ha         e bee                        e      i            l            e                ed b             D               Da          h,            if                   ha     e bee                                 e    i            l     ba                 ed f                              e        f        he Se                 ice           .




7. U       s r ont nt
               e           C                         e



(a) Us r ont nt oor s m y prov you w t nt r t v opportun t s t rou t rv s n u n y w y o x mp t
              e       C                 e            . D              Da        h          a         ty to post s r r t n s
                                                                                                                   ide                               i h i          e ac i             e                                  i ie                h            gh              he Se                    ice      , i         cl       di          g, b                  a            f e          a            le,       he abili                                            U        e           a i         g



an r v ws o t v y s r ont nt ou r pr s nt n w rr nt t t you r t own r o or ot rw s v t r t to prov
     d        e    ie               (c       llec i               el       , “U        e     C           s r ont nt t t
                                                                                                               e        ”). Y                        e        e     e          a       d           a       a             ha                       a e              he                      e            f,               he               i       e ha             e     he           igh                                   ide, all U                   e       C               e                ha



you su m t post n or ot rw s tr nsm t t rou t rv s ou r y r nt oor s p rp tu rr vo
                  b        i ,                       a     d/                  he       tr ns r
                                                                                             i     u y p roy ty r
                                                                                                   e           a                i           h             gh          he Se                ice         . Y               he eb                 g a                 D                   Da           h a          e           e        al, i               e         cable,                    a        fe able, f                      ll           aid,                 al          -f ee,



non x us v wor w u y su ns
          -e      cl            i   e,   r t n ns to us opy sp y pu s mo y r mov pu y p r orm tr ns t r t r v t v
                                                          ld       ide, f            ll                blice                eable                    igh          a       d lice               e                    e, c                  , di         la           ,              bli       h,              dif         ,    e                   e,               blicl                  e f               ,           a         la e, c ea e de i                                  a i          e
wor s str ut n or ot rw s us t s r ont nt n onn t on w t oor s s us n ss n n orms now nown or r t r nv nt
             k    , di             ib           e a              d/                 he                   i       e         e    n s sshe U                 e     C                e            i        c               ec i                            i h D                         Da              h’          b               i       e        a        d i         all f                                               k                            he eaf e                             i           E
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        i h         to n rsor s pprov y you rou r urt
                          Case     i       ca i

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                                                                                                                    49        al b                             . Y           f             he          g a              D                   Da              h a lice                          e                           e                             e       a        e a              d/                           he          U         e                    le i            f                   a i              , i   cl        di          g



w t out m t t on your r t n s story to ttr ut s r ont nt to you n onn t on w t su s s w t out not ﬁ t on or pprov y you ou r t t
                          H             e (/c                                      e         /       /)                                                    O de                      i h D                          Da            h                                                                   Deli                 e              S                                                                                  P                    la         T           ic

        i h               li       i a i                                      a i           g        hi                       ,           a               ib        e U          e         C                e                                   i           c                ec i                             i h                  ch U             e       ,       i h                                    i       ca i                          a                    al b                             . Y               ag ee                 ha



t s ns n u s t r t or ot r s rs to ss n us your s r ont nt n on un t on w t p rt p t on n t rv s n s p rm tt t rou
    hi        lice             e i         cl        de               he          igh            f                    he           U          e                 acce                   a        d               e                   U           e           C                e            i           c               j           c i                   i h         a        ici           a i                     i         he Se                   ice             a    d a                      e           i        ed        h                gh



t un t on ty o t rv s n t nt r st o r ty t
    he f              c i              ali                   ns r nt to oor s r n s surv v t rm n t on o t rv s or your ount
                                                             f    he Se                     ice          . I              he i                e e                   f cla i                ,    he lice                       e g a                         ed                D                       Da          h he ei                          hall                      i       e         e               i       a i                   f     he Se                  ice                                          acc                     .



D oor s r s rv s t r t n ts so s r t on to r mov or s
                  Da          h    e       e         e            he ss to ny s r ont nt rom t rv s susp n or t rm n t your ount t ny
                                                                              igh            i       i                    le di               c e i                              e                  e            di       able acce                                           a                   U       e           C                   e         f                   he Se                          ice         ,                 e        d               e           i       a e                              acc                         a    a



t m or pursu ny ot r r m y or r v
    i        e,                            e a  un r qu ty or w you post ny s r ont nt t t v o t s t s r m nt or w ons r to
                                                                      he            e            ed                        elief a                    ailable                        de             e           i                 la            if                                        a               U           e           C            e                ha           i       la e                      hi       Ag ee                        e                    e c                          ide                   be



o t on or ny r son ou r t t oor s m y mon tor n or t your s r ont nt ut o s not ssum t o t on or ny r son n
     bjec i                    able f                    a                ea                 . Y                 ag ee                    ha              D             Da           h             a                    i               a       d/                  dele e                                        U           e       C                e         (b              d         e                           a                     e       he          bliga i                          ) f              a             ea                 i



D oor s s so s r t on oor s m y so ss r pr s rv n s os ny n orm t on s oor s r son y v s s n ss ry to s t s y
                  Da          h’            le di                c e i                  . D                  Da            h              a       al             acce                  ,       ead,                 e     e             e, a                d di             cl           e a                     i       f               a i               a     D                  Da                h       ea                    abl           belie              e       i               ece              a                  (i)          a i       f



a ny pp       a w r u t onlicable lapro ss or ov rnm nt r qu st n or t s r m nt n u n nv st t on o pot nt v o t ons r o
                                                             ,   eg           la i               , legal                              ce              ,         g           e                  e        al          e           e        , (ii) e                   f         ce          hi              Ag ee                           e        , i      cl       di          g i                   e       iga i                         f               e         ial            i       la i                  he e                 f, (iii)



   t t pr v nt or ot rw s r ss r u s ur ty or t n ssu s v r spon to s r support r qu sts or v prot t t r ts prop rty or s ty o
de ec ,                        e       e        ,                    he             i       e add e                               f a         d,          ec            i    ,                 ech              ical i                  e       , (i            )   e                         d               U            e                                    e           e              ,               (       )                 ec           he          igh             ,                        e                         afe                f



D oor s ts us rs n t pu
                  Da          h, i                   e           a        d       he                 blic.




              ou r t t ny su m ss on o ny s su st ons n or propos s to oor s t rou ts su st on
(b) Feedback. Y                                              ag ee                 ha            a      w orum or s m r   b           i       i                f a           idea               ,           gge               i             , a             d/                                            al                      D            Da           h       h                gh i                              gge               i        , feedback,                                     iki, f                                   i       ila



p s     age        s t your own r s n t t oor s s no o t ons n u n w t out m t t on o t ons o onﬁ nt ty w t r sp t to su
                      (“Feedback”) i                                  a                                               i   k a             d        ha           D                Da         h ha                              bliga i                                   (i    cl          di          g                   i h                 li        i a i            ,       bliga i                                         f c                 de           iali            )           i h              e        ec                         ch



Feedback. You r pr s nt n w rr nt t t you v r ts n ss ry to su m t t
                                                    e            e    e     n you r y r nt to oor s p rp tu rr vo
                                                                                   a        d         a           a                   ha                       ha           e all          igh                      ece             a                               b             i       he Feedback a                                                 d               he eb                          g a                           D               Da          h a              e               e         al, i            e        cable,



tr ns r a    u y p roy ty r non x us v wor w u y su ns
                  fe able, f                    ll               aid,r t n ns to us opy sp y pu s mo y r mov pu y
                                                                                    al           -f ee,                                   -e       cl           i    e,                    ld       ide, f              ll               blice                          eable                     igh             a           d lice                   e                 e, c                          , di                 la   ,            bli        h,               dif             ,       e                e,            blicl



p r orm tr ns t r t r v t v wor s str ut n or ot rw s us su
        e f               ,        a        la e, c ea e de i                                        a i             e                    k    , di             ib           e a           d/                       he              i    e                  e            ch Feedback.




     t n s n v ws o t xt nt t t you r s to r t n post r v ws o r nts or ot r us n ss s t n s n v ws su t n s
(c) Ra i                  g        a       d Re                  ie           . T            he e                     e               ha                        a e a             ked                       a e a                 d                          e          ie                    f Me cha                                                      he          b            i     e               e           (“Ra i                g    ” a        d “Re                    ie               ”),             ch Ra i                 g



an v ws r ons r s r ont nt n r ov rn y t s r m nt t n s n v ws r not n ors y oor s n o not r pr s nt t
         d Re             ie           a e c                          ide ed U                       e           C                    e           a       d a e g                      e            ed b                hi          Ag ee                           e         . Ra i                      g           a           d Re             ie           a e                       e            d               ed b                  D           Da            h a                d d                            e        e        e             he



v ws o oor s or ts ﬃ t s oor s s
     ie               f D                v no ty or t n s n v ws or or ny ms or onom oss r su t n rom su t n s n
                                           Da            h            i       a             lia e            . D                      Da          h        hall ha                e                 liabili                 f           Ra i                 g          a     d Re                    ie                              f       a             clai                 f             ec                            ic l                    e           l i      g f                                  ch Ra i                   g     a         d



Rev ws      us w str v to m nt n
             ie           . Beca      v o nt r ty w t r sp t to t n s n v ws post or ot rw s m v
                                                     e           e            i    e                   t rou t rv s
                                                                                                             ai           ai          a high le                      el          f i           eg i                     i h         e               ec                       Ra i                 g       a           d Re                ie                          ed                               he               i    e           ade a               ailable                      h                 gh          he Se                  ice           ,



you r t t you w s ny t n or v w on ﬁrst n xp r n w t t
              ag ee                ha : (i)                            r nt or us n ss you w not prov
                                                                              ill ba             e a    t n or v w or Ra i                g               Re         ie                                 -ha             d e                 e ie                 ce           i h                 he Me cha                                              b          i    e               ; (ii)                              ill                              ide a Ra i                               g           Re            ie        f



any r nt or us n ss or w you v n own rs p nt r st mp oym nt r t ons p or ot r ﬃ t on or or ny o t t omp ny s omp t tors
              Me cha                                 b            i       e         f                hich                                 ha          e a                        e         hi           i       e e               , e                   l                e                ela i                            hi                           he        a         lia i                                  f         a                f      ha          c                    a            ’      c                  e i               ; (iii)



you w not su m t t n or v w n x n or p ym nt r oo t ms or ot r n ﬁts rom r nt or us n ss n v your r v w w
                  ill                      b             i       a Ra i             g                Re              ie           i       e       cha               ge f                   a                e        , f ee f                       d i e                     ,                       he                  be          e            f                a Me cha                                                b        i       e       ; a         d (i         )                            e       ie                ill



comp y w t t t rms o t s r m nt w t rm n n our so s r t on t t ny t n or v w ou m n s t nt r ty o t t n s n
                  l            i h         he        e                        f    hi            Ag ee                        e           . If             e de e                      i       e, i                               le di             c e i                     ,       ha              a                   Ra i            g             Re        ie             c             ld di                    i    i     h         he i            eg i                         f       he Ra i                    g       a     d



Rev ws or ot rw s v o t s t s r m nt w m y r mov su s r ont nt w t out not
             ie                            he                i   e        i       la e               hi           Ag ee                           e        ,        e        a             e                 e            ch U                  e           C                e                    i h                                     ice.




8. C              ommun t ons w t oor s              ica i                                       i h D                                        Da                h



B y r t n oor s ount you tron y r to pt n r v ommun t ons rom oor s ontr tors or t r p rt s prov n
             c ea i            g a D                         Da           h acc                              ,                elec                             icall         ag ee                          acce                    a       d           ecei                 e c                                          ica i                    f                D                Da                h, C                        ac                ,               hi d                 a            ie                    idi           g



s rv s to oor s n u n v m t xt m ss
    e         ice                  D         s n pus not ﬁ t ons to t
                                                    Da            h i u r t p on num r you prov to oor s ou
                                                                              cl        di       g           ia e                 ail,         e                 e          age, call                       , a      d                  h                    i      ca i                                      he cell                         la        ele         h            e                             be                                    ided                     D                    Da              h. Y



un rst n n r t t you m y r v ommun t ons n r t y utom t t p on n syst ms n or w w v r pr r or
         de               a       d a        d ag ee                          ha                                 a         ecei                   e c                             ica i                         ge          e a ed b                                a                     a ic                ele                 h           e diali             g                  e                     a       d/                    hich                ill deli                 e                e ec                  ded



m ss s s nt y or on
        e         age o oor s ts ﬃ t omp n s n or ontr tor n u n ut not m t to ommun t ons on rn n or rs p
                                   e            b                             behalf                     f D                      Da          h, i              a       lia ed c                                 a      ie         a        d/                   C                    ac                  , i             cl      di          g b                        li          i ed                          c                             ica i                    c               ce               i   g             de                laced



t rou your ount on t rv s ss n t r t s m y pp y you o not w s to r v promot on m s t xt m ss s or ot r
    h             gh                       acc                                      he Se                        ice              . Me                age a                 d da a                  a e                   a       a                 l   . If                      d                                   i    h                  ecei           e                             i               al e              ail         ,    e                  e        age                 ,                he



c ommun t ons you m y n your not ﬁ t on pr r n s y ss n t tt n s n your ount ou m y so opt out o r v n t xt m ss s
                              ica i                  ,                        a         cha              ge                                       i       ca i                       efe e                  ce          b         acce                      i       g        he Se                        i       g           i                    acc                       . Y                           a           al                        -                f      ecei                 i        g       e                 e         age



from oor s y r p y n
                  D      rom t mo Da      v r v n t m ss s
                                           h b                   e        l   i    g “STOP” f                                                 he                 bile de                   ice              ecei          i       g      he                     e            age              .




9. E-SIGN Di                                             s osur  cl                         e



By r t n oor s ount you so ons nt to t us o n tron r or to o um nt your r m nt ou m y w t r w your ons nt to t us
             c ea i            g a D                         Da           h acc                              ,                al               c                e                    he                 e           f a           elec                           ic          ec           d                   d           c               e                         ag ee                          e           . Y                     a             i hd a                                           c             e                      he            e



ot   f  tron r or y m n oor s t pr v y oor s om m to pr v y oor s om w t vo
             he elec                         ic          ec           d b             tron ons nt n t su t
                                                                                        e        aili             g D                         Da          h a                i    ac           @d                    da           h.c                       (       ail               :           i   ac              @d                      da        h.c              )           i h “Re                                ke Elec                           ic C                        e            ” i          he                bjec



n
li       e.




To v w n r t n opy o t s s osur you w n
             ie           a       d       v su s omput r or mo p on w t w rows r n nt rn t ss n
                                       e ai                  a c                        f    hi          di           cl                  e,                         ill         eed (i) a de                           ice (                   ch a                    a c                                   e                           bile              h           e)               i h a                     eb b                          e       a    d I             e               e        acce                  a       d (ii)



  t r pr nt r or stor sp on su v or r p p r opy or to up t our r or s o your ont t n orm t on m oor s t
ei he                 a        i       e                              age                   ace                               ch de                       ice. F                 a f ee                 a        e      c               ,                                    da e                                 ec               d           f                  c              ac                i       f                a i              , e         ail D                    Da               h a



pr v y oor s om m to pr v y oor s om w t ont t n orm t on n t
         i   ac       @d                   da            h.c         r ss or v ry
                                                                              (         ail          :            i       ac          @d                   da           h.c                )           i h c                    ac          i       f                   a i               a           d        he add e                                 f        deli            e             .
10. I           nt          ellec               tu ropCase
                                                       rty 4:19-cv-06098-JST
                                                            wn rs p
                                                             al P                         e                  O                       e         hi

                                                                                                                                                                                                                 Document 17-1 Filed 11/15/19 Page 33 of 49
                                                                                                                                                                                                                                                                                                                                                                                                                                                      E   n s  gli     h (US)




D oor s omon onsum
             n ts rsnsors
                DaH    s w r pp r r ws t own
                   h al e e
                          (/c
                            (a                oor rs t t t n nt r st vn ryu nupportr t nt tu opu
                                                                  d i              e
                                                                                 lice       /prop rrtyop
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                                                                                                        /) ,         he e a                    O de
                                                                                                                                               licable)                         i h D
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                                                                                                                                                                                                             all h ,                        i le a            d i              e Deli
                                                                                                                                                                                                                                                                                 e , i             e
                                                                                                                                                                                                                                                                                                   cl          S
                                                                                                                                                                                                                                                                                                               di      g all           ela ed i                   ellec                P
                                                                                                                                                                                                                                                                                                                                                                                       al                la
                                                                                                                                                                                                                                                                                                                                                                                                          e    T         ic
                                                                                                                                                                                                                                                                                                                                                                                                                       igh             , i        a       d            he



S o tw r n t rv s s r m nt s not s n o s not onv y to you ny r ts o own rs p n or r t to t o tw r or t rv s or ny
        f       a e a                   d       he Se                  ice           . Thi              Ag ee                    e         i                   a           ale a            d d              e                      c             e                             a              igh                 f               e        hi      i                 ela ed                        he S          f        a e                    he Se                ice     ,            a



int tu prop rty r ts own y oor s oor s n m oor s o o n t pro u t n m s sso t w t t o tw r n rv s r
        ellec                   al                      e              igh                              ed b             D               Da            h. D                     Da      h               a        e, D                       Da          h l       g     , a          d     he                   d      c           a        e       a          cia ed                      i h      he S          f        a e a              d Se                 ice       a e



tr m r s o oor s or t r p rt s n no r t or ns s r nt to us t m ou r t t you w not r mov t r or o s ur ny opyr t
    ade                 a k                 f D                  Da          h             hi d                  a       ie      , a      d                    igh                  lice                e i           g a                   ed                    e     he             . Y             ag ee                 ha                         ill                   e                e, al e                    b       c          e a               c             igh ,



tr m r s rv m r or ot r propr t ry r ts not s n orpor t n or omp ny n t o tw r or t rv s
    ade                 a k,            e               ice           a k                       he                           ie a                  igh                           ice         i          c                     a ed i                        acc                        a       i       g       he S            f       a e                    he Se                   ice      .




11. Pa               ym nt rms          e                Te



     r s ou un rst n t t t pr s or m nu t ms sp y t rou t rv s m y ﬀ r rom t pr s oﬀ r or pu s y r nts or
(a) P ice                       . Y                          de          a       d        ha : (a)                   he              ice           f                   e         i e                    di        la           ed           h               gh         he Se                ice                    a     di        e       f              he              ice                   e ed                      bli         hed b                Me cha                           f



t s m m nu t ms n or rom pr s v
    he          a        e              et t r p rty w s t s n t t su pr s m y not t ow st pr s t w t m nu t ms r so
                                                        i e            a       d/               f                        ice         a     ailable a                            hi d-               a                     eb            i e       a      d        ha                 ch            ice                 a                   be       he l                  e                ice      a          hich               he          e               i e            a e            ld;



(b) D oor s s no o t on to t m z ts osts proﬁts or m r ns w n pu s n su pr s n
                            Da          h ha                             bliga i    oor s r s rv s t r t to n su pr s
                                                                                                                 i e         i    e i          c                   ,                                         a gi                        he                   bli       hi         g           ch              ice           ; a   d (c) D                     Da             h       e    e       e      he          igh                    cha           ge            ch            ice



a t ny t m t ts s r t on ou r
        a            i           or tr ns t on t x s on t rv s prov un r t s r m nt ot r t n t x s s on oor s s
                                e, a            i           di    c e i                  . Y              a e liable f                             all         a            ac i                        a    e                          he Se               ice                        ided                    de             hi       Ag ee                  e           (           he        ha        a       e       ba          ed                  D            Da     h’



in om ym nt w pro ss y oor s us n t pr rr p ym nt m t o s n t n your ount
    c               e). Pa                          e              ill be                   ce               ed b                D             Da           h,              i    g      he                   efe              ed            a            e                 e h             d de            ig       a ed i                              acc                       .




(b) N o un s r s p y you or omp t n v r or rs r ﬁn n non r un
                     Ref                    d       . Cha ge                         aid b                               f        c                    le ed a                   d deli                 e ed                    de              a e                al a            d               - ef                dable. D                oor s    Da        h ha            s no o           bliga i    t on to prov r un s or              ide          ef        d



    r ts ut m y r nt t m n
c edi                , b   s n oor s s so s r t on
                                              a         g a                  he           , i           each ca                  e i       D                   Da           h’              le di            c e i                      .




(c) Promot on ﬀ rs n r ts oor s t ts so s r t on m y m promot on oﬀ rs w t ﬀ r nt tur s n ﬀ r nt r t s to ny s r s
                                    i         al O               e         a     d C edi                         . D                 Da        h, a            i                le di            c e i                    ,             a           ake                                i       al               e              i h di            e e              fea                 e        a   d di        e e                    a e                 a          U       e . The                e



promot on oﬀ rs r su t to t t rms o t s r m nt n m y v on y or rt n s rs s n t n t oﬀ r ou r t t promot on
                        i           al              e            a e             bjec                        he           e                    f       hi      Ag ee                        e            a       d             a            be          alid               l    f          ce          ai          U     e         a       i    dica ed i                             he           e . Y           ag ee                  ha                             i         al



oﬀ rs m y on y us y t nt n u n or t nt n purpos n n w u m nn r m y not up t so or tr ns rr n ny
        e       : (i)               a                   l     be               ed b                     he i         e        ded a                    die         ce, f                    he i              e           ded                                 e, a             d i       a la          f       l       a           e ; (ii)             a                     be d                 lica ed,                ld                     a        fe        ed i          a



m nn r or m v
    a           e ,      to t n r pu un ss xpr ss y p rm tt y oor s
                                            ade a                ailable     r su t to t sp ﬁ t rms t t oor s st s s or
                                                                                                    he ge                e al                blic,                     le           e               e        l            e             i     ed b                D             Da         h; (iii) a e                        bjec                      he               eci          c       e              ha       D               Da             h e          abli      he         f



su promot on oﬀ r v nnot r m or s or s qu v nt n v r not v or us t r t t n t n t oﬀ r or n oor s s
        ch                                i             al            e ; (i         ) ca                        be          edee                      ed f                ca       h               ca       h e                    i    ale            ; a       d (          ) a e                       alid f                      e af e                 he da e i                       dica ed i                   he                 e             i       D          Da        h’



Te rms n on t ons or romot on ﬀ rs n r ts oor s r s rv s t r t to w t o or u t r ts or n ﬁts o t n t rou
                    a       d C                     di i                 f        P                          i           al O          e           a       d C edi                      . D                  Da               h         e   e           e         he           igh                     i hh            ld              ded          c     c edi                            be       e              b ai               ed      h                gh a



promot on n t v nt t t oor s t rm n s or v s t t t r mpt on o t promot on or r pt o t r t or n ﬁt w s n rror r u u nt
                        i           i           he e             e             ha         D                 Da           h de e                        i   e                belie                e           ha               he            ede                    i               f     he                              i                     ecei               f       he c edi                        be          e                a      i       e             , f a     d        le           ,



       or n v o t on o t pp
illegal,                        promot on t rms or t s r m nt oor s r s rv s t r t to mo y or n n oﬀ r t ny t m oor s s
                                i         i     la i                   f       he a                     licable                                    i               e                         hi             Ag ee                       e         . D              Da           h      e       e       e           he          igh                        dif                     ca       cel a                  e       a       a               i       e. D            Da           h’



Te rms n on t ons or romot on ﬀ rs n r ts t urr nt v rs on o w s v
                    a       d C                     di i                 f       t ttp r s rt p ttp r s rt p n w s
                                                                                  P                          i           al O          e           a       d C edi                      ( he c                            e                 e       i             f        hich i              a       ailable a                   h            ://d d.           h/              b7       2/ (h               ://d d.                h/          b7       2/) a          d        hich i



in orpor t n t s r m nt y r r n pp y to promot on oﬀ rs oor s m y so oﬀ r r tu tous r ts w
    c                       a ed i                       hi       Ag ee                   e            n us or t rv s
                                                                                                         b           efe e               ce) a                     l             all                              i            al               e       . D                Da          h        a          al                  e       g a          i               c edi                  ,       hich ca                be               ed f                 he Se              ice          .



A ny r t ssu y oor s s v or mont s rom t t o ssu x pt to t xt nt pro t un r pp
            c edi                   i           ed b                 D            Da            h iw n m y not r m or
                                                                                                                 alid f               6                        h        f               he da e                               f i            e e         ce                         he e               e                     hibi ed                    de        a               licable la                  a       d           a                   be        edee           ed f



ca s or s qu v nt pon xp r t on r ts w r mov rom your ount xp r r ts r no on r r m
            h           ca          h e                  i   ale             . U                    e n nnot us tow r s
                                                                                                                 i a i               , c edi                           ill be           e                   ed f                                        acc                     . E            i ed c edi                          a e              l         ge              edee                 able a             d ca                        be               ed              a d



a ny or r           de .




(d) Fee        s or rv s oor s m y n t
                            f           s or our rv s s w
                                        Se              ice       . D                Da             h        a           cha          ge           he fee                   f                       Se            ice               a            e dee            m n ss ry or ppropr t or our us n ss n u n ut not m t to
                                                                                                                                                                                                                                                                               ece             a                   a                       ia e f                         b           i    e       , i    cl      di       g b                            li       i ed



Deli        v ry s rv
                e           s m r r s n ur
                            Fee                 s
                                              , Se               ice Fee                 , S            all O de                  Fee              , a         d S              ge Fee                   .




       rr ro r m oor s s rr ro r m rms n on t ons r v
(e) Refe                        al P                g a                t ttps www oor s om r rr t rms
                                                                     . D             Da             h’       Refe                al P              g a                  Te                  a           d C               di i                    a e a                ailable a                h                  ://                 .d           da        h.c                     / efe         al- e                  /



(https www oor s om r rr t rms
                    ://                   .drr ro r m n r t  da    rr ro r m oor s oﬀ rs ts r st r s rs n oo st n n t
                                                                       h.c                / efe                  al- e                   /) (“Refe                          al P                g a              ”). U                  de          he Refe                      al P              g a             , D              Da          h         e           i           egi           e ed U             e          i       g           d        a       di     g    he



opportun ty to rn r tu tous oor s r ts s promot on r w r s y nv t n t r
                                i                   ea            g a         r n s to r st r s n w oor s s rs n p t r
                                                                                 i                      D            Da          h c edi                       a                                i           al    e            a d              b       i         i i      g       hei         eligible f ie                           d            egi            e          a           e        D          Da          h U           e             a    d         lace      hei



in t or r t rou t rv y us n un qu r rr
    i ial                de               h         n rson n or
                                                             gh       he Se u ﬁ       rr s ﬁn n t
                                                                                            ice b        rr ro r m n r t i       g a               i        e          efe          al ID li                 k (“Pe                              al Li            k”). F                 each Q                    ali        ed Refe                   al (a             de              ed i           he Refe                      al P            g a            ) ge      e a ed



t rou
    h      s r s rson n t s r m y r v r tu tous r t s sp ﬁ on oor s s rr ro r m p ou r t t w m y n t
                gh a U                      e       ’       Pe                 al Li            k,       he U                e           a             ecei            e a g a                      i                 c edi                 a               eci         ed                 D               Da          h’      Refe              al P             g a                     age. Y               ag ee                  ha              e         a      cha         ge           he



t rms n on t ons o t
    e               a       rr ro r m or t rm n t t
                            d c                 di i  rr ro r m t ny t m   f     he Refe                         al P            g a                           e            i    a e             he Refe                          al P              g a                a       a           i       e.




(f) Da          s ss u s r pt ons
                    hPa                   S         b        c i         i           .




Ge nr       e al - Da                    s ss s n utom t y r n w n su s r pt on r qu r n r urr n p ym nts s ss su s r pt on r nts you ss to r u
                                              hPa                 i    a         a                       a icall                 e       e        s on
                                                                                                                                                   i       g           b        c i         i                e            i i           g     ec              i    g           a           e           . A Da                 hPa                   b     c i             i           g a                         acce                                ed       ced fee



or rs p de                  laced          t rou t rv s or
                                                    h            gh  r st ur nts w t m n mum su tot s st t w n you s n up x u n t x s n t ps
                                                                               he Se                    ice          f        eligible          u   s      e           a        a                   i h a                 i       i                          b             al a                a ed                he                          ig                 (e      cl          di       g    a    e     a       d          i       ) (“Red                  ced Fee              ”).



Redu            ced Fee                   s n ot r s ss n ﬁts m y r m on y t
                                                    a        d        he         Da         hPar st ur nts s n t t rou t rv s oor s r s rv s t r t to
                                                                                                                  be             e                     a       be           edee                    ed                l       a         eligible                  e        a         a         , a         i       dica ed                  h            gh        he Se                   ice         . D            Da          h       e       e        e         he      igh



chan w          ge              he he   t r r st ur nt s a    or s ss t ny t m w t or w t out not
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av      ty
        ailabili                    , a n t x s m y pp y to t ost o t t ms you or r ou m y prov n opt on r tu ty p n n on t on t ons s st t w n you s n
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up rv   , Se                ice Fee         s m y pp y        a       a          l    .
Das      hPa      ss s oﬀ r or mont
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                                                                                                    hl                 ea l             fee          a       able a                        he               a               f    he             ele             a                   e i          d. B                    ig      i       g               f           Da           hPa                     a      d                idi         g D                       Da       h
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your        Da    s ss su s r pt on you ut or z oor s n ts s rv prov rs to stor your p ym nt m t o or t purpos o x ut n utur
                         hPa                            b       c i           i            ; (b)                   a           h        i       e D              Da           h a               d i             e               ice                         ide                                          e                       a               e                   e h          d f                      he                             e     f e         ec               i    g f                    e



Das      hPa      ss uto r n w tr ns t ons
                             a                 - e          e        al            a           ac i                 ; (c) UNLESS YOU CANCEL, BY DEFAULT (AND WITH PRIOR NOTICE TO THE EXTENT REQUIRED BY APPLICABLE



LAW), YOUR DASHPASS SUBSCRIPTION WILL AUTOMATICALLY RENEW AT THE END OF THE THEN-CURRENT SUBSCRIPTION PERIOD, a                    n                                                                                                                                                                                                                                                                                                                                                                     d (d) AT



THE TIME OF RENEWAL, DOORDASH WILL AUTOMATICALLY CHARGE THE THEN-CURRENT DASHPASS FEE AND ANY APPLICABLE TAXES TO AN



                                                     your p ym nt t s n your r prov r m y prov us w t up t r
ELIGIBLE PAYMENT METHOD THAT WE HAVE ON FILE FOR YOU. If                                                                                                                                                                                                            a            e           de ail                      cha             ge,                             ca d                             ide                a                  ide                         i h                  da ed ca d



  t s m y us t s n w t s n or r to p pr v nt ny nt rrupt on to your s ss su s r pt on you wou
de ail          . We                      a                 e       he        e            e  to us ﬀ r nt p ym nt
                                                                                                     de ail                i            de               hel                      e        e            a             i         e                       i                                        Da              hPa                         b       c i             i        . If                                   ld like                        e a di                   e e                     a           e



m t o or t r s n n p ym nt m t o p s up t your n n orm t on
     e h        d                if       he e i                a cha                  ge i                   a         e                   e h          d,          lea              e             da e                                billi           g i             f            a i                  .




  r or romot on u s r pt ons rom t m to t m oor s oﬀ rs som ustom rs tr or ot r promot on su s r pt ons to s ss u tr or
T ial             P                            i        al S             b        c i            i            - F                       i       e            i        e, D                      Da              h               e                           e c                           e                      ial                  he                                      i           al               b     c i          i                     Da              hPa              . S         ch          ial



promot on su s r pt ons r su t to t s rms n t oor s rms o romot ons x pt s ot rw s st t n t promot on oﬀ r n your
                     i           al            b        c i          i                 a e                bjec                       he         e Te                      a           d    he D                           Da            h Te                                f P                              i               e   ce                  a               he               i   e               a ed i                 he                                 i        al              e . Whe



 r tr p r o s xp r your su s r pt on w utom t y onv rt nto p
f ee            ial          e i           d ha              e     s ss su s r pt on n oor s w you t pp
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ca  n     s ss or t tr p r o s xp r oor s w not r you or t s ss su s r pt on you pur s
        cel Da                   hPa                    bef              e         he            ial       s ss su s r pt on w t
                                                                                                              e i      d ha                 e       i ed, D                            Da           h           ill                     cha ge                                   f           he Da                       hPa                         b       c i             i            . If                           cha              e a Da                hPa                          b       c i         i               i h



a  promot on o         t m your s ss su s r pt on r n ws you w
                         i            al c             de, each r t u n mount n y on tr or promot on su s r pt on s
                                                                                       i       e                  Da               hPa                   b       c i              i             e       e               ,                       ill be cha ged                                           he f            ll billi            g a                              . O             l                 e      ial                                      i           al           b       c i         i           i



a v      p r ous o your s ss su s r pt on s v r t rm n t or ny r son you s not
     ailable                  e           h             eh           ld. If              or r tr on ny su s qu nt s ss
                                                                                                         Da       hPa                        b      c i          i            i       e       e         e               i       a ed f                      a                   ea                   ,                   hall                        be eligible f                                        a f ee             ial                a                       b   e            e           Da          hPa



su s r pt on
     b      c i          i            .




Ca      n
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         cella i                           - Y   ou n n your s ss su s r pt on t ny t m t rou t pp t on or on oor s om nstru t ons on ow to n r
                                                                ca           ca            cel                     Da              hPa                   b       c i              i             a       a               i       e           h               gh              he A                     lica i                                      d                   da          h.c                      . I                c i                        h                        ca          cel a e



av        r
     ailable he e (h                            ttps p oor s om onsum rs s rt
                                                                ://hel              ow o n my s p ss su s r pt on ou must n t st on
                                                                                       .d                da       h.c                   /c    y or               e        /           /a        icle/H                          -d          -I-ca                    cel-                    -Da                 h       a           -       b           c i             i        ). Y                                   ca        cel a            lea                          e (1) da                 bef                e



t n xt s
 he         e            -   ched              u su s r pt on r n w t to vo n r or t n xt su s r pt on p r o
                                                       led              b      c i              i             e    r n w t s nu ry you must n y
                                                                                                                    e              al da e                a           id bei                    g cha ged f                                         he              e                    b           c i             i               e i         d (e.g., if                      e       e           al da e i                   Ja            a           10,                                       ca         cel b



      pm
11:59:59                             PT        on nu ry     Ja           a             9).




Ifyou p rt p t n r tr or ot r promot on su s r pt on p r o or s ss you m y n w t n t ﬁrst
                  a          ici          a ed i                    a f ee                  ial                    he                                i           al           b           c i           i                   e i         d f                 Da              hPa              ,                           a       ca          cel              i hi                he                            48 h     ours o your p     f                            aid Da           s sshPa



su s r pt on n r v u r un o your s ss
     b      c i          i            a         s pp
                                                   d    ecei             e a f              ll       ef           d            f                Da       hPa                  fee (a                    a           licable).




For mont y su s r rs you n your s ss su s r pt on w t n t ﬁrst ours n v not p
                         hl                    b        c ibe                 , if   s ss    or r ur n t t p r o
                                                                                                     ca       cel                           Da      hPa                           b        c i          i                   i hi                he                          48 h                                 a       d ha            e                       laced a Da                                hPa               -eligible                      de              d        i       g       ha           e i        d,



Door s m y r un your s ss n ts so s r t on or nnu su s r rs you n your s ss su s r pt on w t n t rty
            Da           h            a                ef           d                      Da            ys o
                                                                                                         hPa            fee i               i            le di            c e i                     . F             a                   al              b           c ibe                , if                        ca          cel                         Da              hPa                          b      c i         i                i hi              hi               (30) da                             f



p n your ﬁrst s ss
    laci        g         or r oor s m y r un your s ss nnu
                                                       Da           n ts so s r t on
                                                                    hPa                -eligible                       de , D                       Da           h        a                ef               d                       Da          hPa                         a            al fee i                        i               le di               c e i                .




If   you n your s ss su s r pt on t ny ot r t m you w not r
                ca           cel                        Da          hPa                              b    c i          i            a       a             he              i           e,                        ill                         ecei            v r un ut you n ont nu to n oy t
                                                                                                                                                                                                                                                                e a             ef           d, b                                 ca             c               i           e            e           j          he Red                u  ced Fee                       s n ot r s ss
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            a     d              he      Da              hPa



be    n ﬁts t rou t n o your t n urr nt su s r pt on p r o
         e                   h             gh           he e                 d         f                      he       -c               e                b       c i              i                 e i         d.




U p ts n n s
        da e             a   s ss pr s n tur s m y n n t utur oor s n s t mont y or nnu
                                 d Cha                      ge           - The Da                        hPa r or s ss              ice         a    d fea                        e               a         cha              ge i                   he f                         e. If D                             Da          h cha                ge                 he                           hl               a               al fee cha ged f                                          a Da            hPa



su s r pt on oor s w not y you n prov you w t t opportun ty to n your su s r pt on or s ss s r n w or not r su s r pt on
     b      c i          i            , D                   Da          h          ill               if                    a        d               ide                               i h           he                                          i                   cha              ge                                      b    c i            i            bef                 e Da                    hPa            i        e       e     ed f                    a             he                 b       c i         i



t rm our ont nu us o t rv s t r t
 e          . Y                  c            n    i  om s ﬀ t v w onst tut your pt n o t
                                                            ed               e         f          n you o not w s to ont nu
                                                                                               he Se                ice             af e            he cha                    ge bec                                e       e           ec i            e           ill c                        i               e                   acce                    a       ce           f       he fee cha                             ge. If                     d                            i       h         c             i       e



su s r n w t t n w s you m y n your s ss su s r pt on w t n t sp ﬁ not p r o ny s ss su s r pt ons w su t to
     b      c ibi            g            i h           he           e             fee          ,                   a          ca           cel                   Da              hPa                           b       c i             i                   i hi                 he                  eci             ed                  ice             e i             d. A                 Da                hPa                   b       c i           i                    ill be                  bjec



t t rms n on t ons n ﬀ t t t t m you s n up or your su s r pt on r n ws oor s m y so m su
 he         e                a        d c               di i                       i       e     n s w t r sp t to urr nt
                                                                                                     ec       a        he           i       e                    ig                                                         b       c i             i               e           e        . D                      Da          h          a           al                      ake                  ch cha                 ge                i h          e           ec                   c           e



Da s ss su s r pt ons n t t s oor s w prov you w t not v m o t
         hPa                          b        c i          i                  n s n w n t os n s w t ﬀ t you s r
                                                                             . I           ha            ca    e, D                     Da       h        ill                         ide                           i h                     ice             ia e                ail          f           he cha                  ge          a           d           he               h               e cha              ge               ill   ake e                    ec . If                         di      ag ee



wt t i h    n s to your urr nt s ss su s r pt on t rms n on t ons you m y n your s ss su s r pt on n r v r un o your
             he cha                       ge                                      c            e          Da        hPa                         b     c i             i               e                 a       d c                     di i                    ,                     a              ca          cel                         Da           hPa                             b       c i            i       a        d       ecei              e a             ef           d       f



su s r pt on on pro r t s s u t rom t n o t mont ur n w you n t su s r pt on
     b      c i          i            fee                    a                     a a ba                 i       calc             la ed f                           he e                 d         f       he                          h d                 i       g           hich                             ca          cel         he                  b       c i              i           .




N o r ns r or ss nm nts n t ons
        T a              fe                   A         ig               e                 & Ca               cella i                        b  y oor s our s ss su s r pt on
                                                                                                                                                    D                 Da              h - Y                     Da              hPa                             b       c i          i               ca        nnot tr ns rr or ss n oor s r s rv s t r t to
                                                                                                                                                                                                                                                                                                                                 be          a               fe          ed                a              ig     ed. D                    Da            h       e       e        e           he          igh



acce pt r us susp n or n your s
                 ,       ef               e,                 e          d,                 ca        cel                       Da           hPa   ss su s r pt on t ny t m n ts so s r
                                                                                                                                                                     b    c i               i           a       a                   i       e i             i                   le di            c e i        t on oor s n s your s ss su s r pt on you w
                                                                                                                                                                                                                                                                                                                         . If D                      Da          h ca             cel                                Da          hPa                     b          c i          i           ,                   ill



r v r un o your su s r pt on on
 ecei           e a          ef                d        f                              b    c i           i           fee                   a   pro r t s s u t rom t n o t
                                                                                                                                                             a a ba                    i      calc              la ed f                                     he e                d        f           he       mont ur n w your su s r pt on w s n
                                                                                                                                                                                                                                                                                                                                 h d             i       g    un ss  hich                                       b    c i          i                 a       ca          celled,                       le



D oor s t rm n t s your ount or your
            Da           h       e                 i    a e                            acc                                                  Da   s ss su s r pt on us w t rm n
                                                                                                                                                    hPa                           b        c i              i           beca                    e               e de e                       i           e, i   n our so s r t on t t your t ons or your us o t rv s
                                                                                                                                                                                                                                                                                                                                         le di               c e i                    ,    ha                            ac i                                                    e       f       he Se                   ice



v o t s t s r m nt or s rm not
 i      la e             hi          Ag ee                      e                      ha            ha           ed a                      he   r srU       e .




12. Di            sput                    e Re               so ut on    l             i             .
PLEASE READ THE FOLLOWING SECTION CAREFULLY. IT REQUIRES YOU TO ARBITRATE DISPUTES WITH THE COMPANY AND LIMITS
                                                                                                                                                                                                                                                                                                                                                                                                                               E    n s
                                                                                                                                                                                                                                                                                                                                                                                                                                    gli          h (US)



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                    / /)      om
                               O de   i h D    Da h     onsum rs s
THE MANNER IN WHICH YOU CAN SEEK RELIEF. THIS SECTION 12 OF THIS AGREEMENT SHALL BE REFERRED TO AS THE “ARBITRATION
     H  e (/c    e                                             Deli e S                P   la T ic                                             r r w t oor s                                                                                                                v ry upport                                                                             opu r op s
AGREEMENT”.




(a) Scop o r tr t on r m nt ou r t t ny sput or m r t n n ny w y to your ss or us o t rv s s onsum r o
                          e        f A bi                a i             Ag ee                      e         . Y               ag ee                   ha           a          di                    e                clai              ela i              g i             a                a                                acce                                e      f   he Se                       ice          a        a c                                e            f



our rv s to ny v rt s n or m r t n ommun t ons r r n t omp ny or t rv s to ny pro u ts or s rv s so or
          Se              ice          ,            a           ad      e        i    i    g                  a ke i                       g c                               ica i                            ega di              g          he C                           a                     he Se                   ice         ,             a                  d     c                       e        ice                   ld



distr ut t rou t rv s t t you r v s onsum r o our rv s or to ny sp t o your r t ons p or tr ns t ons w t
              ib           ed          h                gh      he Se                     ice           ha                             ecei             ed a              a c                                 e         f                Se        ice              ,                 a              a        ec              f                      ela i                  hi                       a        ac i                           i h



C omp ny s onsum r o our rv s w r so v y n n r tr t on r t r t n n ourt x pt t t you m y ss rt ms n sm
                      a           a        a c                          e         f             Se            ice                      ill be           e            l   ed b              bi             di          g a bi             a i            ,       a he                  ha             i    c                , e        ce                ha         (1)                           a   a            e            clai               i                   all



claims ourt your ms qu y so on s t m tt r r m ns n su ourt n v n s on y on n n v u non ss non r pr s nt t v
                      c                 if                   clai                         alif      ,          l            g a                 he            a          e      e          ai                 i             ch c                       a       d ad               a      ce                   l               a        i    di          id     al (               -cla               ,                - e               e        e            a i         e)



ba s s n you or t omp ny m y s qu t r n ourt or n r n m nt or ot r m sus o nt tu prop rty r ts su s
          i       ; a      d (2)                                he C                          a                a               eek e                    i able                elief i                     c                 f        i       f i   ge                   e                        he               i           e           f i       ellec               al                   e                igh               (           ch a



tr m r s tr r ss om n n m s tr s r ts opyr ts n p t nts s r tr t on r m nt s pp y w t out m t t on to
    ade                   a k      ,         ade d e                    , d               ai             a         e       ,           ade          ec e                  , c                  igh                 , a      d         a e               ). Thi                  A bi              a i              Ag ee                        e             hall a             l       ,       i h                  li        i a i                 ,           all



claims t t ros or w r ss rt
                          ha  or t ﬀ t v t o t s r m nt
                                   a             e                 e e a                  e     ed bef                      e          he E             ec i             e Da e                       f       hi       Ag ee                   e           .




CASES HAVE BEEN FILED AGAINST THE COMPANY—AND OTHERS MAY BE FILED IN THE FUTURE—THAT ATTEMPT TO ASSERT CLASS



ACTION CLAIMS, AND BY ACCEPTING THIS ARBITRATION AGREEMENT YOU ELECT NOT TO PARTICIPATE IN SUCH CASES.




IF YOU AGREE TO ARBITRATION WITH THE COMPANY, YOU ARE AGREEING IN ADVANCE THAT YOU WILL NOT PARTICIPATE IN OR SEEK



TO RECOVER MONETARY OR OTHER RELIEF IN ANY SUCH CLASS, COLLECTIVE, AND/OR REPRESENTATIVE LAWSUIT. INSTEAD, BY



AGREEING TO ARBITRATION, YOU MAY BRING YOUR CLAIMS AGAINST THE COMPANY IN AN INDIVIDUAL ARBITRATION PROCEEDING.



IF SUCCESSFUL ON SUCH CLAIMS, YOU COULD BE AWARDED MONEY OR OTHER RELIEF BY AN ARBITRATOR.




     r tr t on u s n orum s r tr t on r m nt s ov rn y t
(b) A bi                      a i               R        le     a       d F   r r tr t on t n r sp ts o n n r tr t on
                                                                                                  . Thi            A bi                    a i              Ag ee                     e           i       g            e         ed b                  he Fede al A bi                                        a i              Ac           i       all       e         ec        . T            begi             a            a bi              a i




pro n you must s n tt r r qu st n r tr t on n s r n your m to our r st r
          ceedi                   g,                                    e       d a le         nt n r ouns t
                                                                                                    e         e          r t   e           i    g a bi               a i               a          d de                c ibi          g                  clai                                          egi             e ed age                          , Ge           e al C                            el, a         901 Ma ke




Str t t oor n r n s o
      ee , 6 h Fl                          r tr t on w
                                                     , Sa     on u t y
                                                                   F a         un r ts ru s n pursu nt to t t rms o t s r m nt
                                                                                ci        c     , CA, 94103. The a bi                                                    a i                      ill be c                       d       c ed b                 JAMS                             de       i                le         a     d                      a                     he          e                     f    hi          Ag ee                         e        .




Disput s nvo v n ms n ount r ms un r
                      e       i             l    i        not n us v o ttorn ys s n nt r st s
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                                                                                                              e clai s most urr nt                      de         $250,000,                                           i    cl           i    e        f a                      e            ’ fee         a          d i           e e             ,   hall be                  bjec                         JAMS’                                           c           e




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compr ns v r tr t on  ehe      s ru s r so v
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                                                                    a i               /). JAMS’                                le          a e al                  a      ailable a                                         .ja              ad .c                      (h               ://               .ja                ad .c                     /) (           de         he R                   le       /Cla                  e         ab)                     b




    n
calli         t   g JAMS a  ym nt o ﬁ n m n str t on n r tr t on s w
                                                     800-352-5267. Pa                   ov rn y          s ru s t r tr tor ﬁn s
                                                                                                                    e                   f all           li       g, ad                i    i          a i                  , a    d a bi                a i                  fee                  ill be g                    e           ed b                JAMS’                      le      . If        he a bi                    a                         d




t t you nnot ﬀor to p y
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                                                                d                 a        JAMS’                     t omp ny
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w p y t m or you n t on t omp ny w r m urs su
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amount n ontrov rsy tot n ss t n
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r t n to t nt rpr t t on pp
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                                                  T ial. YOU AND THE COMPANY WAIVE ANY CONSTITUTIONAL AND STATUTORY RIGHTS TO SUE IN COURT AND
                                                                                                                                                                                                                                                                                                                                                                                     E       gli   h (US)



                Case 4:19-cv-06098-JST Document 17-1 Filed 11/15/19 Page 36 of 49
     Hom onsum rs s
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                          ou nr t r w t ompoorny sr nst
RECEIVE A JUDGE OR JURY TRIAL. Y                        t n tov ryv upport
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(e) Wai               v ro
                       e          f Cla        ss or onso t C                 lida ed Ac i               t ons         . YOU AND THE COMPANY AGREE TO WAIVE ANY RIGHT TO RESOLVE CLAIMS WITHIN THE




SCOPE OF THIS ARBITRATION AGREEMENT ON A CLASS, COLLECTIVE, OR REPRESENTATIVE BASIS. ALL CLAIMS AND DISPUTES




WITHIN THE SCOPE OF THIS ARBITRATION AGREEMENT MUST BE ARBITRATED ON AN INDIVIDUAL BASIS AND NOT ON A CLASS BASIS.




CLAIMS OF MORE THAN ONE CUSTOMER OR USER CANNOT BE ARBITRATED OR LITIGATED JOINTLY OR CONSOLIDATED WITH THOSE




                                   ow v r t s w v r o ss or onso t t ons s m nv or un n or
OF ANY OTHER CUSTOMER OR USER. If, h                                                          w t r sp t to                          e         e ,             hi              ai      e         f cla                       c                  lida ed ac i                        i        dee            ed i                alid                   e    f           ceable                   i h       e       ec




ap rt u r m or sput n t r you nor t omp ny s nt t to r tr t on o su
         a        ic       la    clai                     di           m or sput nst
                                                                         e,          su
                                                                                 ei he     ms n sput s                       he C                               a              i    e          i led                a bi            a i                 f         ch clai                     di                e. I                ead, all                ch clai                      a       d di                  e




w t n r so v n ourt s s t ort n t on
    ill      he            be     e           l   ed i          a c                  a        e      f       h i             Sec i                         20.




(f) Opt ut ou m y opt out o t s r tr t on r m nt you o so n t r you nor t omp ny n or t ot r to r tr t s r su t o
                      O          . Y               a                              f      hi       A bi           a i                 Ag ee                         e           . If              d                  ,    ei he                                        he C                   a           ca         f           ce      he            he                a bi         a e a             a       e       l           f




t s r m nt o opt out you must not y t omp ny n wr t n no t r t n
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   r m nt our not must n u your n m n r ss your oor s us rn m ny t m
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D oor s ount you v on n
                 Da        h acc           st t m nt t t you w nt to opt out o t s r tr t on r m nt ou must s n your opt out
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not to opt out oor s om you opt out o t s r tr t on r m nt ot r p rts o t s r m nt w ont nu to pp y to you
          ice              :         -            @d               da        h.c              . If                                                 f       hi       A bi               a i           Ag ee                      e       , all            he            a            f    hi          Ag ee                   e               ill c          i           e        a           l                     .




O pt n out o t s r tr t on r m nt s no ﬀ t on ny ot r r tr t on r m nts t t you m y v nt r nto w t us or m y nt r
          i       g                  f    hi      A bi             a i           Ag ee                   e       ha                    e               ec                  a                   he       a bi                a i             ag ee             e              ha                            a       ha        e e             e ed i                     i h                        a         e         e




into n t utur w t us
             i         he f                e       i h             . NOTWITHSTANDING ANYTHING TO THE CONTRARY HEREIN, NOTHING IN THIS AGREEMENT SHALL




SUPERSEDE, AMEND, OR MODIFY THE TERMS OF ANY SEPARATE AGREEMENT(S) BETWEEN YOU AND THE COMPANY RELATING TO




YOUR WORK AS AN EMPLOYEE OR INDEPENDENT CONTRACTOR, INCLUDING WITHOUT LIMITATION, ANY INDEPENDENT




CONTRACTOR AGREEMENT GOVERNING YOUR SERVICES AS A C                                                                                                                                                                 ontr tor    ac           . FOR THE AVOIDANCE OF DOUBT, IF YOU ARE A C                                                                                                          ontr tor    ac              ,




OPTING-OUT OF THE ARBITRATION AGREEMENT SET FORTH IN THIS SECTION 12 HAS NO AFFECT ON YOUR AGREEMENT TO




ARBITRATE DISPUTES COVERED BY YOUR INDEPENDENT CONTRACTOR AGREEMENT WITH THE COMPANY.




(g) S        urv v     i       al. Thi    s r tr t on r m nt w surv v ny t rm n t on o your r t ons p w t t
                                               A bi            a i           Ag ee                e              ill                   i       e a                   e             i       a i              f                    ela i                  hi            i h       he C         omp ny        a        .




(h) Mo ﬁ t on otw t st n n ny prov s on n t r m nt to t ontr ry w r t t t omp ny m s ny utur m t r
                   di          ca i           . N              i h        a      di      g a                         i       i         i               he Ag ee                            e                he c                        a       ,       e ag ee              ha         if       he C                       a                ake        a           f            e           a e ial cha                   n
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to t s r tr t on r m nt t w not pp y to ny n v u m s t t you
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13. Thi d-Pa           r                  rty nt r t ons
                                                      I        e ac i                         .



(a) Thi d-Pa      r
           rty s t s pp t ons n v rt s m nts
                                          Web          rv s m y ont n n s to t r p rty w s t s r rty s t s n
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app t ons r rty pp t ons n v rt s m nts r rty v rt s m nts o t v y r rty s t s
          lica i                  (“Thi d-Pa                             A           lica i              ”) a          d ad                e           i       e       e               (“Thi d-Pa                               Ad          e       i   e     e             ”) (c       llec i             el      , “Thi d-Pa                          Web             i e          &



Ad v rt s m nts
          e        n you on n to r rty s t r rty pp t on or r rty v rt s m nt oor s w not
                   i       e     e         ”). Whe                               click               a li        k               a Thi d-Pa                                        Web           i e, Thi d-Pa                                  A           lica i                  Thi d-Pa                            Ad           e       i   e      e        , D             Da          h         ill



w rn you t t you v t oor s s s t or rv s n w not w rn you t t you r su t to t t rms n on t ons n u n
    a                           ha                ha           e lef         D           Da       h’         Web                 i e               Se              ice             a       d      ill                       a                       ha                  a e             bjec                       he           e            a        d c        di i                (i      cl    di          g



pr v y po s o not r w s t or st n t on u
     i    ac                    licie     )      r rty s t s v rt s m nts r not un r t ontro o oor s oor s
                                                  f a              he          eb        i e             de        i         a i               . S             ch Thi d-Pa                              Web                 i e         & Ad            e     i    e        e           a e                             de          he c                    l       f D              Da          h. D              Da              h



s not r spons or ny r rty s t s r rty pp t ons or ny r rty v rt s m nts oor s o s not r v w pprov
i                  e                     ible f            a         Thi d-Pa                        Web             i e          , Thi d-Pa                                       A           lica i                           a           Thi d-Pa                        Ad      e        i    e        e            . D              Da           h d       e                    e    ie       , a                     e,



mon tor n ors w rr nt or m ny r pr s nt t ons w t r sp t to su
              i        , e       d         e,         a        ar rty s t s v rt s m nts or t r pro u ts or s rv s
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You us n s n r rty s t s v rt s m nts t your own r s ou s ou r v w pp
                   e all li          k     i      Thi d-Pa                        Web  t rms n po s n u n pr v y n
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   t t r n pr t s o ny r rty s t s or r rty pp t ons n m w t v r nv st t on you n ss ry or
da a ga he i                          g           ac ice                 f a           Thi d-Pa                        Web                 i e                      Thi d-Pa                            A               lica i                  , a     d         ake           ha e             e     i        e           iga i                       feel            ece              a



appropr t or pro n w t ny tr ns t on w t ny t r p rty
                       ia e bef                   e             ceedi            g       i h a                   a               ac i                          i h a                       hi d         a           .
(b) App tor s ou now     S    n r t t t v Document
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                                                                                                of 49                      d ag ee                            ha           he a                 ailabili                        f        he A                          lica i                  i       de               e       de                           he                 hi d          a              f                            hich
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App t on n t rv s t ont nt t r o m nt n n support s rv s n w rr nty t r or n r ss n ny ms r t n t r to
            lica i                     a              d     he Se                    ice             ,       he c               e                       he e              f,           ai           e     a       ce,                                                 e        ice         a           d            a          a                   he ef                    , a       d add e                         i       g a                  clai                           ela i               g        he e



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                             d        c           liabili                , legal c                            ss to w r ss
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n twor n you r to p y
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w t t pp t on or t rv s ou r to omp y w t n your ns to us t pp t on s on t on upon your omp n w t
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support n ountry n you r pr s nt n w rr nt t t you r not st on ny
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                                                                        , a      d                           e     e       e                a       d         a        a                ha                        a e                        li           ed                   a           U.S. G                              e                  e         li                  f             hibi ed                             e                ic ed                  a             ie        . Y



acknow       n r t t           pp tor n ts ﬃ t s s n nt n t r p rty n ﬁ ry o t s r m nt n s t r t to n or
                         ledge a                           d ag ee                    ha                 each A                         S                e (a          d i              a           lia e         ) i       a            i        e            ded                 hi d-               a                 be             e         cia               f       hi        Ag ee                      e                a        d ha               he                  igh                      e       f           ce



t t rms n on t ons o t s r m nt
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14. S           o    cial Media G                                                u    ideli                  ns  e     .


Door s m nt ns rt n so m p s or t n ﬁt o t oor s ommun ty y post n omm nt n or ot rw s nt r t n w t
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gu ns   ideli            e        ).




15. T a         r ns t ons nvo v nac i                                   I                   l       i       g Alc              oo      h            l



You m y v t opt on to r qu st v ry o o o pro u ts n som o t ons n rom rt n r nts you r v your v ry n t
                 a           ha               e       he                  i                          e            e        deli                 e                f alc          h           l             d       c         i                             e l          ca i                    a       d f                          ce            ai        Me cha                                . If                        ecei             e                          deli              e             i         he



U n t t t s you r t t you w on y or r o o pro u ts you r y rs o or o r you r v your v ry n not r ountry
        i ed S a e                                ,             ag ee                    ha                             ill                 l                de        alc             h        l             d       c             if                        a e 21                ea                 f age                                lde . If                                 ecei          e                      deli                 e        i         a                   he           c                           ,



you r t t you w on y or r o o pro u ts you r o
            ag ee                     ha                  to pur s o o pro u ts n t r v nt ur s t on ou so r
                                                                         ill             l               de        alc          h           l                d        c         if                   a e           f legal age                                                     cha             e alc                  h         l              d        c           i            he       ele            a            j           i    dic i                  . Y                     al           ag ee



t t upon v ry o o o pro u ts you w prov v ov rnm nt ssu
    ha ,                          deli                 e            nt ﬁ t on prov n your to t ontr tor v r n t
                                                                        f alc            h           l            d        c        ,                         ill                      ide           alid g                 e                     e                   -i           ed ide                       i       ca i                                i       g                     age                     he C                              ac                    deli                e i             g     he



alco o pro u ts n t t t r p nt w not ntox t w n r v n v ry o su pro u ts you or r o o pro u ts you
            h        l                d           c         a       d            ha          he              eci        ie                      ill                   be i                      ica ed                     he                ecei                      i   g deli              e                    f             ch                   d       c            . If                      de             alc              h        l             d            c           ,



un rst n n now
        de              t t n t r oor s nor t ontr tor n pt your or r o o o pro u ts n t or r w on y
                         a        d a                 d ack                       ledge                          ha        ei he                        D             Da           h                      he C                           ac                       ca           acce                                                 de                f alc         h            l            d       c          , a          d           he            de                        ill             l       be



delivr t        r nt pts your or r
             e ed if                   ontr tor r s rv s t r t to r us v ry you r not y rs o o r you nnot
                                           he Me cha                                     acce                                                   de . The C                                          ac                e     e               e             he               igh                 ef               e deli                    e           if                    a e                   21          ea                      f        lde , if                                 ca



prov v ov rnm nt ssu
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                                  alid g                        e                 e              i               ed ID, if                  he               a         e                                ID d            e                                     a ch             he          a               e                                          de ,                               a e             i   ibl              i                ica ed. If                             he



C ontr tor s un to omp t t
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                                      i                    able                  c                       le er         he deli                      e                 f alc            h        l             d       c             f                         e                        e           f       he            e          ea                  ,                   a e               bjec                        a                    - ef                   dable $20                                   e-



sto n   cki          g fee.




16. I        n mn ﬁ t on
                    de                            i        ca i



Y ou r to n mn y n o rm ss oor s n ts oﬃ rs r tors mp oy s nts n ﬃ t s
            ag ee                             i       de                 if      a           d h     n n mn ﬁ rty
                                                                                                             ld ha                  le               D                Da           h a              d i                    ce               , di ec                            , e                 l        ee                , age                     a       d a                 lia e          (each, a                               “I   de                     i       ed Pa                           ”),



from n       nst ny oss s ms t ons osts m s p n t s ﬁn s n xp ns s n u n w t out m t t on ttorn ys s n
                a        d agai                             a            l            e          , clai                , ac i                           , c               , da                  age       ,       e        al ie                  ,               e        a       d e                 e            e         , i     cl          di       g        i h                   li          i a i                       a                 e             ’ fee                   a       d



e xp ns s t t m y n urr y n n mn ﬁ rty r s n out o r t n to or r su t n rom your s r ont nt your m sus o t
            e        e        ,       ha                    a       be i          c                  ed b              a        I       de                    i       ed Pa                         a i       i   g                          f,        ela i                g                          e            l i           g f                   (a)                          U        e     C                 e           ; (b)                                       i             e          f      he



S o tw r or rv s your r o t s r m nt or ny r pr s nt t on w rr nty or ov n nt n t s r m nt or your v o t on o ny
        f       a e                    Se                  ice          ; (c)                            b each                     f       hi           Ag ee                     e                      a             e            e       e                a i              ,       a       a                               c          e        a           i            hi       Ag ee                       e            ;            (d)                                i       la i                        f a



a pp        ws ru s or r u t ons t rou or r t to t us o t o tw r or rv s n t v nt o ny m
            licable la                                 ,        le                   eg              la it on su t or       h                   gh                    ela ed                              he               e         f       he S                     f        a e                 Se                   ice         . I            he e             e                 f a             clai                , allega i                              ,               i



pro n           n ny m tt r pot nt y ov r y t r m nts n t s s t on you r to p y or t
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n u n r son
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                         g a                      a        ailable defe                                      eomm r
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pr t y su p rty or or su p rty s n
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o ny m t r t n onn t on w t t o tw r or rv s ou r t t t prov s ons n t s s t on w surv v ny t rm n t on o your
    f a                      a e ial fac                            i        c               ec i                       i h             he S                 f         a e                      Se        ice          . Y                   ag ee                         ha          he                           i    i              i             hi           ec i                       ill                 i       e a                      e          i       a i                          f



acc ount t s r m nt or your ss to t o tw r n or rv s
                         ,        hi          Ag ee                       e          ,                             acce                                  he S              f           a e a              d/               Se                ice              .
                                                                                                                                                                                                                                                                                                  E n s
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ECONOMIC COSTS.




18. I    nt rn t
              e             e       Dela           ys
    o tw r n rv s m y su t to m t t ons ys n ot r pro ms n r nt n t us o t nt rn t n
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          r
19. B each A                            n m t t on o
                                          d Li              i a i                      f Liabili        ty
(a) Gen r ou un rst n n r t t y m nt o t rv s n t s r m nt s your n our mutu s r to p t rv s
              e al. Y                          de           a       d a      d ag ee           ha      a ke           ele       e          f   he Se              ice     a     d       hi       Ag ee              e         i              a   d                       al de      i e    kee        he Se        ice



s mp n ﬃ nt n to prov t o tw r n rv s t ow ost ou un rst n n r to t m t t ons on r m s n
 i       le a         d e           cie        , a      d                     ide         t s
                                                                                        he S       f        a e a         d Se         ice         a   l        c        . Y                 de            a       d a    d ag ee                 he li          i a i                e    edie       a    d liabili ie



s t ort n t s t on to p t o tw r n rv s s mp n ﬃ nt n osts ow or us rs
 e   f        h i           hi      Sec i               19              kee            he S    f       a e a          d Se          ice        i           le a     d e       cie        , a         d c             l        , f      all       e     .




(b) Ca     p on         Liabili          ty    . TO THE FULLEST EXTENT PERMITTED BY LAW DOORDASH’S AGGREGATE LIABILITY SHALL NOT EXCEED THE



GREATER OF AMOUNTS ACTUALLY PAID BY AND/OR DUE FROM YOU TO DOORDASH IN THE SIX (6) MONTH PERIOD IMMEDIATELY



PRECEDING THE EVENT GIVING RISE TO SUCH CLAIM. THIS CAP ON LIABILITY SHALL APPLY FULLY TO RESIDENTS OF NEW JERSEY.




(c) Di   s m ro
           clai             e        f Ce      rt n m s
                                                   ai       Da           age       . TO THE FULLEST EXTENT OF LAW DOORDASH SHALL NOT BE LIABLE TO YOU OR ANYONE ELSE FOR



ANY INDIRECT, PUNITIVE, SPECIAL, EXEMPLARY, INCIDENTAL, CONSEQUENTIAL OR OTHER DAMAGES OF ANY TYPE OR KIND



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AND ECONOMIC ADVANTAGE). THE FOREGOING DISCLAIMER OF PUNITIVE AND EXEMPLARY DAMAGES, AND THE ENTIRE



DISCLAIMER OF DAMAGES FOR PERSONAL INJURY OR PROPERTY DAMAGE, OR FOR ANY INJURY CAUSED BY DOORDASH’S FRAUD



OR FRAUDULENT MISREPRESENTATION, SHALL NOT APPLY TO USERS WHO RESIDE IN THE STATE OF NEW JERSEY.




20. E      x us v cl            i   e Ve           nu       e



To t xt nt t p rt s r p rm tt un r t s r m nt to n t t t t on n ourt ot you n oor s r t t
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 r       orn t z n or r s nt n n t n t t t s str t ourt or t str t n w you r s you r not
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e    ide          .




21. Te     rm n t on   i    a i
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In t on t ts so s r t on oor s m y mo y or s ont nu t o tw r or rv or m y mo y susp n or t rm n t your ss to
        addi i                     , a          i                 le di         c e i                    , D                    Da       h            a                  dif                    di          c            i          e            he S                f            a e                  Se            ice,               a                           dif        ,                e        d           e               i    a e                            acce



t o tw r or t rv s or ny r son w t or w t out not to you n w t out ty to you or ny t r p rty n t on to susp n n or
    he S                 f        a e                   he Se                   ice           , f           a                ea                  ,     i h                          i h                          ice                                     a         d          i h                   liabili                                             a                    hi d              a         . I      addi i                                                 e       di          g



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pursu n v r m n or n un t v r r ss v n t r your r t to us t o tw r or t rv s s t rm n t t s r m nt w r m n
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22. P                ro ur or ced                       e f                 Maki                n       g Clai                      ms o opyr t n r n m nt
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It s oor s s po y to t rm n t m m rs p pr v s o ny s r w o r p t y n r n s opyr t upon prompt not ﬁ t on to oor s
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b y t opyr t own r or t opyr t own r s
             he c                          ighnt t out m t n t or o n you v t t your wor s n op n
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post on t rv s n w y t t onst tut s opyr t n r n m nt p s prov our opyr t nt w t t o ow n n orm t on n
                 ed                    he Se                  ice           i       a          a            ha              c            i            e        c                     igh        i       f i       ge             e               ,        lea            e                     ide                     C            igh             Age                             i h         he f           ll        i       g i          f                a i               : (a) a



elec tron or p ys s n tur o t p rson ut or z to t on
                              ic                h            o t own r o t opyr t nt r st
                                                            ical            ig          a        s r pt on o t
                                                                                                    e           f       he          e                  a        h               i    ed             ac                       behalf                          f       he                        e           f       he c                igh              i           e e             ; (b) a de                    c i        i                 f       he



c opyr t wor t t you m s n n r n
                     igh ed                     s r pt on o t o t on on t rv s o t m t r t t you m s n r n n
                                                        k     ha                         clai               ha              bee              i       f i       ged; (c) a de                                c i          i               f           he l                ca i                              he Se               ice              f        he                   a e ial               ha                   clai                  i       i   f i           gi          g; (d)



your r ss t p on num r n m
                 add e                 r ss wr tt n st t m nt y you t t you v oo t
                                            ,   ele           h             e                 t t t sput us s not
                                                                                                be              a           d e-         ail add e                              ; (e) a                 i        e             a e                       e           b                             ha                    ha     e a g                       d fai h belief                               ha          he di                         ed                e i



a ut or z y t opyr t own r ts nt or t w n
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your not s ur t n t t you r t opyr t own r or ut or z to t on t opyr t own r s
                             ice i              acc               a e a             d        ont t n orm t on or
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D oor s s opyr t nt or not o ms o opyr t n r n m nt s s o ows n r ouns oor s n
                     Da       h’           C                  igh           Age                 f           r t t t oor     ice         f clai                          f c                   igh            i    f i        ge                  e               i       a        f       ll            : Ge             e al C                             el, D                   Da             h, I        c., 901 Ma ke                                   S , 6 h Fl                          ,



Sa n rn so       F a          ci       c        , CA 94103.




23. Ge                       nr   e al



(a) No o nt ntur or rtn rs p o o nt v ntur p rtn rs p mp oym nt or
                         J    i            Ve                   e           Pa                 e            hi          . N         j    i             e                e,            a             e        hi          , e                 l                   e            ,           age          n y r t ons p x sts tw n you oor s or ny t r
                                                                                                                                                                                                                                                                                                           c           ela i           hi               e           i          be              ee                    , D                  Da           h             a                   hi d



p rty prov r s r su t o t s r m nt or us o t o tw r or rv s
    a                              ide          a         a       e         l           f     hi         Ag ee                      e                           e           f       he S            f            a e                Se                   ice         .




(b) Ch  o o w s r m nt s ov rn y t ws o t t t o w r ons st nt w t t
                             ice           f La           . Thi             Ag ee                       e               i    g          e            ed b               he la                           f       he S a e                             f Dela                       a e c                    i       e            i h         he Fede al A bi                   r r tr t on t w t out v n  a i            Ac ,               i h                     gi        i       g



e   ﬀ t to ny pr n p s t t prov or t pp t on o t w o ny ot r ur s t on
         ec                   a                     i   ci        le            ha                          ide f                   he a                   lica i                         f     he la                        f a                          he             j        i   dic i                    .




(c) Sev r ty x pt s ot rw s prov n t s r m nt ny prov s on o t s r m nt s oun to nv t nv
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prov s on s not ﬀ t t v ty o t r m n n prov s ons o t s r m nt w s r m n n u or n ﬀ t
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(d) C      onsum r omp nts n or n w t  e        C                   lai                 . I     acc                     da          ce           i h Calif               orn v o §    ia Ci you m y r port omp nts to t omp nt ss st n n t o t
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95814,       or y t p on t        b         ele             h           e a             (800) 952-5210.




(e) Access n n own o n t pp t on rom un s
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(1) You now      n r t t t r m nt s on u
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is so y r spons or t pp tor our pp t on n ont nt t r o our us o t pp tor our pp t on must omp y w t
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(2) Y  ou now   t t pp       ack                    ledge                ha             A               le ha           s no o          bliga i          t on w tso v r to urn s ny m nt n n
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    ou n oor s now
(5) Y                a t t n t v nt o ny t r p rty m t t t pp tor our pp t on or your poss ss on n us
                             d D                 Da         h ack                      ledge                   ha , i                     he e        e                 f a            hi d-             a               clai                 ha         he A                 S           e S                   ced A                       lica i                                                     e     i                a    d             e



o t t pp tor our pp t on n r n s t t t r p rty s nt tu prop rty r ts s tw n oor s n pp oor s not
    f    ha          A         S            e S                ced A                      lica i                     i       f i      ge          ha              hi d            a        ’    i        ellec                   al                 e               igh         , a       be                ee          D               Da           h a        d A                  le, D                 Da           h,



App w so y r spons or t nv st t on ns s tt m nt n s r o ny su nt tu prop rty n r n m nt m to t
            le,          ill be             lel           e                      ible f                  he i                  e          iga i               , defe                e,     e         le          e             a      d di         cha ge                  f a                    ch i              ellec                   al                 e            i       f i       ge       e            clai                         he



ext nt r qu r y t rms
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(6) Y  ou n oor s    a       d D                 Da         h ack       now      n r t t pp n pp s su s r s r t r p rty n ﬁ r s o t rms s r t to your
                                                                                       ledge a                       d ag ee                      ha          A         le, a         d A                le’                 b       idia ie            , a e            hi d-            a             be          e       cia ie                   f     he Te                          a    ela ed



lice  ns o t pp tor
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(a   n w d     m to
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a   s t r p rty n ﬁ
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       t out m t n ny ot r t rms o t
(7) Wi h                         li        i i      g a                     he            e                    f         he Te            rms you must omp y w t
                                                                                                                                                  ,                               c             l            i h all a               pp       licable           t r p rty t rms o r m nt w n us n t
                                                                                                                                                                                                                                                                    hi d-         a                 e                   f ag ee                      e              he                    i   g        he A         pp tor    S              e



S   our pp t on
             ced A                    lica i              .




(f) N        ot
             r oor s r qu r s t t you prov n m
                  ice. Whe e D                          r ss you r r spons or prov n oor s w t your most urr nt
                                                                  Da         h        e           i e            ha                                       ide a             e-         ail add e                         ,                a e       e                     ible f                            idi         g D                  Da            h       i h                                     c              e            e-



m      r ss n t v nt t t t st m
     ail add e                    . I    r ss you prov to oor s s not v or or ny r son s not p o v r n to you
                                                he e          e              ha            he la                   e-            ail add e                                                ided                   D               Da           h i                    alid,              f           a               ea                  i                  ca       able                 f deli        e i          g



any not s r qu r or p rm tt y t s r m nt oor s s sp t o t m ont n n su not w non t ss onst tut
                     ice          e             i ed                   e          i       ed b                 hi            Ag ee                    e           , D           Da        h’        di           a ch                 f    he e-                ail c             ai        i     g             ch                  ice              ill            e hele                     c                i             e



eﬀ t v not ou m y v not to oor s t rou t o ow n w orm ttps p oor s om onsum rs s ont tsupport
        ec i         e            ice. Y                          a         gi   e                ice                    D                Da      h       h             gh        he f          ll           i       g           eb f               : h                  ://hel           .d                da       h.c                    /c                      e           /    /c            ac



(https p oor s om onsum rs s ont tsupport u not s
                 ://hel           .d              da          h.c     m v n on t n xt us n ss y t r su m s
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actu y r v y oor s
             all          ecei          ed b             D                Da          h.




(g) Electron                     ic C       ommun t ons or ontr tu purpos s you ons nt to r v ommun t ons rom oor s n n tron orm n
                                                                   ica i                   . F             c                  ac           al                           e   ,              (1) c                 e                        ecei          e c                         ica i                       f               D                    Da     h i         a           elec                   ic f                   ; a       d



      r t t
(2) ag ee                    ha       all    t rms n on t ons r m nts not s s osur s n ot r ommun t ons t t oor s prov s to you tron y
                                                 e                a     d c                di i                , ag ee                        e           ,             ice       , di     cl                e           , a     d            he        c                       ica i                       ha          D                   Da       h                  ide                            elec                        icall



s t s y ny
    a i      f    a           legal         r qu r m nt t t su ommun t ons wou s t s y t y w r n wr t n ou r to p your ont t n orm t on n u n
                                                e         i e           e             ha                 ch c                                     ica i                               ld       a i       f       if       he               e e i                    i i    g. Y                 ag ee                    kee                               c            ac           i    f            a i              , i       cl    di       g



em        r ss
         ail add e                    , c   urr nt s su p r r p o s not ﬀ t your st tutory r ts
                                                     e        . Thi                   b           a ag a                     h d          e                   a       ec                       a                             igh          .




      r ns r n ss nm nt s r m nt n ny r ts n ns s r nt r un r m y not tr ns rr or ss n y you ut m y
(h) T a                  fe      a      d A             ig             e         . Thi              Ag ee                     e           , a     d a                   igh           a     d lice                   e       g a              ed he e                     de ,              a                   be              a           fe        ed                a       ig        ed b                        , b                    a



be a  ss n y oor s w t out r str t on ny tt mpt tr ns r or ss nm nt n v o t on r o s
                 ig       ed b             D              Da          h          i h nu n vo s r m nt n s
                                                                                                       e             ic i              . A            a           e           ed           a         fe                  a         ig          e            i        i    la i              he e             f       hall be                         ll a       d            id. Thi               Ag ee                      e         bi       d



a   n nur s to t n ﬁt o
        d i           e  p rty n t p rty s su ssors n p rm tt ss ns
                                        he be                 e             f each                  a              a         d       he           a           ’         cce                     a        d           e           i        ed a          ig           .




   nt r r m nt s r m nt s t ﬁn omp t n x us v r m nt o t p rt s w t r sp t to t su t m tt r r o n
(i) E            i e Ag ee                       e        . Thi             Ag ee                   e            i           he               al, c                   le e a           d e          cl           i       e ag ee                   e            f        he       a         ie              i h      e          ec                       he             bjec                  a        e    he e                  f a        d



sup rs s n m r s pr or s uss ons tw n t p rt s w t r sp t to su su t m tt r ow v r not n n t s r m nt s
          e       ede            a      d           e ge              all         i           di       c                 i            be              ee              he        a      ie            i h         e             ec                       ch           bjec                 a         e . H                   e   e ,                   hi       g i              hi        Ag ee                e                  hall



sup rs   m n or mo y t t rms o ny s p r t r m nt s tw n you n oor s r t n to your wor s n mp oy or
          e       ede, a                e        d,                     dif            he           e                        f a              e       a a e ag ee                          e         (    ) be                   ee                     a       d D               Da            h    ela i              g                                       k a             a        e         l       ee



in p n nt ontr tor n u n w t out m t t on ny n p n nt ontr tor r m nt ov rn n your ﬀorts s ontr tor
     de          e    de              c              ac               , i    cl       di          g,         i h                     li       i a i               , a         I     de         e     de                  C                ac             Ag ee                  e           g           e        i      g                    e                     a        a C                ac            .




24. C             ont t n orm t on
                              ac            I       f                 a i



D   oor s w om s your qu st ons or omm nts r r n t
              Da          h      elc                 e                            e           i                      c                    e               ega di                  g    he Te         rms             :




D   oor s n   Da          h, I        c.
901 Ma ke   r t t t oor Case 4:19-cv-06098-JST Document 17-1 Filed 11/15/19
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                                                                                                                                                                                                                                                                                                                                                                                                     E   n s
                                                                                                                                                                                                                                                                                                                                                                                                           gli     h (US)



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             om onsum rs s            r r w t oor s          v ry upport                                                                                                                                                                                                                                                                  opu r op s
         n rn so
                      H                e (/c                            e       /     /)                                       O de                            i h D              Da     h                                            Deli           e        S                                                                      P                la       T               ic

Sa           F a          ci       c        , CA 94103




Hel         p orm ttps
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                                                                     .d               da         h.c              /c                                   e       /   /c             ac




Tele         p on um r
                 h            e N                   be : +1 (855) 973-1040




Te           rms n on t ons r m nt a            d C                             di i                              Ag ee                                             e




E    ﬀ t v pr
         ec i         e: A             il 3, 2018




PLEASE READ THE TERMS AND CONDITIONS CAREFULLY. THE TERMS AND CONDITIONS (“AGREEMENT”) CONSTITUTE A LEGAL AGREEMENT



BETWEEN YOU AND DOORDASH, INC., A DELAWARE CORPORATION (“COMPANY”).




SECTION 12 (h                               ttps www oor s om t rms s t on
                                                        ://             .d            da         h.c              / e                     /#           ec i          12) OF THIS AGREEMENT CONTAINS PROVISIONS THAT GOVERN HOW CLAIMS THAT YOU



AND WE HAVE AGAINST EACH OTHER ARE RESOLVED, INCLUDING, WITHOUT LIMITATION, ANY CLAIMS THAT AROSE OR WERE ASSERTED



BEFORE THE EFFECTIVE DATE OF THIS AGREEMENT. IN PARTICULAR, SECTION 12 SETS FORTH OUR ARBITRATION AGREEMENT WHICH WILL,



WITH LIMITED EXCEPTIONS, REQUIRE DISPUTES BETWEEN US TO BE SUBMITTED TO BINDING AND FINAL ARBITRATION. UNLESS YOU OPT OUT



OF THE ARBITRATION AGREEMENT: (1) YOU WILL ONLY BE PERMITTED TO PURSUE CLAIMS AND SEEK RELIEF AGAINST US ON AN INDIVIDUAL



BASIS, NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION OR PROCEEDING; AND (2) YOU ARE WAIVING YOUR



RIGHT TO SEEK RELIEF IN A COURT OF LAW AND TO HAVE A JURY TRIAL ON YOUR CLAIMS. THE ARBITRATION AGREEMENT COULD AFFECT



YOUR RIGHT TO PARTICIPATE IN PENDING PROPOSED CLASS ACTION LITIGATION. PLEASE SEE SECTION 12 FOR MORE INFORMATION



REGARDING THIS ARBITRATION AGREEMENT, THE POSSIBLE EFFECTS OF THIS ARBITRATION AGREEMENT, AND HOW TO OPT OUT OF THE



ARBITRATION AGREEMENT.




B y ss n or us n t w s t o t t ttps www oor s om ttps www oor s om
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us n t omp ny s mo pp t on pp t on or ny ot r so tw r supp y t omp ny o t v y w t t pp t on t o tw r
        i    g    he C                          a        ’           bile a               lica i                  (“A             lica i                    ”)           a            he         f         a e                    lied b              he C                     a           (c     llec i            el       ,       i h         he A                  lica i                ,       he “S        f       a e”),



acce ss n or us n ny n orm t on s rv s tur s or r sour s v
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acc ount r str t on pro ss n to n t t omp ny or n z t on or nt ty to t r m nt t rms you us r n us rs r r to n v u s n
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ot r p rsons w o ss or us t
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r st r ounts or ot rw s
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ifyou o not r to oun y t r m nt you m y not ss or us t
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S    u t to t on o t s r m nt t omp ny r s rv s t r t to mo y t t rms n on t ons o t s r m nt or ts po s r t n to t
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Web s t o tw r or rv s t ny t m ﬀ t v upon post n o n up t v rs on o t s r m nt on t
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r v w t s r m nt s your ont nu us o t rv s t r ny su
    e       ie        hi       Ag ee                    e  n s onst tut s your r m nt to su
                                                               , a                    c           n si       ed               e           f       he Se             ice       af e      a               ch cha               ge        c             i         e                   ag ee                  e                          ch cha                  ge        .




The C  omp ny us s n twor o n p n nt t r p rty ontr tors s rs w o prov
                               a                e       a     e            v ry s rv s to our us rs
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1. U        s r pr s nt tCase
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B y us n tom rv onsum
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your so p rson or nt rn us n ss us
                 le,          e                n us n t rv s you r to omp y w t pp
                                                     al            i           e           al b      ws rom your om n t on n t ountry
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st t n ty n w you r pr s nt w us n t rv s
    a e a            d ci              i              hich                             a e                 e           e                   hile                     i       g        he Se               ice         .




You m y on y ss t rv s us n ut or z m ns t s your r spons ty to
                 a             l       acce                          to nsur you own o t orr t o tw r or your v
                                                                       he Se                       ice                     i     g a                   h           i        ed            ea           . I   i                          e                    ibili                         check                        e                 e                  d               l    ad          he c                      ec           S   f               a e f                                  de            ice. The



C omp ny s not   a   you o not v omp t
                          i                   v or you v own o t wron v rs on o t o tw r or your v
                                                liable if                                      d             omp ny    ha          e a c                                a ible de                      ice               if                 ha          e d                    l       aded                   he                     g         e     i               f       he S             f            a e f                             de               ice. The C                                          a



r s rv s t r t to t rm n t your us o t o tw r n or rv s s ou you us n t o tw r or rv s w t n n omp t or un ut or z
    e   e        e       he            igh                         e               i    a e                                        e           f       he S                 f            a e a         d/            Se             ice              h            ld                       be                 i    g     he S              f        a e                  Se           ice                  i h a             i       c                   a ible                               a           h           i       ed



de v    ice.




B   y us n t i   g        he Se                rv s you r t t
                                                     ice           ,                   ag ee                   ha :




            1. (a) Y   ou w on y us t rv s or w u purpos s you w not us t rv s or s n n or stor n ny un w u m t r or or pt v or
                                                ill            l                e          he Se                       ice             f            la           f          l                      e    ;                     ill                       e     he Se                        ice            f            e     di           g                      i       g a                      la           f    l        a e ial                          f            dece                   i    e


                  r u u nt purpos s
                 f a       d           le                                       e          .




            2. (b) Y   ou w not us t rv s to us nu s n nnoy n or n onv n n
                                                ill                            e       he Se                       ice                             ca            e               i       a    ce, a                      a        ce             i      c              e           ie          ce.




            3. (c) Y   ou w not us t rv s or ny ont nt ss t rou t rv s or ny omm r purpos n u n ut not m t to ont t n
                                                ill                            e       he Se                       ice             ,               a            c                e           acce                ible         h                 gh          he Se                      ice          , f           a          c                  e cial                                    e, i         cl          di        g b                             li           i ed                c               ac i             g,


                 ad v rt s n to so t n or s n to ny oo rv rov r us r or s r un ss t omp ny s v n you p rm ss on to o so n wr t n
                          e            i   i       g           ,               lici i          g                   elli            g               , a                  F             d Se             ice P                  ide ,                  e             Da                  he ,                   le           he C                         a            ha          gi       e                            e         i       i                        d                   i               i i         g.




            4. (d) Y   ou w not opy or str ut t o tw r or ny ont nt sp y t rou t rv s w t out pr or wr tt n p rm ss on rom t omp ny
                                                ill                    c                           di              ib              e           he S                 f           a e               a          c            e             di           la      ed            h                   gh         he Se                  ice               i h                        i               i        e               e         i       i               f                    he C                            a           .




         5. (e) Y      ou w not r t or omp r t y or n r t y ny o t on omp t on or ot r r tory rom ny ont nt sp y t rou t rv s
                                                ill                    c ea e                          c                       ile, di ec l                                          i    di ec l            , a              c     llec i                   , c                       ila i                  ,            he            di ec                       f                a           c                e         di          la          ed               h               gh          he Se                       ice


                 e x pt or your p rson non omm r us
                         ce                f                                   e                   al,                     c                        e cial                        e.




            6. (f) The i  n orm t on you prov to us w n you r st r n ount or ot rw s ommun t w t us s ur t you w prompt y not y us o ny
                                               f              a i                                                      ide                                     he                             egi            e       a        acc                                      he                  i   e c                               ica e               i h                 i    acc                 a e,                           ill                                  l                if                     f a


                 cha  n s to su n orm t on n you w prov us w t w t v r proo o nt ty w m y r son y r qu st
                               ge                              ch i                f                a i                    , a         d                           ill                       ide                 i h          ha e              e                      f           f ide                  i            e         a             ea            abl                  e        e           .




            7. (g) Y   ou r w r t t w n r qu st n rv s y t xt m ss s st n r m ss n r s w pp y
                                           a e a               a e                 ha                  he                  e               e           i       g Se                  ice          b     SMS               e                 e           age        ,           a           da d                   e      agi             g cha ge                            ill a            l    .




            8. (h) Y   ou w p s ur n onﬁ nt your ount p sswor or ny nt ﬁ t on r nt s w prov you w
                                                ill kee                         ec             e a             d c          ows ss to t rv s
                                                                                                                                           de                  ial                       acc                         a                      d           a          ide                     i       ca i                c ede                   ial           e                    ide                              hich all                              acce                               he Se                     ice          .




            9. (i) Y  ou w on y us t rv s or your own us n w not r s t r t o tw r or rv s to t r p rty
                                               ill         l                   e       he Se                       ice                 f                                                     e a        d        ill                    e       ell ei he                      he S                  f            a e            Se            ice                   a       hi d             a            .




        10. (j) Y     ou w not us t         s t or o tw r n ny w y t t ou m
                                               ill                         e            s ov r ur n or mp r ny omp ny s rv r or t n twor s
                                                                                       he Web                          i e                 S           f           a e i                 a             a         ha           c             ld da            age, di                       able,                   e b               de                  i           ai       a            C                       a             e       e ,                          he           e                  k


                 c onn t to ny omp ny s rv r
                               ec ed                           a                C                      a                    e          e .




        11. (k) Y      ou w not tt mpt to n un ut or z
                                                ill            ss to ny p rt o t
                                                                       a        e      s t n or to ny s rv gai  ount r sour omput r syst m n or
                                                                                                                                           a               h            i       ed acce                          a                  a           f       he Web                         i e a              d/                     a             e         ice, acc                             ,    e                     ce, c                                 e                      e           a       d/


                 n twor onn t to ny omp ny s rv r
                     e                     k c                 ec ed                               a           C                           a                   e            e .




        12. (l) Y     ou w not p n to t        ill  s t or ss t    dee  s t m nu y or w t ny ro ot sp r w r w r xtr t on so tw r utom t pro ss
                                                                                       -li         k                   he Web                              i e                  acce                  he Web                   i e              a           all                            i h a                       b         ,         ide ,             eb c a                    le , e                  ac i                          f           a e, a                               a ed                            ce


                 a n or v to s r p opy or mon tor ny port on o t
                         d/                de         ice                     s t or ny ont nt on t
                                                                                c a                e, c  s t un ss t omp ny s v n you p rm ss on to        i                a                     i              f       he Web                  i e               a                   c            e                        he Web                  i e,                le               he C                           a           ha          gi           e                             e             i       i


                 d o so n wr t n   i                 i i       g.




        13. (     m ou w not opy ny ont nt sp y t rou t rv s n u n ut not m t to oo rv rov rs m nu ont nt n r v ws or
                         ) Y                       ill                 c                       a           c                   e           di                  la       ed            h            gh        he Se                  ice          , i        cl     di          g b                                li     i ed                  F            d Se              ice P                        ide           ’       e               c                    e           a       d     e      ie              , f


                 r pu t on n ny orm t or m
                     e         blica i                         i        a               f                a                             edia.




        14. (     n ou w not on u t ny syst m t r tr v o t or ot r ont nt rom t
                         ) Y                    ill                    c               d       c  s t o tw r or rv s
                                                                                                       a                               e           a ic                e        ie       al        f da a                           he          c            e             f                       he Web                    i e, S            f         a e                 Se            ice         .




        15. (     o ou w not try to rm ot r s rs or t omp ny t
                         ) Y                    ill                           s t o tw r or rv s n ny w y w tso v r
                                                                                           ha                              he          U           e                            he C                    a        ,       he Web                      i e, S            f               a e                Se            ice          i     a                 a               ha            e       e .




        16. (     p ou w r port ny rrors u s un ut or z
                         ) Y                    ill       e         ss m t o o o s or ny r o our nt tu prop rty r ts t t you un ov r n your us o
                                                                                a              e                       , b         g           ,            a           h            i   ed acce                              e h           d       l    gie                       a               b each                    f             i       ellec                 al                   e                    igh               ha                                       c        e      i                                e       f


                 t   he Webs t o tw r or rv s      i e, S              f               a e                 Se                  ice         .




        17. (     q ou w not us our promot on or r t o syst m y r m n mu t p oupons t on
                         ) Y                    ill                    ab               e                                                  i           al                   c edi             c       de                 e          b           edee               i       g                       l i        le c                             a             ce.




2. U         sr  e        Acc                  ount
You r t so ut or z s r o ny ount you r t t rou t rv s ou r so y n u y r spons or t v t s t t o ur un r your
            a e       he                   le a            h               i    ed U                e              f a                 acc                                               c ea e              h                gh        he Se                    ice           . Y                 a e                 lel       a       d f       ll        e                        ible f                   all ac i              i ie                ha                   cc                      de



p sswor or ount ou r t t you s mon tor your ount to pr v nt us y m nors n you w
    a                d             acc                         . Y                     ag ee pt u r spons ty or ny un ut or z us
                                                                                                             ha                                    hall                           i                          acc                                        e    e                         e b                i             , a          d                      ill acce                   f      ll       e                       ibili             f            a                        a        h             i   ed               e



o your p sswor or your ount y m nors ou m y not ut or z ot rs to us your s r st tus n you m y not ss n or ot rw s tr ns r your s r
    f                a                         d                                acc                            b                   i                       . Y                    a                   a          h        i   e             he                             e                        U         e         a                , a    d                        a                    a        ig                            he              i       e            a        fe                         U        e



account to ny ot r p rson or nt ty ou you susp t t t ny un ut or z p rty m y us n your p sswor or ount you w not y t omp ny
                              a                      he                e                               e               i       . Sh                    ld                                     ec          ha         a                      a        h        i    ed                  a                      a    be                i    g                      a                     d               acc                       ,                       ill                  if          he C                            a



mm t y you prov ny n orm t on t t s untru n ur t not urr nt or n omp t or t omp ny s r son
i           edia el                . If                                        ide a                   i      roun s to susp t t t
                                                                                                               f                   a i                      ha              i                     e, i       acc              a e,                      c          e               ,           i    c                  le e,                   he C                          a            ha           ea                    able g                                   d                               ec           ha
su n orm t on s untru n ur t not urr nt or n omp t t omp ny s t r t to susp n or t rm n t your ount n r us n nys n
    ch i     f               a i               i                           e, i       acc                  a e,                         c             e           ,           i    c                        le e,               he C                               a            ha                he              igh                                e       d                e           i       a e                                   acc                             a       d    ef           E  gli
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   e a               ha(US)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         d all



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                                                                                                        of 49       (           a                         i               he e                     f). Y                ag ee                                           c ea e a                          acc                                            e    he Se                     ice            if                       ha                  e bee                       e       i              l        e                ed b        y
t omp ny or you v n pr v ous y nn rom us o t rv s
                 H               e (/c                                      e         /    /)                                                   O de                           i h D                            Da                  h                                                         Deli                 e            S                                                                                 P                             la          T           ic

he C                     a        ,            if                  ha          e bee                             e          i           l    ba                   ed f                                  e        f          he Se                         ice       .




3. U        s r ont nt
             e           C                     e




        1. (a) U   s r ont nt    e  omp ny m y prov you w t nt r t v opportun t s t rou t rv s n u n y w y o x mp t
                                       C               e            . The C                                    a                    a ty to post              ide                                  i h i         e ac i                      e                                       i ie              h                  gh            he Se                 ice         , i       cl        di            g, b                            a               f e     a               le,      he abili


             U  s r r t n s n r v ws o t v y s r ont nt ou r pr s nt n w rr nt t t you r t own r o or ot rw s v t r t to prov
                      e          a i       g           a       d       e       ie              (c           llec i                  el      , “U          e          C                 e            ”). Y                       e            e        e            a        d           a         a               ha                         a e          he                       e          f,                      he                        i   e ha                e       he          igh                                 ide, all


             U  s r ont nt t t you su m t post n or ot rw s tr nsm t
                      e       C                e               ha              v       t rou t rv s ou r y r nt t omp ny p rp tu
                                                                                               b                i ,                     a       d/                        he                   i    e       a                       i    (“Make A                               ailable”)                         h             gh           he Se                   ice          . Y              he eb                            g a                      he C                           a              a        e        e           al,


             irr vo  e     tr ns r
                                 cable,u y p roy ty r non x us v wor w u y su ns
                                                           a           fe able, f                 r t n ns to us opy sp y pu s mo y
                                                                                                           ll               aid,                al               -f ee,                             -e       cl                 i       e,                    ld        ide, f               ll               blice                     eable                igh          a        d lice                    e                              e, c                    , di            la       ,             bli      h,               dif         ,


             r mov pu y p r orm tr ns t r t r v t v wor s str ut n or ot rw s us t s r ont nt n onn t on w t t omp ny s
                 e               e,                blicl                   e f                 ,           a                la e, c ea e de i                                     a i              e                k       , di              ib                e a             d/                     he              i     e              e     he U               e        C               e             i       c                           ec i                        i h         he C                            a        ’


             b us n ss n n orms now nown or r t r nv nt
                         i    e        a            d i               s s w t out not ﬁ t on to n or pprov y you ou urt r r nt t omp ny
                                                                   all f                                         k                               he eaf e                              i            e       ed (“U                       e        ”),             i h                              i      ca i                              a    d/              a                      al b                                . Y                     f           he          g a                   he C                          a         a


             lice ns to us your us rn m n or ot r s r proﬁ n orm t on n u n w t out m t t on your r t n s story to ttr ut s r ont nt to you n
                                 e                   e                            e         a              e a              d/                   he              U        e                          le i        f                      a i               , i      cl           di       g         i h                     li           i a i                                     a i     g            hi                           ,               a        ib             e U         e        C                  e                                i


             c onn t on w t su s s w t out not ﬁ t on or pprov y you
                             ec i                          i h              ch U            e          ,            i h                              i    ca i                                 a                        al b                              .




        2. (b) Feedback. Y    ou r t t ny su m ss on o ny s su st ons n or propos s to t omp ny t rou ts su st on
                                                                           ag ee                   ha            a                    w orum
                                                                                                                                        b        i           i                f a                  idea             ,               gge               i             , a         d/                                         al                    he C                         a               h                 gh i                                gge                 i           , feedback,                              iki, f


             or s m r p si       ila       s t your own r s n t t t omp ny s no o t ons n u n w t out m t t on o t ons o onﬁ nt ty
                                               age                 (“Feedback”) i                                           a                                         i       k a          d         ha             he C                                  a             ha                         bliga i                              (i       cl       di         g            i h                  li         i a i                         ,       bliga i                              f c                    de           iali            )


             w t r sp t to su
                 i h          e        ec    ou r pr s nt n w rr nt t t you v r ts n ss ry to su m t t
                                                                       ch Feedback. Y                               n you r y r nt to omp nye            e       e            a    d                a       a               ha                                ha        e all            igh                      ece               a                            b        i        he Feedback a                                                    d                   he eb                    g a                         C               a


             a p rp tu rr vo
                      e          e   tr ns r
                                           al, i   u y p roy ty r non x us v wor w u y su ns
                                                           e               cable,                  a        r t n ns to us opy sp y
                                                                                                                    fe able, f                       ll               aid,                         al       -f ee,                               -e           cl            i    e,                   ld           ide, f               ll               blice                eable                    igh              a           d lice                       e                   e, c                      , di          la      ,


             pu s mo y r mov pu y p r orm tr ns t r t r v t v wor s str ut n or ot rw s us su
                      bli        h,                 dif        ,       e               e,                  blicl                    e f                      ,        a           la e, c ea e de i                                          a i              e                 k       , di              ib           e a              d/                   he               i    e          e              ch Feedback.




        3. (c) Ra i  t n s n v ws o t xt nt t t you r s to r t n post r v ws o oo rv rov rs or ot r us n ss s t n s n
                                       g           a       d Re              ie            . T                 he e                 e                ha                        a e a                    ked                         a e a                 d                         e       ie                    f F               d Se                 ice P                    ide                               he                      b           i    e          e       (“Ra i                 g       ” a          d


             “Re  v ws su t n s n v ws r ons r s r ont nt n r ov rn y t s r m nt t n s n v ws r not n ors y t
                             ie        ”),                 ch Ra i                     g       a           d Re                  ie             a e c                         ide ed U                          e           C                e                a     d a e g                           e           ed b                  hi       Ag ee                        e         . Ra i                  g           a               d Re             ie              a e                       e       d             ed b                he


             C  omp ny n o not r pr s nt t v ws o t omp ny or ts ﬃ t s
                                 a             a       d d                           omp ny o s not ssum
                                                                                       e           e        e ty or t n s n v ws or or ny
                                                                                                                                he          ie                    f       he C                              a                       i        a            lia e             . The C                                   a             d        e                   a                  e liabili                           f                   Ra i             g       a          d Re             ie                     f        a


             clai ms or onom oss r su t n rom su t n s n v ws
                                  f        ec                              ic lus w str v to m nt ne      v o nt r ty w t r sp t to t n s n
                                                                                                                 l i            g f                           ch Ra i                      g         a      d Re                    ie            . Beca                         e           e                i   e                     ai           ai      a high le                        el            f i           eg i                               i h        e           ec                     Ra i          g       a       d


             Re  v ws post or ot rw s m v
                         ie                            edt rou t rv s you r t t you w s ny t n or v w on ﬁrst n xp r n w t
                                                                                  he               i       e                ade a           ailable                       h                    gh        he Se                          ice           ,                 ag ee                 ha : (i)                                       ill ba          e a                  Ra i            g               Re                    ie                                  -ha             d e                e ie          ce           i h


             t oo rv rov r or us n ss you w not prov
                 he F                 d Se                 ice P          t n or v w or ny oo rv rov r or us n ss or w you v n
                                                                                      ide                       b               i   e        ; (ii)                               ill                                   ide a Ra i                              g               Re           ie           f           a             F            d Se                ice P                    ide                         b                 i       e           f               hich                           ha       e a


             own rs p nt r st mp oym nt r t ons p or ot r ﬃ t on or or ny o t t omp ny s omp t tors you w not su m t t n or v w n
                             e       hi         i          e e              , e            l                    e                   ela i                     hi                           he           a        lia i                                f            a                 f       ha        c                     a           ’       c               e i                    ; (iii)                                 ill                             b           i    a Ra i                 g            Re          ie          i


             e x n or p ym nt r oo t ms or ot r n ﬁts rom oo rv rov r or us n ss n v your r v w w omp y w t t t rms o t s
                     cha              ge f                     a            e          , f ee f                             d i e                ,                    he           be               e            f                      a F                   d Se                  ice P                         ide                   b        i       e         a      d (i           )                        e             ie                      ill c                   l           i h            he        e                   f       hi


                 r m nt w t rm n n our so s r t on t t ny t n or v w ou m n s t nt r ty o t t n s n v ws w m y x u
             Ag ee                     e            . If           e de e                      i       e, i                                 le di                c e i                     ,       ha        a              Ra i                  g                Re           ie           c            ld di                 i   i       h    he i                eg i                     f    he Ra i                                  g       a        d Re               ie           ,         e            a       e    cl       de


             su s r ont nt w t out not
                     ch U             e        C               e                  i h                                   ice.




4. I    nt   ellec                tu rop rty wn rs p
                                           al P                              e                     O                            e           hi



The C omp ny on n ts nsors w r pp
                         a            al     s own r t t t n nt r st n u n r t nt tu prop rty r ts n n to t
                                                     e (a              d i         lice                                 ,       he e a                           licable)                          hall                         all          igh ,                i le a             d i              e e              , i      cl          di       g all           ela ed i                          ellec                        al                          e               igh              , i       a        d            he



Web  s t t o tw r n t rv s s r m nt s not s n o s not onv y to you ny r ts o own rs p n or r t to t
            i e,      he S             f             a e a                 d      he Se                        st t
                                                                                                               ice              . Thi        Ag ee                            e            i                    a       ale a                 d d               e                       c              e                                 a               igh                  f               e             hi              i                       ela ed                           he Web                         i e,        he



S o tw r or t rv s or ny nt tu prop rty r ts own y t omp ny
    f       a e                  he Se                 ice          omp ny n m t omp ny o o n t pro u t n m s
                                                                       ,          a            i           ellec                    al                       e                igh                               ed b                         he C                               a        . The C                                    a                a       e,       he C                             a              l         g            , a            d     he                 d           c             a        e



a sso t w t t
        cia ed       s t t o tw r n rv s r tr m r s o t omp ny or t r p rt s n no r t or ns s r nt to us t m ou
                                 i h       he Web                           i e,        he S                    f           a e a               d Se                  ice              a e               ade                    a k                   f       he C                           a                         hi d                 a        ie      , a       d                 igh                      lice                          e i          g a                ed                     e        he           . Y



   r t t you w not r mov t r or o s ur ny opyr t tr m r s rv m r or ot r propr t ry r ts not s n orpor t n or omp ny n
ag ee        ha                            ill                      e                  e, al e                                      b   c        e a                  c                        igh ,             ade                     a k,                 e         ice              a k                           he                             ie a                    igh                           ice                 i           c                    a ed i                          acc                        a        i    g



t
he Web   s t t o tw r or t rv s
                      i e,           he S              f           a e                 he Se                            ice         .




5. Pa        ym nt rms       e             Te




                  r s ou un rst n t t t pr s or m nu t ms sp y t rou t rv s m y ﬀ r rom t pr s oﬀ r or pu s y oo
        1. (a) P ice                       . Y                         de              a       d           ha : (a)                     he               ice              f                    e            i e                     di            la          ed            h               gh         he Se                        ice                  a       di       e        f                    he                      ice                         e ed                            bli            hed b                F         d


             Se rv rov rs or t s m m nu t ms n or rom pr s v
                             ice P                     ide             t ot r t r p rty w s t s n t t su pr s m y not t ow st pr s
                                                                        f           he             a             e              e           i e                   a       d/                   f                        ice              a    ailable a                                  he               hi d-                 a                    eb       i e          a       d         ha                   ch                         ice                    a                   be             he l              e                ice


             at w t m nu t ms r so
                             hich           t omp ny s no o t on to t m z ts osts proﬁts or m r ns w n pu s n su pr s n t
                                           he                  e            i e                a e                      ld; (b)              he C                              a                   ha                           bliga i                                  i e             i    e i                 c             ,                                         a gi                     he                               bli             hi       g              ch              ice        ; a          d (c)            he


             C omp ny r s rv s t r t to n su pr s t ny t m t ts s r t on ou r
                                 a                 e   e            e          he        or tr ns t on t x s on t rv s prov un r
                                                                                           igh                          cha              ge               ch                  ice              a        a               i           e, a          i           di        c e i                 . Y                  a e liable f                              all          a            ac i                       a         e                           he Se                   ice                            ided                  de


             t s r m nt ot r t n t x s s on t omp ny s n om ym nt w pro ss y t omp ny us n t pr rr p ym nt m t o
                 hi          Ag ee                   e             (        he             ha                   a       e           ba      ed                        he C                              a           ’       i       c             e). Pa                            e                 ill be                        ce           ed b                 he C                             a            ,                   i       g       he              efe             ed             a            e                e h                 d


             de s n t n your ount
                         ig       a ed i                                    acc                        .




        2. (b) N   o un s r s p y you or omp t n v r or rs r ﬁn n non r un
                                  Ref                  d       . Cha ge                              omp ny s no o t on to prov
                                                                                                       aid b                                f            c                    le ed a                       d deli                  e ed                        de              a e                al a               d                  - ef                dable. The C                                                 a                     ha                          bliga i                                             ide


             r un s or r ts ut m y r nt t m n
                 ef           d                c edi s n omp ny s so s r t on
                                                                       , b                  a          g a                          he          , i           each ca                          e i          C                       a         ’                 le di            c e i                    .




        3. (c) P  romot on ﬀ rs       omp ny t ts so s r t on m y m promot on oﬀ rs w t ﬀ r nt tur s n ﬀ r nt r t s to ny o our s rs
                                               i           al O              e         . The C                                      a       , a          i                le di                    c e i                ,           a                 ake                                     i        al                  e                 i h di              e e               fea                  e         a             d di                e e                     a e                   a                 f                U    e              .


             The s promot on oﬀ rs un ss m to you s
                             e                           v no r n w tso v r on your oﬀ r or ontr t
                                                           i           al             e        ,       n our you to
                                                                                                                le            t our     ade                               ,    hall ha                      e                   bea i                 g            ha                e        e                                              e               c                ac . We e                           c                         age                                 check back a


             Web  s t p r o y you r nt r st n rn n mor out ow w r or t o tw r or rv s
                                 i e           e i         dicall                 if                   a e i                    e e             ed i              lea              i           g                e ab                          h                         e cha ge f                                    he S               f        a e                 Se               ice         .




        4. (d) Fee   s or rv s n o tw rf       omp ny m y n t
                                                    Se              s or our rv s s w m n ss ry or ppropr t or our us n ss
                                                                   ice          a       d S                f            a e. The C                                        a                        a        cha             ge               he fee                     f                         Se              ice          a             e dee                        ece                 a                     a                                    ia e f                             b              i    e        .




        5. (e) Refe   rr ro r m     omp ny s rr ro r m rms n on t ons r v
                                           al P                g a              . The C t ttps www oor s om r rr t rms      a           ’   Refe                      al P                 g a               Te                         a     d C                      di i                   a e a                   ailable a                      h               ://                  .d                    da              h.c                         / efe               al- e                      /


             (https www oor s om r rr t rms ro r m n r t ro r m t omp ny oﬀ rs ts r st r ustom rs n oo st n n t
                                 ://                   .d                  da      h.c                      / efe                   al- e                        /) (“P                        g a              ”). U                   de            he P                  g a               ,       he C                              a                    e        i            egi             e ed c                                               e           i       g           d          a           di       g    he


             opportun ty to rn oor s r ts s promot on r w r s y nv t n t r
                                           i                   ea              D   r ns        Da  rr r n to r st r s n w oor s
                                                                                                                h c edi                         a                                  i               al       e       a d                 b         i           i i       g        hei              eligible f ie                              d       (each, a “Refe                                    ed F ie                              d”)                     egi             e       a              e        D             Da         h
           custom rs n p t r n t or r t rou t rv y us n un qu r rr
                                     e           a       d       lace               hei  n rson n or   i    i ial  u ﬁ        rr n s ﬁn n
                                                                                                                                     de                  h                   gh            he Se                       ice b                             i       g a                   i        e           efe                 al ID li                 k (“Pe                            al Li                 k”). F                       each Q                               ali        ed Refe Ealgli
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                              s n on t onsr o tr w t ro oor
                                                        r m orst rm n t t ro r mv try nyupport               opu r op s
               he P                  g a             ) ge             e a ed                           h             gh a U                          e       ’       Pe                        al Li               k,           he U                     e               a        ecei                  e a c edi                           a                   eci       ed                           he C                              a            ’       Refe                        al P                  g a                      age. Y                         ag ee


               H
               e             ae cha
                                (/c                   ge             hee e/               tm   /)a             d c                   di i                O de
                                                                                                                                                            f heiPh D
                                                                                                                                                                    g a                                                    Da                h
                                                                                                                                                                                                                                             e               i       a e          he P                      Deli
                                                                                                                                                                                                                                                                                                            g a                     e
                                                                                                                                                                                                                                                                                                                                    a       aS              i       e.                                                                   P                        la            T             ic




       6. (f) Das ss u s r pt ons s ss s su s r pt on t t prov s r
                                hPa                  S           b    c i     v r s no v ry on or rs w t m n mum su tot s st t w n
                                                                                       i               . Da                hPa                       i    a                  b      c i                i               ha                                ide                 f ee deli                      e ie                (               deli            e        fee)                                de                          i h a                    i        i                               b             al a                        a ed                   he


           you s n up x u n t x s n t ps r
                            ig                    (evr s p   cl    t rou t rv s or mont y or y r y
                                                                          di       g           a       e     r a    v r s r su t to v ry
                                                                                                                         d           i        ) (“F ee Deli                                        e ie                ”)        laced                       h                   gh         he Se                           ice             f           a                     hl                        ea l                 fee. F ee Deli                                           e ie                 a e               bjec                             deli             e


            rv r n o r p v
           d i         e       a      ty n t x s m y pp y to t ost o t oo n or v r s t t you or r ou m y prov n opt on r tu ty
                                       d ge              g a               hic a                ailabili                       , a            d          a       e                   a     a                   l                    he c                                 f    he f                  d a                 d/              be           e age                        ha                                     de . Y                                   a                           ide a                              i            al g a                       i       .


           Dep n n on t on t ons s st t w n you s n up s rv
                           e     di          g                   he c  s m y pp y ou w di i    r your ﬁrst mont y su s r pt on on t t
                                                                                                                   a                 a ed                        he                                    ig                   ,        e            ice fee                              a        a                   l   . Y                      ill be cha ged                                                                                           hl                       b      c i               i           fee                              he da e


           you pur s your su s r pt on
                                     cha             e                             b       c i              i              . BY DEFAULT (AND WITH PRIOR NOTICE TO THE EXTENT REQUIRED BY APPLICABLE LAW), YOUR DASHPASS


           SUBSCRIPTION WILL AUTOMATICALLY RENEW, AND THE THEN-CURRENT DASHPASS FEE WILL BE AUTOMATICALLY CHARGED TO YOU AT


           THE TIME OF RENEWAL. If    you o not w nt your su s r pt on to utom t y r n w you n n t s u t v t              nu or t n pp
                                                                                                                               d                                 a                                             b       c i               i                       a                     a icall                           e          e       ,                   ca        cha              ge                hi          defa                 l           ia           he Me                                            he i             -a


           Da s ss nn r p n n on t syst m you r us n ou n n your s ss su s r pt on t ny t m on t pp t on n
                       hPa                   ba              e , de                 e           di         g                       he                            e                         a e                     i       g. Y                      ca               ca          cel                               Da              hPa                         b     c i              i               a         a               i        e                       he A                            lica i                 a           d


           door s om ou must n t st y or t n xt s u su s r pt on r n w t to vo n r or t n xt su s r pt on
                           da        h.c                  . Y                                      ca           cel a                    lea                 1 da                  bef                 e           he           e                -       ched                    led                b           c i             i               e        e          al da e                        a              id bei                  g cha ged f                                                      he        e                       b           c i        i


           p roe i       r n w t s nu ry you must n y
                             d (e.g., if                  e          e      pm on nu ry you p rt p t n r or ot r promot on
                                                                               al da e i                           Ja                a               10,                                               ca          cel b                     11:59:59                                      PT                           Ja              a           9). If                             a       ici               a ed i                   a f ee                                      he                                     i               al


           su s r pt on p r o or s ss you m y n w t n t ﬁrst ours o your p
                   b       c i           i               e i              d f              s ss su s r pt on n r v u r un o your
                                                                                           Da              hPa                 ,                             a           ca          cel                   i hi                 he                           48 h                                   f                               aid Da                  hPa                         b       c i                  i           a        d       ecei                         e a f              ll       ef            d           f


           Da s ss     hPa s pp         or ot r m m rs you n your s ss su s r pt on w t n t ﬁrst ours n v not p
                                             fee (a                  a             licable). F                                 all   n or r          he                      e         be                  , if                     ca               cel                         Da            hPa                                  b   c i                 i             i hi                 he                            48 h                                 a            d ha               e                      laced a                                   de


           dur n t t p r o oor s w r un your s ss
                       i     g       ha               e i             you n t ny ot r t m you w not r v r un ut you n ont nu to n oy
                                                                     d, D                      Da           h              ill           ef              d                          Da             hPa                     fee. If                                   ca          cel a              a                           he              i       e,                        ill                        ecei                e a          ef                  d, b                                      ca           c                   i           e             e       j


           t r          v r s t rou t n o your t n urr nt n p r o rom t m to t m oor s oﬀ rs som ustom rs tr or ot r promot on
               he F ee Deli                              e ie                  h                gh             he e                      d           f                         he          -c                      e            billi                g           e i          d. F                              i           e               i        e, D                     Da           h               e                             e c                                    e                  ial                    he                                           i           al


           su s r pt ons to s ss u tr or promot on su s r pt ons r su t to t s rms x pt s ot rw s st t n t promot on oﬀ r n y
                   b       c i           i                       Da            hPa                     . S         ch                ial                                               i           al                  b        c i              i                   a e               bjec                                 he          e Te                        e     ce                a                    he                  i    e           a ed i                              he                                 i               al               e . O                    l


           on tr or promot on su s r pt on s v
                   e           ial                     p r ous o oor s w you t pp
                                                                           i        al                 b  t r your r tr p r o s xp r you
                                                                                                               c i               i               i       a       ailable                           e        h                   eh               ld. D                        Da           h            ill bill                                he a                 licable fee af e                                                             f ee                         ial            e i           d ha             e                   i ed. If


           can       s ss or t tr p r o s xp r oor s w not r you oor s m y n t mont y or nnu
                       cel Da                    hPa                 bef               e           he              ial             r or
                                                                                                                                     e i             d ha                    e           i ed, D                                Da               h           ill                  cha ge                                     . D                    Da          h            a         cha                 ge            he                           hl                           a                   al fee cha ged f


           Da s ss t ny t m ut ny su
                       hPa                   a     n w not pp y to urr nt s ss m m rs unt su t m s your urr nt su s r pt on xp r s n
                                                     a                i        e, b                    a                       ch fee cha                                     ge           ill                         a             l                   c               e         Da           hPa                                 e           be                        il           ch              i         e a                              c                   e                       b        c i           i               e               i e       a           d


           your su s r pt on s r n w or not r t rm m y n t t rms or on t ons pp
                                   b     c i             i            i         e          e       to s ss rom t m to t m ny n w or r n w
                                                                                                       ed f                    a                 he              e                 . We                        a       cha                   ge           he                 e                      c                   di i                     a              licable                        Da            hPa                     f                        i            e                  i        e. A                      e                         e        e          ed


           D oor s ss su s r pt ons w su t to t t rms n on t ons t v t t t t m n sp y w n you s n up or s ss oor s
                            Da           h Pa                             b     c i                i                     ill be                          bjec                              he              e                a            d c                 di i                          ac i             e a                 ha              i       e a          d di                  la          ed                he                                   ig                          f            Da           hPa                  . D                   Da              h


           m y so m su
                   a       al      n s w t r sp t to urr nt s ss su s r pt ons n t t s oor s w prov you w t not v m o t
                                                 ake                  ch cha                       ge                  i h               e               ec                    c               e               Da           hPa                                  b       c i           i                . I                 ha          ca          e, D                  Da            h              ill                       ide                                  i h                         ice           ia e             ail                 f    he


           cha n s n w n t os n s w t ﬀ t you s r w t t
                           ge            a       d           he                h n s to your urr nt s ss su s r pt on t rms n on t ons you
                                                                                           e cha                     ge                      ill         ake e                     ec . If                                 di        ag ee                           i h          he cha                            ge                                      c            e             Da          hPa                               b        c i                 i                e                       a    d c                  di i                      ,


           m y n your s ss su s r pt on n r v r un o your su s r pt on on pro r t s s u t rom t n o t mont ur n
                   a       ca          cel                        Da               hPa                             b       c i               i               a           d         ecei            e a             ef                d               f                            b        c i                  i           fee                      a                   a a ba                    i       calc                  la ed f                                       he e                d            f    he                                  h d            i      g


           w you n t su s r pt on our s ss su s r pt on nnot tr ns rr or ss n oor s r s rv s t r t to pt r us or
               hich                              ca      cel               he                  b       c i             i             . Y                     Da               hPa                              b       c i               i               ca                       be                a               fe          ed                   a          ig       ed. D                             Da            h       e        e           e               he            igh                         acce                     ,       ef            e,


           can your s ss su s r pt on t ny t m n ts so s r t on oor s n s your s ss su s r pt on you w r v r un o your
                       cel                        Da             hPa                           b        c i                i             a           a                   i         e i         i                   le di             c e i                           . If D                    Da               h ca                cel                             Da            hPa                             b       c i             i               ,                         ill           ecei              e a          ef                   d        f


           su s r pt on on pro r t s s u t rom t n o t mont ur n w your su s r pt on w s n
                   b       c i           i           fee                       a                       a a ba                  i         calc                 la ed f                                       he e                d            f       he                            h d                  i           g        hich                                     b        c i             i                     a           ca       celled.




6. Thi d-Pa    r                       rty nt r t onsI           e ac i




                  r rty s t s pp t ons n v rt s m nts
       1. (a) Thi d-Pa                                       Web      rv s m y ont n n s to t r p rty w s t s r rty s t s n
                                                                                   i e         , A                 lica i                                a       d Ad                  e           i       e           e             . The Se                                ice                a               c               ai          li       k                   hi d-                 a                         eb          i e          (“Thi d-Pa                                               Web               i e             ”) a             d


           app t ons r rty pp t ons n v rt s m nts r rty v rt s m nts o t v y r rty s t s v rt s m nts
                       lica i                        (“Thi d-Pa                                        A               lica i                            ”) a                d ad              e           i       e        e                    (“Thi d-Pa                                         Ad                  e       i   e           e               ”) (c             llec i               el        , “Thi d-Pa                                               Web                    i e           & Ad             e               i    e        e               ”).


           Whe   n you on n to r rty s t r rty pp t on or r rty v rt s m nt t omp ny w not w rn you t t you v
                                                 click                     a li        k                   a Thi d-Pa                                            Web                 i e, Thi d-Pa                                                   A               lica i                             Thi d-Pa                                        Ad          e         i   e            e             ,    he C                                a                         ill                         a                                ha                         ha                 e


           left t omp ny s s t or rv s n w not w rn you t t you r su t to t t rms n on t ons n u n pr v y po s o not r
                           he C                          a            ’        Web                 i e                 Se                ice                 a       d              ill                            a                                 ha                          a e                    bjec                            he              e                a        d c                  di i                      (i       cl          di              g               i       ac                    licie            )            f a              he


           w s t or st n t on u
               eb            i e         r rty s t s v rt s m nts r not un r t ontro o t omp ny
                                                 de          i       a i            . S                       omp ny s not r spons or
                                                                                                       ch Thi d-Pa                                               Web                 i e               & Ad                 e            i   e           e                    a e                                       de          he c                             l        f    he C                                  a           . The C                                        a                  i                 e                               ible f


           any r rty s t s r rty pp t ons or ny r rty v rt s m nts
                           Thi d-Pa                              Web                i e    omp ny prov s t s r rty s t s
                                                                                                   , Thi d-Pa                                            A               lica i                                    a                Thi d-Pa                                     Ad            e            i       e        e                  . The C                            a                                     ide              he          e Thi d-Pa                                                Web              i e                 &


           Ad  v rt s m nts on y s onv n n n o s not r v w pprov mon tor n ors w rr nt or m ny r pr s nt t ons w t r sp t to su
                           e     i     e         e                         l       a           a c                   e         ie            ce a                d d                e                              e    ie           , a                              e,                    i               , e             d           e,              a       a         ,                 ake a                                e            e       e               a i                              i h          e        ec                                ch


               r rty s t s v rt s m nts or t r pro u ts or s rv s ou us n s n r rty s t s v rt s m nts t your own r s ou
           Thi d-Pa                               Web                 i e           & Ad                   e         i         e         e                ,                   hei                          d           c                         e           ice             . Y                        e all li                    k       i       Thi d-Pa                               Web                       i e          & Ad                    e            i       e          e                a                                              i    k. Y


           s ou r v w pp
               h           ld       t rms n po s n u n pr v y n t t r n pr t s o ny r rty s t s or r rty pp t ons
                                     e       ie          a                licable                      e                   a         d                   licie               , i     cl        di              g            i    ac               a          d da a ga he i                                             g           ac ice                          f a            Thi d-Pa                                       Web                     i e                       Thi d-Pa                                 A                       lica i                    ,


           an m w t v r nv st t on you n ss ry or ppropr t or pro n w t ny tr ns t on w t ny t r p rty
                   d           ake                ha e                e        i           e           iga i                                         feel                    ece               a                       a                                 ia e bef                          e                    ceedi                   g            i h a                        a            ac i                              i h a                            hi d                 a               .




       2. (b) A  pp tor s ou now     S      n r t tt v
                                                     e   . Y    ty o t pp t on s p n nt on t t r p rty rom w you r v t
                                                                               ack                         ledge a                           d ag ee                               ha              he a                ailabili                                  f    he A                      lica i                          i       de           e          de                         he              hi d                  a                f                             hich                                ecei             ed                  he


           App t on ns     lica i  t pp on or n ro pp stor s pp tor ou now
                                                  lice                e, e.g.,                 t t t s r m nt s tw n you n t
                                                                                                   he A                        le iPh                            e                 A       d               id a                                      e       (“A                  S                 e”). Y                          ack                         ledge                  ha              hi            Ag ee                        e                i           be                 ee                         a           d           he


           C omp ny n not w t t pp tor
                               a             a     omp ny not t pp tor s so y r spons or t o tw r n t rv s n u n t
                                                     d                         i h             he A                        S                 e. The C                                          a            ,                    he A                                S           e, i                   lel                 e                        ible f                       he S                 f          a e a                  d        he Se                            ice             , i      cl       di          g           he


           App t on n t rv s t ont nt t r o m nt n n support s rv s n w rr nty t r or n r ss n ny ms r t n t r to
                           lica i                 a       d          he Se                      ice            ,     he c                            e                   he e              f,               ai             e         a           ce,                                           e            ice             a        d              a       a                 he ef                        , a           d add e                              i       g a                     clai                   ela i                   g           he e


           (e.g.,pro u t ty            omp n or nt tu prop rty n r n m nt n or r to us t pp t on you must v
                                       d         c       liabili                   , legal c                           ss to w r ss
                                                                                                                               lia           ce                      i         ellec                       al                       e                i       f i             ge            e        ). I                        de                              e    he A                      lica i                        ,                                         ha             e acce                                 a               i ele


           n twor n you r to p y
               e                   k, a      s sso t w t su
                                                 d                 ss ou so r to p y
                                                                      ag ee                  s ny r y t pp tor n onn t on w t
                                                                                                           a         all fee                         a                   cia ed                        i h                  ch acce                                  . Y           al               ag ee                                   a        all fee                  (if a                ) cha ged b                                            he A                            S                e i       c                       ec i                          i h


           t pp t on or t rv s ou r to omp y w t n your ns to us t pp t on s on t on upon your omp n w t
               he A                  lica i                                    he Se                    ice            . Y                   ag ee                               c                     l           i h, a                    d                           lice              e                            e       he A                     lica i                    i       c               di i                  ed                                                    c                       lia       ce                  i h, all


           app         t r p rty t rms o r m nt t pp tor s t rms n po s w n us n t pp t on ou now
                       licable                   hi d-                    a                e                            t t t pp tor
                                                                                                                   f ag ee                               e               (e.g.,            he A                             S                e’              e                   a         d                licie               )       he                      i    g        he A                         lica i                    . Y                  ack                             ledge                     ha               he A                          S           e


           (an ts su s r s r nt n t r p rty n ﬁ r s o t r m nt n v t r t to n or t m
                       d i                   b       idia ie                   ) a e i                     e       ded                   hi d-                   a                 be              e       cia ie                            f       he Ag ee                               e               a           d ha            e           he          igh                    e       f             ce           he              .




7. T a r ns t ons nvo v n
                       ac i                              I                     l    i           g Alc                      oo      h             l



You m y v t opt on to r qu st v ry o o o pro u ts n som o t ons n rom rt n oo rv rov rs you r v your v ry n t
           a       ha          e       he                    i                      e                  e           deli              e                   f alc                h        l                   d       c            i                        e l             ca i                       a           d f                     ce              ai          F             d Se                 ice P                             ide              . If                            ecei                 e                     deli                e         i           he



Un t t t s you r t t you w on y or r o o pro u ts you r y rs o or o r you r v your v ry n not r ountry you r
      i ed S a e                 ,                ag ee                    ha                                  ill               l                   de          alc               h       l                   d        c            if                      a e 21                    ea                       f age                               lde . If                           ecei                  e                       deli                 e                i       a               he           c                             ,                ag ee



t t you w on y or r o o pro u ts you r o
ha                     ill           l         to pur s o o pro u ts n t r v nt ur s t on ou so r t t upon v ry o
                                                     de          alc            h          l               d         c             if                     a e                  f legal age                                                       cha                 e alc             h        l                   d        c          i            he          ele           a           j           i     dic i                       . Y                  al                ag ee                      ha ,                                  deli          e                   f



  o o pro u ts you w prov v ov rnm nt ssu
alc    h   l               d       c         ,  nt ﬁ t on prov n your to t s r v r n t o o pro u ts n t t t
                                                                     ill                   ide              alid g                           e                   e             -i                  ed ide                        i       ca i                                      i       g                            age                         he Da               he             deli            e i               g       he alc                       h            l              d         c           a        d       ha                   he
r p nt w not ntox t w n r v n v ry o su pro u ts you or r o o pro u ts you un rst n n now
    eci   ie               ill                    be i                     ica ed                      he            t nt n s t r t
                                                                                                                           ecei          i        g deli              e               f           ch               d      c       . If                     de        alc             h    l           d        c         ,                     de            a        d a    d ack                     ledge                    E
                                                                                                                                                                                                                                                                                                                                                                                                                               ha       gli
                                                                                                                                                                                                                                                                                                                                                                                                                                          eihhe
                                                                                                                                                                                                                                                                                                                                                                                                                                              (US)
                                                                                                                                                                                                                                                                                                                                                                                                                                                 he



Comp nyomnor t onsum
            a     s r rsn s pt your or rro r wot o pro
                      Case  4:19-cv-06098-JST
                                          he Da

                                                    oor u tss n t or r w onvy ry upport
                                                         Document
                                                               he
                                                                    17-1   Filed
                                                                               ca  v r t oo rvopu rovr opr s pts your or r
                                                                                  11/15/19 acce
                                                                                               Page 45  of 49                             de                f alc             h       l           d        c        , a       d    he         de                   ill           l    be deli                 e ed if              he F                 d Se              ice P               ide      acce                                             de . The



  s r r s rv s t r t to r us v ry you r not y rs o o r you nnot prov v ov rnm nt ssu                      t n m on your o s not
                H                  e (/c                                       e           /    /)                                                O de                    i h D                       Da           h                                               Deli              e        S                                                                       P             la       T        ic

Da        he        e     e           e           he           igh                         ef          e deli               e            if                 a e                   21          ea               f       lde , if                  ca                                      ide a            alid g                 e             e         i            ed ID, if              he        a           e                            ID d         e



m t t n m on your or r or you r v s y ntox t t s r s un to omp t t
     a ch       he             a          e                                        de , v ry o o o pro u ts or on or mor o t s
                                                                                                                       a e           i    ibl           i             ica ed. If                      he Da                he      i         able                    c                   le e         he deli                e             f alc         h        l         d       c         f                e                        e       f       he   e



r sons you r su t to non r un
    ea          ,                a e      r sto n      bjec                        a                - ef                   dable $20                            e-             cki            g fee.




8. I      n mn ﬁ t on
           de                         i       ca i



You r to n mn y n o rm ss t omp ny n ts oﬃ rs r tors mp oy s nts n ﬃ t s
          ag ee                   i       de                  if       a       d h             ld ha   n n mn ﬁ rty rom n
                                                                                                                       le            he C                             a           a       d i                    ce           , di ec                  , e               l        ee         , age                  a        d a           lia e        (each, a                    “I       de            i   ed Pa                    ”), f                a       d



agai  nst ny oss s ms t ons osts m s p n t s ﬁn s n xp ns s n u n w t out m t t on ttorn ys s n xp ns s t t m y
                a           l                 e       , clai               , ac i                      , c                 , da               age           ,         e    al ie              ,        e       a       d e          e        e       , i       cl    di          g       i h                  li        i a i              a                e         ’ fee         a        d e       e           e       ,   ha               a       be



n urr y n n mn ﬁ rty r s n out o r t n to or r su t n rom your s r ont nt your m sus o t
i    c     ed b               a           I    de                  i   ed Pa                             s t o tw r or rv s
                                                                                                       a i         i       g                      f,    ela i             g                       e        l i      g f                (a)                      U      e         C            e       ; (b)                            i            e    f        he Web                 i e, S        f           a e             Se            ice        ; (c)



your v o t on o t s r m nt or your v o t on o ny pp
           i    la i                      f       hi        ws ru s or r u t ons t rou or r t to t us o t
                                                              Ag ee                    e           ;           (d)  s t o tw r or             i        la i                f a                a        licable la                      ,     le                     eg           la i              h                gh                 ela ed                     he          e          f    he Web                   i e, S               f       a e



Se rv s n t v nt o ny m
          ice       . I         t on su t or pro n
                                he e                  e   n ny m tt r pot nt y ov r y t r m nts n t s s t on you r to p y
                                                                   f a                 clai            , allega i                             ,         i                      ceedi                  g allegi                g a             a            e                 e        iall        c           e ed b                   he ag ee                       e         i           hi        ec i             ,                ag ee                        a



for t       ns o t n mn ﬁ rty n u n r son
          he defe                     e           f  osts n ttorn ys s n urr y t n mn ﬁ rty
                                                       he I            de                  i    ed Pa        omp ny r s rv s t r t t
                                                                                                                               , i   cl           di        g     ea                  able c                        a      d a               e             ’ fee             i    c           ed b                 he I       de                i   ed Pa                   . The C                        a            e      e            e       he       igh , a



ts own ost to ssum t x us v
i               c           ,    ns n ontro o ny m tt r ot rw s su t to n mn ﬁ t on y you n w
                                          a                    e       he e                cl          i   v nt you w u y oop r t
                                                                                                               e defe                    e a            d c                       l       f a                  a       e           he        i       e           bjec                    i    de               i        ca i           b                    , i           hich e             e                         ill f       ll       c               e a e



w t t omp ny n ss rt n ny v
    i h    he C                          ns s s prov s on o s not r qu r you to n mn y ny n mn ﬁ rty or ny un ons on
                                          a            i       a       e           i       g a                 a   ailable defe                                 e         . Thi                        i   i           d      e              e                 i e                       i    de                   if    a         I       de            i      ed Pa                   f        a                 c            ci              able



comm r pr t y su p rty or or su p rty s n
            e cial                    ac ice b     n ru          pt on s prom s m sr pr s nt t on or on m nt suppr ss on or om ss on
                                                                               ch              a           ,           f                 ch            a          ’        eglige                  ce, f a              d, dece                  i             , fal     e                    i   e,           i        e     e      e         a i                    c       ceal                e    ,                       e        i                        i        i



o ny m t r t n onn t on w t t
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acc ount t s r m nt or your ss to t
                ,         hi       Ag ee    s t o tw r n or rv s
                                                               e           ,                           acce                              he Web                       i e, S              f        a e a            d/            Se         ice           .




9. Di       s m ro
                clai                      e                   f Wa                 rr nt s a           ie



YOU EXPRESSLY UNDERSTAND AND AGREE THAT TO THE FULLEST EXTENT OF LAW, YOUR USE OF THE WEBSITE, SOFTWARE AND SERVICES IS



ENTIRELY AT YOUR OWN RISK. CHANGES ARE PERIODICALLY MADE TO THE WEBSITE, SOFTWARE AND SERVICES AND MAY BE MADE AT ANY



TIME WITHOUT NOTICE TO YOU. THE WEBSITE, SOFTWARE AND SERVICES ARE PROVIDED ON AN “AS IS” BASIS WITHOUT WARRANTIES OF ANY



KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT LIMITED TO, WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR



PURPOSE AND NON-INFRINGEMENT. THE COMPANY MAKES NO WARRANTIES OR REPRESENTATIONS ABOUT THE ACCURACY, RELIABILITY,



COMPLETENESS OR TIMELINESS OF THE CONTENT MADE AVAILABLE THROUGH THE WEBSITE, SOFTWARE OR SERVICES, OR THE SERVICES,



SOFTWARE, TEXT, GRAPHICS OR LINKS.




THE COMPANY DOES NOT WARRANT THAT THE WEBSITE, SOFTWARE OR SERVICES WILL OPERATE ERROR-FREE OR THAT THE WEBSITE,



SOFTWARE OR SERVICES ARE FREE OF COMPUTER VIRUSES AND OTHER HARMFUL MALWARE. IF YOUR USE OF THE WEBSITE, SOFTWARE OR



SERVICES RESULTS IN THE NEED FOR SERVICING OR REPLACING EQUIPMENT OR DATA, THE COMPANY SHALL NOT BE RESPONSIBLE FOR



THOSE ECONOMIC COSTS.




10. I      nt rn t
                e                e            Dela                 ys
The C   omp ny s s t o tw r n rv s m y su t to m t t ons ys n ot r pro ms n r nt n t us o t nt rn t n
                          a           ’       Web              i e, S                  f        a e a        tron      d Se              ice                  a       be                  bjec                 li       i a i              , dela                  , a       d           he                   ble              i     he e               i         he          e          f    he I             e       e       a        d elec                       ic



c   ommun t ons x pt s s t ort n t omp ny s pr v y po y or s ot rw s r qu r y pp
                     ica i                        . E         ce               a w t omp ny s not r spons or ny
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dela  ys v ry ur s or ot r onom m r su t n rom su pro ms
            , deli             e              fail            e    ,                   he           ec                          ic da                  age            e        l i        g f                          ch              ble             .




11. Li     m t t on o
                    i a i                                     f Liabili                    ty
          1. (a) Ca              p on             Liabili              ty      . TO THE FULLEST EXTENT OF LAW THE COMPANY’S AGGREGATE LIABILITY SHALL NOT EXCEED THE GREATER OF (a)


               AMOUNTS ACTUALLY PAID BY AND/OR DUE FROM YOU TO THE COMPANY IN THE SIX (6) MONTH PERIOD IMMEDIATELY PRECEDING THE


               EVENT GIVING RISE TO SUCH CLAIM, AND (b) THE REMEDY OR PENALTY IMPOSED BY THE STATUTE UNDER WHICH SUCH CLAIM ARISES.


               THE FOREGOING CAP ON LIABILITY SHALL NOT APPLY TO LIABILITY OF THE COMPANY FOR (a) DEATH OR PERSONAL INJURY CAUSED BY


               THE COMPANY’S NEGLIGENCE OR WILLFUL MISCONDUCT, OR FOR (b) ANY INJURY CAUSED BY THE COMPANY’S FRAUD OR


               FRAUDULENT MISREPRESENTATION.




          2. (b) Di             s m ro
                                   clai                e           f Ce            rt n m s
                                                                                       ai       Da                 age           . TO THE FULLEST EXTENT OF LAW THE COMPANY SHALL NOT BE LIABLE TO ANYONE FOR ANY INDIRECT,


               PUNITIVE, SPECIAL, EXEMPLARY, INCIDENTAL, CONSEQUENTIAL OR OTHER DAMAGES OF ANY TYPE OR KIND (INCLUDING PERSONAL


               INJURY, LOSS OF DATA, REVENUE, PROFITS, USE OR OTHER ECONOMIC ADVANTAGE). THE COMPANY SHALL NOT BE LIABLE FOR ANY


               LOSS, DAMAGE OR INJURY WHICH MAY BE INCURRED BY YOU, INCLUDING BUT NOT LIMITED TO LOSS, DAMAGE OR INJURY ARISING OUT


               OF, OR IN ANY WAY CONNECTED WITH THE WEBSITE, SOFTWARE, OR SERVICES INCLUDING BUT NOT LIMITED TO THE USE OR INABILITY


               TO USE THE WEBSITE, SOFTWARE, OR SERVICES, ANY RELIANCE PLACED BY YOU ON THE COMPLETENESS, ACCURACY OR EXISTENCE OF


               ANY ADVERTISING, OR AS A RESULT OF ANY RELATIONSHIP OR TRANSACTION BETWEEN YOU AND ANY FOOD SERVICE PROVIDER,
      DASHER, ADVERTISER OR SPONSOR WHOSE ADVERTISING APPEARS ON THE WEBSITE OR IS REFERRED BY THE SOFTWARE
                                                                                                          E OR
                                                                                                            gli SERVICES,
                                                                                                                h (US)                                                                                                                                                                                                                                                                                                                                                   n s
                                                                        Case 4:19-cv-06098-JST Document 17-1 Filed 11/15/19 Page 46 of 49
               om                              onsum rs s                                                                                      r r w t oor s                                                                                                                        v ry upport                                                                                                   opu r op s
      EVEN IF THE COMPANY AND/OR ITS LICENSORS HAVE BEEN PREVIOUSLY ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. THE


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      FOREGOING    e  / /)
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                                       AND   D Da h
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                                                                  THE  S
                                                                      ENTIRE             PDAMAGES
                                                                             DISCLAIMER OF   la T ic
                                                                                                  FOR PERSONAL INJURY


      OR PROPERTY DAMAGE, OR FOR ANY INJURY CAUSED BY THE COMPANY’S FRAUD OR FRAUDULENT MISREPRESENTATION, SHALL NOT


      APPLY TO USERS WHO RESIDE IN THE STATE OF NEW JERSEY.




12. Disput                e Re                     so ut on  l          i



PLEASE READ THE FOLLOWING SECTION CAREFULLY. IT REQUIRES YOU TO ARBITRATE DISPUTES WITH THE COMPANY AND LIMITS THE



MANNER IN WHICH YOU CAN SEEK RELIEF. THIS SECTION 12 OF THIS AGREEMENT SHALL BE REFERRED TO AS THE “ARBITRATION AGREEMENT”.




            op o r tr t on r m nt ou r t t ny sput or m r t n n ny w y to your ss or us o t rv s s onsum r o our
    1. (a) Sc                  e               f A bi                 a i           Ag ee                        e         . Y                 ag ee                      ha      a          di                     e                clai                ela i         g i          a                       a                                 acce                                       e           f   he Se                    ice              a        a c                        e          f


      Se rv s to ny v rt s n or m r t n ommun t ons r r n t omp ny or t rv s to ny pro u ts or s rv s so or str ut
                 ice               ,            a            ad         e       i   i       g                    a ke i                    g c                                 ica i                       ega di                    g     he C                          a                          he Se                   ice           ,           a                              d       c                       e       ice                      ld             di        ib              ed


      t rou t rv s t t you r v s onsum r o our rv s or to ny sp t o your r t ons p or tr ns t ons w t omp ny s onsum r
          h          gh                he Se                     ice            ha                            ecei             ed a                 a c                             e        f                 Se             ice          ,                  a            a        ec                   f                   ela i                        hi                             a           ac i                         i h C                             a        a       a c                            e


      o our rv s w r so v y n n r tr t on r t r t n n ourt x pt t t you m y ss rt ms n sm
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                                                                                                     ed b             bi           di          g a bi                    a i          ,     a he                ha               i    c                  , e         ce             ha              (1)                      a            a           e           clai                       i            all clai                            c                 if                 clai


      qu y so on s t m tt r r m ns n su ourt n v n s on y on n n v u non ss non r pr s nt t v s s n you or t
               alif       ,                l           g a            he            a        e           e         ai              i                ch c                          a     d ad               a       ce                 l                  a       i    di       id       al (                        -cla             ,                 - e                  e        e           a i      e) ba               i   ; a          d (2)                                   he


      C omp ny m y s qu t r n ourt or n r n m nt or ot r m sus o nt tu prop rty r ts su s tr m r s tr r ss om n
                      a                            a         eek e                  i able                    elief i                  c                    f         i    f i        ge             e                           he              i            e        f i          ellec                    al                   e                   igh               (             ch a                   ade                  a k          ,       ade d e                       , d              ai


      n m s tr s r ts opyr ts n p t nts s r tr t on r m nt s pp y w t out m t t on to
          a      e        ,            ade                 ec e             , c            ms t t ros or w r ss rt
                                                                                                 igh             , a       d               a e                  ). Thi            A bi                a i               Ag ee                    e               hall a                     l   ,        i h                 li           i a i                   ,             all clai                         ha           a               e                 e e a                e         ed


      bef or t ﬀ t v t o t s r m nt
                     e         he E                    ec i           e Da e                     f       hi      Ag ee                         e            .




   2. CASES HAVE BEEN FILED AGAINST THE COMPANY—AND OTHERS MAY BE FILED IN THE FUTURE—THAT ATTEMPT TO ASSERT CLASS


      ACTION CLAIMS, AND BY ACCEPTING THIS ARBITRATION AGREEMENT YOU ELECT NOT TO PARTICIPATE IN SUCH CASES.




   3. IF YOU AGREE TO ARBITRATION WITH THE COMPANY, YOU ARE AGREEING IN ADVANCE THAT YOU WILL NOT PARTICIPATE IN OR SEEK TO


      RECOVER MONETARY OR OTHER RELIEF IN ANY SUCH CLASS, COLLECTIVE, AND/OR REPRESENTATIVE LAWSUIT. INSTEAD, BY AGREEING


      TO ARBITRATION, YOU MAY BRING YOUR CLAIMS AGAINST THE COMPANY IN AN INDIVIDUAL ARBITRATION PROCEEDING. IF SUCCESSFUL


      ON SUCH CLAIMS, YOU COULD BE AWARDED MONEY OR OTHER RELIEF BY AN ARBITRATOR.




             r tr t on u s n orum s r tr t on r m nt s ov rn y t
   4. (b) A bi                         a i                 R       le       a       d F      r r tr t on t n r sp ts o n n r tr t on
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                                                                          , CA, 94103. The a bi                                                     a i                       ill be c                    d     c ed b                     JAMS                        de           i                   le        a     d                         a                             he           e                   f       hi       Ag ee                         e        . Di                    e


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                                                                                                                                            ://                      .ja            ad .c                      /) (               de           he R               le       /Cla                  e            ab)                b            calli           g JAMS a                                   800-352-5267. Pa                                                  e                   f all       li       g,


      ad  m n str t on n r tr t on s w
                 i    i                a i         ov rn y , a        s ru s t r tr tor ﬁn s t t you nnot ﬀor to p y
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      all su          s ﬁ n m n str t v
                     ch JAMS’                   r n n or ot r s or ms w t n mount n ontrov rsy tot n ss t n
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   5. (c) A bi                      r tr tor n not ny r st t or o ourt or n y s
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                                                                                                               a           , a             d                    a         fede al,                        a e,                   l    cal c                               age           c           ,    hall ha                 e e              cl           i       e a               h           i                   e            l   e a                di                e       ela i             g


      t nt rpr t t on pp
          he i        e               ty n or
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          r m nt
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      not to r n r n w r s s n u n t
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      t omp ny
          he C                             a           .




   6. (d) Wai  v r o ury r         e            f J                 T ial. YOU AND THE COMPANY WAIVE ANY CONSTITUTIONAL AND STATUTORY RIGHTS TO SUE IN COURT AND RECEIVE A


      JUDGE OR JURY TRIAL. Y       ou n t omp ny r nst                   t n to v ms n sput s r so v y r tr t on x pt s sp ﬁ n s t on
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                                        e. The e i                                  j       dge                  j             i           a bi             a i               , a       d c                         e        ie            f a           a bi          a i                  a           a d i           li        i ed.




   7. (e) Wai  v r o ss or onso t t ons
                               e                f Cla                        C                       lida ed Ac i                                       . YOU AND THE COMPANY AGREE TO WAIVE ANY RIGHT TO RESOLVE CLAIMS WITHIN THE SCOPE


      OF THIS ARBITRATION AGREEMENT ON A CLASS, COLLECTIVE, OR REPRESENTATIVE BASIS. ALL CLAIMS AND DISPUTES WITHIN THE


      SCOPE OF THIS ARBITRATION AGREEMENT MUST BE ARBITRATED ON AN INDIVIDUAL BASIS AND NOT ON A CLASS BASIS. CLAIMS OF


      MORE THAN ONE CUSTOMER OR USER CANNOT BE ARBITRATED OR LITIGATED JOINTLY OR CONSOLIDATED WITH THOSE OF ANY OTHER


      CUSTOMER OR USER. If, h                                                                    ow v r t s w v r o
                                                                                                           e       e ,         hi                  ai       e             f cla       ss or onso t   c                   lida ed ac i                    t ons s       i       dee          m nv    ed i                alid         or un n or           e       f         ceable                   w t r sp t to p rt u r m or
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                      disput n t r you nor t omp ny s nt t to r tr t on o su
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                                          t on 4:19-cv-06098-JST Document 17-1 Filed 11/15/19 Page 47 of 49
                         om onsum rs s                    r r w t oor s                        v ry upport                   opu r op s
                      c                       a            e           f         h i           Sec i                             13.




                           pt ut ou m y opt out o t s r tr t on r m nt you o so n t r you nor t omp ny n or t ot r to r tr t s r su t o t s
                       H                          e (/c                                       e            /    /)                                                         O de                                i h D                           Da               h                                                                     Deli            e            S                                                                               P                     la           T         ic

                 8. (f) O                             O            . Y                        a                                           f      hi           A bi                     a i                     Ag ee                       e            . If                             d                   ,       ei he                                              he C                           a            ca            f       ce           he                he                     a bi              a e a             a       e               l       f    hi


                         r m nt o opt out you must not y t omp ny n wr t n no t r t n
                      Ag ee                            e               . T                      ys t r ﬁrst om n su t to t s r tr t on r m nt our
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                      not must n u your n m n r ss your oor s us rn m ny t m
                                  ice                                   i       cl        de             r ss you us to s t up your oor s ount you
                                                                                                                         a               e a             d add e                                   ,                    D                  Da           h                e               a           e (if a                      ),        he e                  ail add e                                              ed                    e                                      D                Da         h acc                             (if


                      ha v on n   e         st t m nt t t you w nt to opt out o t s r tr t on r m nt ou must s n your opt out not to opt
                                                       e), a                d a CLEAR                                    a e                     e                ha                                       a                                                         f       hi              A bi                    a i              Ag ee                        e        . Y                                     e       d                                   -                          ice             :            -


                      out oor s om m to opt out oor s om you opt out o t s r tr t on r m nt ot r p rts o t s r m nt w ont nu to
                                  @d                           da               h.c                (           ail               :            -               @d                           da               h.c                      ). If                                                           f       hi              A bi               a i                Ag ee                  e            , all                he            a                 f       hi        Ag ee                       e             ill c                       i           e


                      app y to you pt n out o t s r tr t on r m nt s no ﬀ t on ny ot r r tr t on r m nts t t you m y v nt r nto w t us or m y
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                      ent r nto n t utur w t us
                                  e           i                i            he f                       e            i h                  . NOTWITHSTANDING ANYTHING TO THE CONTARY HEREIN, NOTHING IN THIS AGREEMENT SHALL


                      SUPERSEDE, AMEND, OR MODIFY THE TERMS OF ANY SEPARATE AGREEMENT(S) BETWEEN YOU AND THE COMPANY RELATING TO YOUR


                      WORK AS AN EMPLOYEE OR INDEPENDENT CONTRACTOR, INCLUDING WITHOUT LIMITATION, ANY INDEPENDENT CONTRACTOR


                      AGREEMENT GOVERNING YOUR SERVICES AS A DASHER. FOR THE AVOIDANCE OF DOUBT, IF YOU ARE A DASHER, OPTING-OUT OF THE


                      ARBITIRATION AGREEMENT SET FORTH IN THIS SECTION 12 HAS NO AFFECT ON YOUR AGREEMENT TO ARBITRATE DISPUTES COVERED BY


                      YOUR INDEPEDENT CONTRACTOR AGREEMENT WITH THE COMPANY.




                 9. (g) Surv v s r tr t on r m nt w surv v ny t rm n t on o your r t ons p w t t omp ny
                                                       i   al. Thi                    A bi                 a i                       Ag ee                        e                    ill                          i    e a                   e                i     a i                            f                        ela i                        hi               i h        he C                             a         .




             10. (h) M    o ﬁ t on otw t st n n ny prov s on n t r m nt to t ontr ry w r t t t omp ny m s ny utur m t r
                                                  di           ca i                  . N                   i h               a           di       g a                                          i       i            i            he Ag ee                                e                           he c                             a          ,        e ag ee                     ha          if      he C                            a                 ake               a            f               e          a e ial cha                           n to ge


                      t s r tr t on r m nt t w not pp y to ny n v u m s t t you
                       hi             A bi                     a i               Ag ee r y prov not o to t omp ny
                                                                                                               e             , i              ill                         a            l                   a             i       di        id        al clai                             (   )       ha                               had al ead                                          ided                          ice           f            he C                               a         .




13. E              x us v
                       cl                         i        e Ve                 nu            e



To t xt nt t p rt s r p rm tt un r t s r m nt to n t t t t on n ourt ot you n t omp ny r t t
             he e             e                        he              a         ie           a e ms n sput s
                                                                                                           e                 i       ed                   de                   hi          Ag ee                             e                   i          i ia e li iga i                                              i        a c                  , b              h                 a       d       he C                            a            ag ee                  ha           all clai                     a       d di                            e



 r s n out o or r t n to t r m nt w
a i          i    g                   t t x us v y n t st t or r ourts o t n nt r ounty you r
                                              f                ela i             g                     orn t z n
                                                                                                   he Ag ee                                      e                    ill be li iga ed e                                               cl           i       el           i               he              a e                      fede al c                                       l   ca ed i                       Sa            a Cla a C                                           if                  a e a Calif                                   ia ci i          e



or r s nt n n t n t t t s str t ourt or t str t n w you r s you r not
         e        ide                 , a             d i               he U  orn t z n or r s nt
                                                                                              i ed S a e                                 Di              ic           C                        f                   he Di                    ic          i                hich                                        e    ide if                           a e                      a Calif                      ia ci i              e                     e       ide               .




14. Te                 rm n t on          i           a i



At ts so s r t on t omp ny m y mo y or s ont nu t o tw r or rv or m y mo y susp n or t rm n t your ss to t o tw r or t
         i             le di                  c e i                         ,    he C                           a                         a                       dif                          di          c                 i         e       he S                  f               a e                     Se               ice,                         a                    dif       ,                e            d             e            i       a e                        acce                              he S                f           a e                  he



Serv s or ny r son w t or w t out not to you n w t out ty to you or ny t r p rty n t on to susp n n or t rm n t n your ss to t
                 ice      , f                 a                ea                     ,        i h                       i h                                      ice                                       a           d            i h                    liabili                                                               a             hi d               a            . I       addi i                                               e       di           g                 e         i      a i        g                     acce                                he



So tw r or t rv t omp ny r s rv s t r t to t ppropr t
         f        a e                         he Se                 t on n u n w t out m t t on pursu n v r m n or n un t v
                                                                            ice,              he C                               a                e      e                e            he                  igh                        ake a                                          ia e legal ac i                                            , i       cl       di           g      i h                  li          i a i                                       i    g ci             il, c i             i   al            i       j           c i          e



r r ss v n t r your r t to us t o tw r or t rv s s t rm n t t s r m nt w r m n n or
    ed e              . E             e               af e                                    igh    nst you prov s ons w   ye           he S                f             a e                             he Se                      ice        i              e                i       a ed,                       hi       Ag ee                        e                ill       e       ai           e        f       ceable agai                                                    . All                    i   i                       hich b



t r n tur s ou surv v to v ﬀ t to t os prov s ons s surv v t t rm n t on o t s r m nt
    hei            a              e               h            ld                     i       e            gi        e e                  ec                          h            e                           i    i                  hall                              i       e           he          e                i       a i                 f        hi       Ag ee                         e     .




15. P              ro ur orced                                 e f                        Maki                  n       g Clai                           ms o opyr t n r n m nt    f C                                       igh                I           f i                  ge                          e                .



It s t omp ny s po y to t rm n t m m rs p pr v s o ny s r w o r p t y n r n s opyr t upon prompt not ﬁ t on to t omp ny y
     i           he C                                 a            ’             lic                       e             i           a e                 e            be               hi                       i       ilege                  f a                   U           e               h                   e        ea edl                  i       f i       ge            c                   igh                                                                     i   ca i                          he C                                a            b



t opyr t own r or t opyr t own r s
    he c                      igh                nt t out m t n t or o n you v t t your wor s n op n post on t
                                                                       e                  he c                          igh                              e            ’       legal age                                  . Wi h                                 li       i i             g       he f                     eg           i        g, if                   belie                 e       ha                                      k ha              bee                   c         ied a              d                    ed                       he



Web   s t or t rv s n w y t t onst tut s opyr t n r n m nt p s prov our opyr t nt w t t o ow n n orm t on n tron
                  i e                         he Se                         ice           i    a           a             ha               c                   i                e           c                       igh           i     f i      ge                   e               ,       lea             e                        ide                      C                    igh           Age                       i h           he f             ll            i    g i          f              a i           : (a) a                     elec                     ic



or p ys s n tur o t p rson ut or z to t on
             h        ical                    ig      o t own r o t opyr t nt r st
                                                           a            e        f         s r pt on o t opyr t wor t t you m
                                                                                          he           e                         a            h          i        ed                       ac                           behalf                  f       he                               e               f       he c                           igh           i        e e            ; (b) a de                        c i           i                f    he c                           igh ed                        k          ha                           clai



ha s n n rn  bee        s r pt on o t o t on on t
                              i           f i         s t or n t rv s o t m t r t t you m s n r n n your r ss t p on
                                                       ged; (c) a de                               c i               i                    f       he l                    ca i                                      he Web                      i e                      i               he Se                       ice                   f     he               a e ial                 ha                        clai              i    i   f i              gi       g; (d)                            add e                    ,       ele             h           e



num r n m        be  r ss wr tt n st t m nt y you t t you v oo t
                          a           d e-                     ail add e       t t t sput us s not ut or z y t opyr t own r ts
                                                                                                   ; (e) a                           i       e                a e                  e                   b                             ha                             ha           e a g                           d fai h belief                                ha               he di                      ed                e i                       a            h         i       ed b                he c                      igh                             e , i



age  nt or t w n       st t m nt y you m un r p n ty o p r ury t t t ov n orm t on n your not s ur t n t t you r t
                              he la                        ; a             d (f) a                 a e               e                   b                        ,            ade                         de                    e     al                   f        e j                     ,       ha                  he ab                       e i       f                a i               i                                ice i               acc               a e a                 d       ha                   a e                 he



c opyr t own r or ut or z to t on t opyr t own r s
                  igh                                 e       ont t n orm t on or t omp ny s opyr t nt or not o ms o
                                                                        a            h         i   ed                    ac                              he c                              igh                                   e     ’    behalf. C                                            ac              i    f                a i                f             he C                          a         ’       C                 igh              Age                    f                       ice       f clai                              f



c opyr t n r n m nt s s o ows n r ouns oor s n
                  igh             i       f i              ge      r t t t oor n r n s o
                                                                            e         i       a        f       ll                    : Ge                e al C                                        el, D                          Da        h, I                 c., 901 Ma ke                                            S , 6 h Fl                               , Sa           F a             ci    c           , CA 94103.




16. Ge                    nr      e al




                 1. (a) N  o o nt ntur or rtn rs p o o nt v ntur p rtn rs p mp oym nt or n y r t ons p x sts
                                                  J        i           Ve                      e               Pa                    e           hi       . N                  j       i                   e                 e,            a            e            hi              , e                 l                    e         ,            age            c           ela i                     hi            e     i           be       tw n you t
                                                                                                                                                                                                                                                                                                                                                                                                                                                            ee                         ,    he C           omp ny or ny t r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        a                       a                   hi d


                      p rty prov r s r su t o t s r m nt or us o t o tw r or rv s
                          a                                    ide              a         a    e           l            f            hi       Ag ee                            e                                    e            f    he S                  f            a e                     Se                  ice          .




                 2. (b) Ch   o o w s r m nt s ov rn y t ws o t t t o w r ons st nt w t t
                                                       ice              f La              . Thi            Ag ee r                            e           i           g            e               ed b                      he la                              f    he S a e                                    f Dela                     a e c                       i       e                 i h       he Fede al A bi                            r tr t on t w t out v n ﬀ t to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        a i                Ac ,             i h                 gi          i       g e          ec


                      any pr n p s t t prov or t pp t on o t w o ny ot r ur s t on
                                                  i    ci          le            ha                            ide f                          he a                        lica i                               f        he la                    f a                             he              j           i       dic i                  .




                 3. (c) Se  v r ty x pt s ot rw s prove abili r n ny prov s on o t s r m nt s oun to nv t
                                                                                . E           ce           a                     he                  i   e                         ided he ei                                        , if a                                  i       i                   f       hi           Ag ee                    e            i       f             d               be i              alid,             he i         nv       alidi         ty o su prov s on s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            f             ch                i       i                   hall        not
                      aﬀ t t v ty o t r m n n prov s ons o t s r m nt w s r m n n u or n ﬀ t
                              ec                      he           alidi                      f    he               e            ai          i    g                            i   i                        f       hi           Ag ee                          e            ,           hich                    hall             e            ai      i       f       ll f           ce a            d e           ec .




                 4. (d) C  onsum r omp nts n or n w t           orn v o §
                                                                       e        C    you m y r port omp nts to t
                                                                                                   lai                  . I           acc                 da                  ce               i h Calif                                   ia Ci                il C             de                  1789.3,                                          a            e                  c                   lai                         he C             omp nt ss st n n t o t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        lai           A            i      a       ce U              i           f       he


                      Div s on o onsum r rv s o t
                                  i       i            orn p rtm nt o onsum r ﬀ rs y ont t n t m n wr t n
                                                               f C                             e       Se                ice                     f       he Calif                                          ia De                 a             e                     f C                                         e       A        ai            b         c             ac i           g          he            i                 i i     g a          t     tr t r m nto
                                                                                                                                                                                                                                                                                                                                                                                                                                                           400 R S                         ee , Sac a                        e                  , CA 95814,


                      or y t p on t
                           b                      ele          h                e a           (800) 952-5210.
       5. (e) Acce    ss n n own o n t pp t on rom un s o ow n pp s to ny pp t on ss t rou or own o n rom
                                         i       g a       d D                   l        adi         g       he A              s t pp    lica i                f          iT           e       . The f                    ll            i    g a                 lie               a          A             lica i             acce                    ed         h            gh                  d                l      E f
                                                                                                                                                                                                                                                                                                                                                                                                                         aded gli                      h (US)
                                                                                                                                                                                                                                                                                                                                                                                                                                                          he A                      le


              pp tor n pp Case  tor our       pp t on
                                      4:19-cv-06098-JST         Document 17-1 Filed 11/15/19 Page 48 of 49
                om onsum rs s                   r r w t oor s                       v ry upport                opu r op s
            A            S           e (a              “A           S           e S                   ced A                       lica i                   ”):


                H             e (/c                              e          /    /)                                               O de                       i h D                 Da             h                                                           Deli          e            S                                                                         P               la        T           ic


       a. (1) Y  ou now           n r t t t r m nt s on u
                                 ack                   ledge a            tw n you n t omp ny on y n not pp n t omp ny not
                                                                                d ag ee                       ha       (i)            he Ag ee                        e        i    c             cl       ded be                             ee                        a       d        he C                      a                    l    , a        d                  A        le, a           d (ii)           he C                          a        ,


            A pp s so y r spons or t pp tor our pp t on n ont nt t r o our us o t pp tor our pp t on must omp y
                        le, i                lel           e                  ible f                      he A                    S               e S                ced A                  lica i                     a        d c               e                he e             f. Y                      e        f    he A                        S         e S                  ced A                     lica i                                c                l


            w t t pp tor rms o rv
                i h          he A                 S            e Te                          f Se             ice.




       b. (2) Y  ou now          t t pp s no o t on w tso v r to urn s ny m nt n n n support s rv s w t r sp t to t pp tor our
                                 ack                    ledge                ha           A           le ha                               bliga i                         ha           e        e                  f            i    h a                          ai    e           a     ce a           d                                  e           ice             i h        e         ec                      he A                S             e S                  ced


            A pp t on   lica i               .




       c. (3) I  n t v nt o ny ur o t pp tor our pp t on to on orm to ny pp
                              he e           e               f a            fail             e  w rr nty you m y not y pp n pp w r un
                                                                                                      f       he A                    S            e S                ced A                  lica i                              c            f                         a           a          licable                 a        a               ,                  a                   if    A              le, a            d A           le           ill      ef             d


            t pur s pr
                he                ny or t pp tor our pp t on to you n to t u st xt nt p rm tt y w pp w v no ot r w rr nty
                                 cha         e             ice, if a                 , f              he A                    S            e S                  ced A               lica i                                               a        d               he f          lle            e     e             e            i       ed b                 la        , A          le          ill ha           e                   he                a        a


            o t on w tso v r w t r sp t to t pp tor our pp t on s tw n t omp ny n pp ny ot r ms oss s
                bliga i                          ha            e     e           i h             e         ec                      t s
                                                                                                                                  he A                     S          e S              ced A                           lica i                 . A             be        ee                he C                     a            a           d A              le, a                     he           clai             , l         e       , liabili ie                   ,


            da m s osts or xp ns s ttr ut to ny ur to on orm to ny w rr nty w t so r spons ty o t omp ny
                         age         , c                        e           e            e       a         ib          able                       a          fail         e         c             f                         a                     a       a                 ill be             he             le       e                        ibili              f       he C                      a           .




       d. (4) Y   ou n t omp ny now
                                 a       d      t t s tw n t omp ny n pp pp s not r spons or r ss n ny ms you v or ny
                                                 he C                       a             ack                     ledge                   ha , a             be            ee           he C                               a             a        d A              le, A                 le i                      e                        ible f               add e                 i    g a               clai                             ha          e            a


            claims o ny t r p rty r t n to t pp tor our pp t on or your poss ss on n us o t pp tor our pp t on n u n ut
                                   f a                 hi d          a               ela i            g                he A                       S          e S               ced A                   lica i                                                               e        i           a       d         e        f   he A                         S         e S                  ced A                    lica i              , i       cl       di        g, b


            not m t to pro u t ty ms ny m t t t pp tor our pp t on s to on orm to ny pp
                        li     i ed               : (i)              d       c        liabili                 clai         or r u tory
                                                                                                                                  ; (ii) a                   clai              ha           he A                       S             e S                  ced A                     lica i                fail                  c           f                      a           a            licable legal                                eg            la


            r qu r m nt n
                e        i e        ms r s n un r onsum r prot t on or s m r s t on
                                     e           ; a       d (iii) clai                          a i      i       g            de             c                      e              ec i                                i       ila           legi            la i          .




       e. (5) Y   ou n t omp ny now
                                 a       d      t t n t v nt o ny t r p rty m t t t pp tor our pp t on or your poss ss on n us o
                                                 he C                       a             ack                     ledge                   ha , i                 he e          e            f a                    hi d-                 a            clai                  ha           he A                 S            e S                  ced A                      lica i                                                    e         i           a     d              e    f


            t t pp tor our pp t on n r n s t t t r p rty s nt tu prop rty r ts s tw n t omp ny n pp t omp ny not
                ha       A           S            e S                ced A                       lica i                   i    f i         ge              ha         hi d          a             ’    i           ellec                     al                   e             igh            , a       be            ee               he C                           a        a       d A                 le,      he C                          a        ,


            A pp w so y r spons or t nv st t on ns s tt m nt n s r o ny su nt tu prop rty n r n m nt m to t
                        le,        ill be                  lel          e                      ible f                  he i                   e        iga i              , defe                e,         e           le           e             a       d di         cha ge                    f a                   ch i             ellec                al                 e            i      f i          ge          e           clai                       he


            e xt nt r qu r y t rms
                     e           e           i ed b                 he Te                         .




       f. (6) Y   ou n t omp ny now
                                 a       d       n r t t pp n pp s su s r s r t r p rty n ﬁ r s o t rms s r t to your
                                                 he C                       a             ack                     ledge a                     d ag ee                    ha        A         le, a                 d A               le’                      b   idia ie                , a e           hi d-          a           be              e        cia ie                f       he Te                         a    ela ed


            licens o t pp tor our pp t on n t t upon your pt n o t t rms n on t ons o t rms pp w v t r t n
                             e       f    he A                   S           e S                  ced A                       lica i                   , a       d    ha ,                                             acce                   a       ce           f    he          e                a       d c            di i                        f    he Te                      , A              le          ill ha          e    he            igh           (a        d


            w            m to v
                ill be dee             pt t r t to n or t rms s r t to your ns o t pp tor our pp t on nst you s t r
                                                 ed             ha          e acce                    ed          he           igh )                    e        f       ce    he Te                               a        ela ed                                      lice                 e       f    he A                  S               e S               ced A                     lica i                   agai                              a        a       hi d-


            p rty n ﬁ ry t r o
                a            be          e     cia              he e             f.




       g. (7) Wi h t out m t n ny ot r t rms o t rms you must omp y w t pp
                                             li        i i      g a                    t r p rty t rms o r m nt w n us n t pp tor
                                                                                          he           e                      f       he Te                      ,                           c                     l            i h all a                         licable                hi d-           a             e                     f ag ee                       e               he                i       g       he A                  S            e


            S our pp t onced A                    lica i                .




       6. (f) N  ot         r t omp ny r qu r s t t you prov n m
                              ice. Whe e                         he C      r ss you r r spons or prov n t omp ny w t your most urr nt
                                                                                                 a            e               i e          ha                                  ide a              e-               ail add e                          ,                a e          e                    ible f                              idi        g        he C                       a                i h                                       c            e           e-


            m         r ss n t v nt t t t st m
                 ail add e                       . I   r ss you prov to t omp ny s not v or or ny r son s not p o v r n to you ny
                                                            he e            e                ha           he la                   e-          ail add e                                                ided                          he C                          a            i                    alid,              f           a               ea                 i               ca           able             f deli          e i           g                        a


            not s r qu r or p rm tt y t s r m nt t omp ny s sp t o t m ont n n su not w non t ss onst tut ﬀ t v
                     ice           e             i ed                   e            i       ed b                 hi          Ag ee                    e         ,   he C                    a             ’       di           a ch                  f       he e-                 ail c                ai    i       g        ch                      ice            ill             e hele                        c           i         e e             ec i             e


            not ou m y v not to t omp ny t rou t o ow n w orm www oor s om p ttps www oor s om p u
                     ice. Y                        a       gi       e            ice                      he C                            a            h             gh        he f          ll            i       g            eb f                      :             .d                da         h.c               /hel             / (h                     ://               .d               da        h.c             /hel                 /). S         ch


            not s    ice       m v n on t n xt us n ss y t r su m s tu y r v y t omp ny
                                 hall be dee                            ed gi                e                    he           e           b           i     e        da       af e                    ch e-                     ail i            ac              all       ecei               ed b            he C                             a        .




       7. (g) Elec   tron ommun t ons or ontr tu purpos s you ons nt to r v ommun t ons rom t omp ny n n tron orm n
                                             ic C                               ica i                     . F             c                ac              al                      e    ,              (1) c                        e                         ecei          e c                              ica i                  f                   he C                       a            i       a        elec                    ic f                   ; a     d (2)


               r t t t rms n on t ons r m nts not s s osur s n ot r ommun t ons t t t omp ny prov s to you tron y
            ag ee              ha         all          e            a       d c               di i                 , ag ee                        e          ,            ice      , di         cl                     e    , a          d            he           c                           ica i                   ha           he C                           a                        ide                               elec                      icall


            s t s y ny r qu r m nt t t su ommun t ons wou s t s y t y w r n wr t n s su p r r p o s not ﬀ t your st tutory r ts
                a i      f    a           legal             e           i e              e            ha               ch c                                     ica i                             ld           a i          f       if       he               e e i                      i i     g. Thi                     b       a ag a                   h d           e                a       ec                               a                          igh         .




       8. (h) E   nt r r m nt s r m nt s t ﬁn omp t n x us v r m nt o t p rt s w t r sp t to t su t m tt r r o n
                               i e Ag ee                       e            . Thi            Ag ee                    e           i        he                al, c                 le e a              d e              cl           i       e ag ee                    e                f     he         a        ie           i h             e           ec                 he            bjec                    a       e       he e              f a       d


            sup rs s n m r s pr or s uss ons tw n t p rt s w t r sp t to su su t m tt r ow v r not n n t s r m nt s
                        e     ede            a         d        e ge             all              i        di         c               i           be                 ee        he           a         ie               i h          e             ec                        ch            bjec                 a       e . H                        e   e ,                hi      g i              hi      Ag ee                    e             hall


            sup rs      e m n or mo y t t rms o ny s p r t r m nt s tw n you n t omp ny r t n to your wor s n mp oy or
                              ede, a                   e       d,                        dif          he          e                       f a                e       a a e ag ee                           e           (    ) be                  ee                        a       d        he C                      a            ela i               g                                    k a            a        e           l        ee


            in p n nt ontr tor n u n w t out m t t on ny n p n nt ontr tor r m nt ov rn n your ﬀorts s s r
                 de          e     de             c              ac              , i         cl       di      g,              i h                 li       i a i           , a          I       de             e        de               C                    ac            Ag ee                    e         g            e           i    g                    e                    a     a Da             he .




17. C   ont t n orm t onac           I       f                  a i



Door s w om s your qu st ons or omm nts r r n t
       Da           h        elc             e                              e         i                       c                   e                ega di                 g    he Te            rms            :




Door s n
       Da           h, I      c.




901 Ma ke       r t t t oor  S , 6 h Fl




Sa  n rn so
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